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UNITED STATES DISTRICT COURT
____________________________________
EASTERN DISTRICT OF NEW YORK         ~x




UNITED STATES OF AMERICA,
                                                    97-cv-6013 (TCP)
                      Plaintiff,                      [97-cr-lOlO (TCP)]
 -vs-

                                                    NOTICE OF APPEAL.
MICHAEL VONDETTE,                                       AND/OR.
                       Defendant.               PRESAGED NOTICE OF APPEAL
 --------------------------------------x

        PLEASE TAlE NOTICE. that Michael Vondette, Defendant in the above captioned

actions, proceeding pro se, respectfully submits the instant "notice" and/or "pre­

saged notice" of appeal of the judgment,       proper, from the United States District

Court for the Eastern District of New York (Long Island) by the Honorable Judge T.C.

Platt.     The alleged "judgment", in arguendo was issued on January 28, 2010, subsequent

to an ~ parte motion from the Brooklyn, N.Y. A.U.S.A. [i.e., not from the proper

A.U.S.A. in Long Island, N.Y.]; and tamends final order of forfeiture'.     The Defen­

dant, Michael Vondette. hereby swears to the truth of the instant pleading under the

penalties of perjury pursuant to 28 U.S.C. §1746, to wit;

            1. That I am Michael Vondette, the Defendant in the above captioned actions,

and I respectfully submit this pleading in both the abundance of caution, and in the

interests of justice.

            2. That this pleading is submitted pursuant to the Federal Rules of Appellate

Procedure under inter alia Rule 4(a)(1)(B), Rule 24(a)(5), Rule 25(c). and Rule 24­

(a)(3)    [Prior Approval of in forma pauperis]; [and] Constitutional Due Process.

            3. That I was NOT "served" at any time. a copy of the Government's motion

to amend, nor the proposed Order, ~ the signed Judgment/Order -- despite the fact

that I am the Defendant [and] a 'verified claimant' in the forfeitures.

            4. That the A.U.S.A. from Brooklyn, N.Y. [not Long Island, and se~m1rigly

lacking' jurisdiction'] submitted all pleadings ~ parte -- which neve'!'theless,~
                                                                             , ,

signed by Judge Platt.

                                       -1­
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                                                               o           7

         5. That because of the unusual, and seemingly illegal/improper proceedings

had ex parte, I am respectfully submitting a lIpresaged Tl   'notice of appeal' in order

to preserve my Constitutional rights; unless the Honorable Appeals Court deems the

'judgment' not in error, in which case this represents my 'notice of appeal'.

Relevant And Material Facts.

         6. That, as noted, I was never "served" any of the respective pleadings -­

despite being the Defendant [and] attorney of record (pro se) [and] the irrefutable

fact that the Government clearly knows of my whereabouts.

         7. That there are now two(2) pending appeals in the Second Circuit that have

removed/transferred per se "subject matter jurisdiction tl to only the U.S. Appeals

Court over every aspect of this case.

         8. That the U.S. Supreme Court "vacated" the entire judgment in this case
{United States v. Vondette, 543 U.S. 1108 (2005)] -- and therefore the District

Court's November 7. 2001 "Preliminary Order of Forfeiture" was also "vacated".

         9. That I was indicted, prosecuted. tried, and sentenced in the Long Island

District of New York -- and thus the Brooklyn-based A.U.S.A. ostensibly has no ~,

nor proper "jurisdiction" over any aspect of this case; rendering the ex parte sub­

missions 'null and void', as a matter of law.


Brief List Of Appeal Issues.                [in arsuendo re: improper judgment]

         10. That there are numerous Constitutional issues of law apparently ripe

for appellate de ~ review, including but not limited to the following:

     a) Subject matter jurisdiction, and the lack thereof in 1) pursuant to appeal(s)

#07-1919-cr [challenging the sentence. conviction, and forfeitures on direct appeal].

#09-1300-cr [challenging under Rule 60(b)(4) inter a11a the forfeitures] -- the Dis­

trict Court has no jurisdiction, and no discretion to adjudicate any Order; 2) the

A.U.S.A. from Brooklyn, N.Y. ostensibly has no ~, nor jurisdiction over a case

from Long Island, [and] the ~ parte submissions render jurisdiction invalid.



                                      -2­
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                                                  o              o          7

     b) Double Jeopardy Clause ["joint and several liability") -- whereupon at trial

Judge Platt repeatedly noted that the Government, in this case, was prohibited from

again collecting the conspiracy-based monies from the Defendant; thus rendering the

alleged forfeitures moot.

     c) -- ----
        Ex Post -----
                Facto ~~~~      -- whereupon all the Federal statutes put forth by

the Government in it's efforts to allege forfeiture are proscribed from being retro­

actively applied/expanded back to 1980 [when the underlying "crime" is committed, as

pleaded on the face of the indictment]; well before they all were passed into law by

the U.S. Congress.    [See, e.g •• 21 U.S.C. §853(p) (substitute assets) which becomes

law not until at least 1986].

     d) Due Process Clause -- whereupon the Government has violated numerous due pro­

cess requirements including. but not limited to the following;

             1.] Statute of Limitations -- whereby 18 U.S.C. §984(b) controlling man­

date over "substitute assets ll MUST be commenced "within one year of the underlying

ofEense lt - - clearly violated here,

             2] Unuer 21 U.S.C. §853(d)(2) -- whereby the Defendant has in fact set

forth and clearly established impeccable alternative "1ike1y source for such property

other than the vio1ation of this subchapter" -- rendering forfeiture invalid.

             3] Under 21 U.S.C. §853(p)(1) -- neither the Court, nor the Government

has ever identified the required "act of omission" committed by the Defendant neces­

sary to warrant any forfeiture proceeding.

     e) Sixth Amendment Jury Trial Rights -- whereby here. the jury at trial. within

the 'Special Verdict Sheet' found beyond a reasonable doubt that Defendant's personal

as:;ets were NOT subject of forfeiture.       See, Special Verdict Sheet.

     f) Law Of       Case Doctrine -- whereby the recent Supreme Court decision in

United States v. Santos. 553 U.S. ___ (2008), manifests "intervening change in con­

trolling law" that supplants prior law of the case; and as applied here, eliminates

the Government's [misJcalculation of "proceeds" and renders forfeitures illegal.



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         11. That. in the least, it would seem necessary to conduct a full and

proper 'evidentiary hearing' based upon inter alia the Santos, supra, decision to

determine if any viable legal basis still exists for any forfeiture in this case.


                          CONCLUSION

         12. That I   have filed an "opposition ll and/or "reconsideration of forfeiture

order ll on February 28. 2010, immediately after I was sent a copy of the Government's

pleadings by a family member.

         13. That in the event the District Court recognizes the apparent lack of

jurisdiction per se -- then this pleading is to function as merely a ttpressged" no­

tice of appeal for when the appeal would be legally appropriate.     Otherwise it is

presented aS,a proper 'notice of appeal', as deemed by this Honorable Court.

         14. That in addition to requesting to proceed in forma pauperis, I hereby

respectfully request for "assignment of counsel" to ensure proper pleadings and

overall litigation in the best interests of this Court.     See, 18 U.S.C. §§ 983(b)­

(l)(A), (b)(2)(A). under the auspices of 18 U.S.C. §3006A.

         15. WBEREPOKE. based upon the relevant and material facts unique to this

case, Defendant/Appellant respectfully requests that all lower Court [and] Depart­

ment of Justice proceedings related to any forfeiture in this case be "stayedll un­

til this Court determines if this pleading is a per se "notice of appeal". or is

only a "presaged notice of appeal" -- and then. as per jurisdictional constraints

continue any U stay" until a 'judgment' is "finalu (i.e., Defendant is denied a peti­

tion for writ of certiorari from the U.S. Supreme Court).     And for such other re­

l'ief as deemed appropriate by this Court in the interests of justice.

Dated: Lompoc. California
       March 4, 2010




                                                   Mich 1 Vondette
                                                   Defendant/Appellant pro se
                                                   USP Lompoc, #50936198
                                                   3901 Klein Blvd.
                                                   Lompoc, CA 93436-2706
                            -4­
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SLR: K..Z\.....l\l : ESW                                                     u.s, O;;'i':""~~T C,YI':lT, E.D.iN.Y.
F. #20DOv03393

u~ITED STATES DISTRICT COURT
                                                                               ..L   It·, (r
                                                                               1'; \. 41i        ;;
                                                                                                 ....   2010       *
EASTERN DISTRICT OF NEW YORK                                                LONG ISLAND OfFICE
                                                           -x
UNITED STATES OF A.fV!ERlCA                                                 A.fV!ENDED FINAL ORDER
                                                                            OF FORFEITURE
         - against -
                                                                            97 CR 01010                  (TCP) (S-2)
MICF~L        J.    VO~~ETTE,


                           Defendant.

                                   - - - - - -x
                   W:-i3REAS,      on       Ju...'1.e   6,      2001,      the     Defendant                 MICF..AEL      J.

VONDETTE           was     found    guilty              of      drug       traficking               conspiracy,             in

violation of 18 U.S.C. § 841, and, money la~ndering conspiracy, in

violation of 18 U.S.C.                  §     19S6(h}, as charged in                        Councs one and two



a special verdict finding                           ':~e     defenc.ant liable for a forfei t"..l::-e

woney judgment in the amount of $5,982,170;

                   WHERR~S,        on November                   7,     2001,      this           CO"..lrt         issued    a

preliminary Order of Forfeiture, reducing the amount of the money

judgmen:: -::0 $2,027,845 and orderi!":g the Q.;;;;::;;;;ndan'c. 'c.:::J fer:ei t a l l

right,       title,        and inte:::-est in:                  (i)     2080     :!.lth Lane,               Lake Erwin,

Califc::::-nia,       and    Iii)       17465 I"ioun::'ai.n View R.oad,                           Sisters,             Orego::1

 (collectively the H:Real PropeytyTl),                                ~n   partial satisfaction of -:.1:e

money judgment:

                   WHEREAS, in accordance with ?ed. R. C:::-im. P. 32.2(b) (3),

:egal notice of the Preliminary Order of :o:::-feiture was publ:"shsd
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                                                          ()          6     7




                                                                    Page 3 of            3

          4.         The Clerk of Court   shall forward three             certified

copies of this order to the attention of Assistant United States

Attorney Evan S. Weitz, United States Attorney's Office, 271 Cadman

plaza East,    7th   Floor, Brooklyn, New York 11201.



Dated: Central Islip, New York
       ~""4 'l. 't'; 2 0 1 0




                                          HONORABLE THO~~S C. ?LATT
                                          UNITED STATES DISTRICT ~UDGE



                                              t'-----:A-;:;TR;;;:;;UEn;-;C~O~P;,y;---·       \

                                                DATEDg:i~Y.........2:; fO
                                                .....~r rtl'~'~:N rR:< ~
                                                 BY···...... ~· ..·······.. DE.PtriY·CLE~~j
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                                              o                         7


                       CERrIFICATIOH OF SERVICE

Re: 97-cv-6013; [97-cr-1010] (TCP) -- Notice/Presaged On Appeal


     I, Michael Vondette, the Defendant/Appellant in the above referenced actions
hereby affirm under the penalties of perjury, that true and correct copies of;

                      NOTICE OF APPEAL,
                          AND/OR
                  PRESAGED NOTICE OF APPEAL

has been 'served' by first-class prepaid U.S. Mail to the following addresses;

United States Attorneys Office
271 Cadman Plaza East
Brooklyn, N.Y. 11201

United States District Court
Eastern District of New york
1000 Federal Plaza
Central Islip. N.Y. 11722

United States Court of Appeals
For The Second Circuit
40 Foley Square
New York, N.Y. 10007

under the auspices of Houston v. Lack. 487 U.S. 266 (1988); and Fed.R.App.P. at
Rule 25(a)(2)(C). as "legal mail".



Dated; Lompoc. California
       March 4, 2010




                                                  Micha   Vondette
                                                  Defendant/Appellant pro se
                                                  USP Lompoc. #50936198
                                                  3901 Klein Blvd.
                                                  Lompoc, CA 93436-2706
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                                                                 CLOSED, APPEAL, MJSELECT

                                 U.S. District Court
                      Eastern District of New York (Uniondale)
                CRIMINAL DOCKET FOR CASE #: 9:97-cr-01010-TCP-1


Case title: USA v. Vondette                               Date Filed: 10/31/1997
                                                          Date Terminated: 09/03/2002

Assigned to: Senior-Judge Thomas C.
Platt
Appeals court case numbers: 02-1528,
105.00

Defendant (1)
Michael J. Vondette                         represented by Michael J. Vondette
TERMINATED: 09/03/2002                                     #50936198
also known as                                              USPenitentiary
Steve                                                      3901 Klein Street
also known as                                              Lompoc, CA 93436-2706
Glenn Titus                                                PRO SE
also known as
M. J. Vondette                                            Howard L. Jacobs
also known as                                             401 Broadway
Michael J. Von Dette                                      Suite 1902
also known as                                             New York, NY 10013
Mike                                                      (212) 431-3710
also known as                                             Fax: 212-274-0109
Big Guy                                                   Email: marshahaber@msn.com
also known as                                             TERMINATED: 09/03/2002
Big                                                       LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED
                                                          Designation: CJA Appointment

                                                          Joel R. Weiss
                                                          Farrell Fritz, P.C.
                                                          1320 Reckson Plaza
                                                          Uniondale, NY 11556-1320
                                                          (516) 227-0692
                                                          Fax: (516) 227-0777
                                                          Email: jweiss@farrellfritz.com
                                                          TERMINATED: 09/03/2002
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED
                                                          Designation: Retained

                                                          Louis M. Freeman




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                                                          Freeman, Nooter & Ginsberg
                                                          30 Vesey Street, Suite 100
                                                          New York, NY 10007
                                                          (212) 608-0808
                                                          Fax: 212-962-9696
                                                          Email: freemefree@aol.com
                                                          TERMINATED: 06/23/1998
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED
                                                          Designation: Retained

                                                          Robert I. Kalina
                                                          Robert I. Kalina, Attorney At Law
                                                          260 Madison Avenue
                                                          18th Floor
                                                          New York, NY 10016
                                                          212-448-1222
                                                          Fax: 212-448-0066
                                                          Email: kalinalaw@yahoo.com
                                                          TERMINATED: 09/03/2002
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED
                                                          Designation: Retained

Pending Counts                                            Disposition
21:848.F and 18:2 and 3551 et. seq.
CONTINUING CRIMINAL
ENTERPRISE
(1)
21:848.F(a); 18:2 and 3551 et seq.
CONTINUING CRIMINAL
ENTERPRISE
(1s)
                                                          The dft is sentenced to 40 years on Ct. 1
21:846=CD.F, 841(b)(1)(A)(vii) & 841
                                                          and 20 years on Ct. 2, sentences to run
(b)(1)(C); CONSPIRACY TO
                                                          concurrently. To be followed by a
DISTRIBUTE CONTROLLED
                                                          supervised release term of 5 years on
SUBSTANCE & 18:3551 et seq.;
                                                          Ct.1 and 3 years on Ct.2 to run
FORFEITURE ALLEGATION FOR
                                                          concurrently. Fine: ,000.00 on Ct 1.
COUNT ONE 21:853 & 18:3551 et seq.
                                                          Special assessment : 00.00 on Ct1
(1ss)
                                                          and .00 on Ct2.
21:963=CP.F and 960(b)(1)(G);
18:3551 et seq.
ATTEMPT/CONSPIRACY -
CONTROLLED SUBSTANCE -
IMPORT/EXPORT
(2)
21:963=MI.F and 960(b)(1)(G); 18



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USC 3551 et seq. ATTEMPT/
CONSPIRACY - MARIJUANA -
IMPORTATION/EXPORTATION
(2s)
                                                          The dft is sentenced to 40 years on Ct. 1
18:1956-6801.F(h) MONEY
                                                          and 20 years on Ct. 2, sentences to run
LAUNDERING - CONTROLLED
                                                          concurrently. To be followed by a
SUBSTANCE - SELL/DISTR/DISP &
                                                          supervised release term of 5 years on
18:3551 et seq.; FORFEITURE
                                                          Ct.1 and 3 years on Ct.2 to run
ALLEGATION FOR COUNT TWO
                                                          concurrently. Fine: ,000.00 on Ct 1.
21:853 & 18:3551 et seq.
                                                          Special assessment : 00.00 on Ct1
(2ss)
                                                          and .00 on Ct2.
21:846=CD.F and 841(b)(1)(a)(viii);
and 18:3551 et seq. CONSPIRACY TO
DISTRIBUTE CONTROLLED
SUBSTANCE
(3)
21:846=MD.F and 841(b)(1)(A)(vii); 18
USC 3551 et seq. CONSPIRACY TO
DISTRIBUTE MARIJUANA
(3s)
21:853.F CRIMINAL FORFEITURES
(4)
18:1956-6801.F(h) and 3551 et seq.
MONEY LAUNDERING -
CONTROLLED SUBSTANCE -
SELL/DISTR/DISP
(4s)

Highest Offense Level (Opening)
Felony

Terminated Counts                                         Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                Disposition
None


Plaintiff
USA                                         represented by Burton T. Ryan , Jr.




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                                                             United States Attorney's Office
                                                             610 Federal Plaza
                                                             Central Islip, NY 11722
                                                             631-715-7843
                                                             Fax: 631-715-7922
                                                             Email: burton.ryan@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Evan S. Weitz
                                                             United States Attorneys Office
                                                             271 Cadman Plaza East
                                                             Brooklyn, NY 11201
                                                             718-254-6148
                                                             Fax: 718-254-6081
                                                             Email: evan.weitz@usdoj.gov
                                                             ATTORNEY TO BE NOTICED


 Date Filed       #    Docket Text
 10/31/1997        1   INDICTMENT as to Michael J. Vondette (1) count(s) 1, 2, 3, 4 (fe) (Entered:
                       11/04/1997)
 10/31/1997            Magistrate Orenstein has been selected by random selection to handle any
                       matters that may be referred in this case. (fe) (Entered: 11/04/1997)
 10/31/1997            Arrest WARRANT issued as to Michael J. Vondette (fe) (Entered:
                       11/04/1997)
 11/12/1997        2   Docket Sheet, Complaint, Minute Order appointing counsel, Warrant of
                       removal and Waiver of removal received, sent by the US District Court for
                       the Southern District of California. (Donovan, Donna) (Entered: 11/21/1997)
 12/02/1997            District Court Arraignment as to Michael J. Vondette held Michael J.
                       Vondette (1) count(s) 1, 2, 3, 4 (Donovan, Donna) (Entered: 12/05/1997)
 12/02/1997        3   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 12/2/97 at 10:00 am for CR cause for arraignment
                       Court Reporter/ESR Joe Barbella, Dft present in custody with retained
                       counsel Louis Freeman. Govt: Burton Ryan. DFt's first appearance, arraigned
                       and pleaded not guilty. Waiver of speedy trial and excludable delay order
                       signed, to be filed. Defense counsel needs time to discuss the case, decide
                       what motions will be made and whether or not there can be a disposition in
                       the case. Govt. has no objection. reset status conference for 9:30 1/16/98 for
                       Michael J. Vondette before Judge Thomas C. Platt Dft to be held without bail.
                       Notice of appearance signed, to be filed. (Donovan, Donna) (Entered:
                       12/05/1997)
 12/02/1997        4   NOTICE of Appearance for Michael J. Vondette by Attorney Louis Freeman
                       (Donovan, Donna) (Entered: 12/05/1997)
 12/02/1997        5   WAIVER OF SPEEDY TRIAL AND ORDER OF EXCLUDABLE DELAY




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                       as to Michael J. Vondette from 12/2/97 thru 1/16/98. ( Signed by Judge
                       Thomas C. Platt , dated: 12/2/97) (Donovan, Donna) (Entered: 12/05/1997)
 12/11/1997        6   AFFIDAVIT by Donald Reilly on behalf of USA as to Michael J. Vondette
                       Re:in support of application for ex-parte restraining order pursuant to 21
                       U.S.C. 853(e)(1)(A). (Donovan, Donna) (Entered: 12/19/1997)
 12/11/1997        7   EX PARTE RETRAINING ORDER as to Michael J. Vondette ( Signed by
                       Judge Thomas C. Platt , dated: 12/11/97) (Donovan, Donna) (Entered:
                       12/19/1997)
 01/16/1998        8   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 1/16/98 @ 9:30am for Cr. Cause for Status
                       Conference. Only AUSA Bonnie Klapper present in place of Burton Ryan.
                       Court Reporter/ESR Joe Barbella, reset status conference for 9:30 1/30/98 for
                       Michael J. Vondette before Judge Thomas C. Platt (fe) (Entered: 01/20/1998)
 01/30/1998        9   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 1/30/98 at 9:30 am for CR cause for conference
                       Court Reporter/ESR Joe Barbella, Case called. Only AUSA Burton Ryan
                       present. reset status conference for 9:30 2/27/98 for Michael J. Vondette
                       before Judge Thomas C. Platt (Donovan, Donna) (Entered: 02/03/1998)
 02/04/1998       12   USM-285 PROCESS RECEIPT AND RETURN as to recording on 12/18/97
                       of the notice of pendency filed by AUSA Salmon Smith as to Michael J.
                       Vondette (fe) (Entered: 03/13/1998)
 02/04/1998       13   USM-285 PROCESS RECEIPT AND RETURN by USA as to personal
                       service of the ex parte restraining order pursuant to 21:853 on deft Michael J.
                       Vondette at the MDC, Brooklyn, NY. (fe) (Entered: 03/13/1998)
 02/19/1998       10   LETTER dated 2/18/98 from Burton T. Ryan, Jr. to Mr. Louis R. Freeman re:
                       in response to your request, this letter provides you with discovery pursuant
                       to Rule 16 of the Fed. R. Cr. Procedure and request reciprocal discovery. (fe)
                       (Entered: 02/25/1998)
 02/27/1998       11   ORDER of Excludable Delay/Waiver of Speedy Trial as to Michael J.
                       Vondette from 12/2/97 through 3/27/98 ( Signed by Judge Thomas C. Platt,
                       dated: 2/27/98) (fe) (Entered: 03/13/1998)
 02/27/1998       14   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 2/27/98 for Criminal Cause For Conference.
                       Defendant counsel Freeman Nooter (retained) present. Govt: AUSA Edgardo
                       Ramos. Court Reporter/ESR Harry Rapaport resetting status conference for
                       9:30 3/27/98 Michael J. Vondette before Judge Thomas C. Platt Excludable
                       Delay entered 2/27/98 to 3/27/98 terminated past due deadlines (Branciforte,
                       Ralph) (Entered: 03/23/1998)
 03/27/1998       15   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 3/27/98 @ 9:30 AM for Criminal Cause For
                       Conference. Michael J. Vondette present and in custody with retained counsel
                       Freeman Nooter. Govt: AUSA Burton Ryan. Court Reporter/ESR Ron
                       Tolkin, resetting status conference for 9:30 4/3/98 for Michael J. Vondette




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                       before Judge Thomas C. Platt (Branciforte, Ralph) (Entered: 04/08/1998)
 04/03/1998       16   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 4/3/98 @ 9:30 AM for Criminal Cause For
                       Conference. Case Called. Only AUSA Burton Ryan present. Court
                       Reporter/ESR Ron Tolkin. motion papers to be filed on 5/1/98 , Motion
                       hearing set for 5/8/98 @ 11:00 AM. (Branciforte, Ralph) (Entered:
                       04/15/1998)
 04/15/1998       17   MOTION by Michael J. Vondette to dismiss the indictment , to sever Count 4
                       of the Indictment and hold a separate trial on it , a bill of particulars , an order
                       suppressing identification testimony , an order prohibiting evidence about Mr.
                       Vondette's prior convictions , an order directing the government to provide
                       pretrial notice all other crimes, wrongs or acts evidence the government
                       intends to offer at trial and granting Mr. Vondette a pretrial hearing on the
                       admissibility of such evidence , an order directing the government and its
                       agents to preserve rough notes and any other documents memorializing
                       statements previously made by all prospective trial witnesses , granting other
                       such relief as law and justice requires (Branciforte, Ralph) (Entered:
                       04/22/1998)
 04/15/1998       18   MEMORANDUM by Michael J. Vondette in support of [17-1] motion to
                       dismiss the indictment, [17-2] motion to sever Count 4 of the Indictment and
                       hold a separate trial on it, [17-3] motion a bill of particulars, [17-4] motion an
                       order suppressing identification testimony, [17-5] motion an order prohibiting
                       evidence about Mr. Vondette's prior convictions, [17-6] motion an order
                       directing the government to provide pretrial notice all other crimes, wrongs or
                       acts evidence the government intends to offer at trial and granting Mr.
                       Vondette a pretrial hearing on the admissibility of such evidence, [17-7]
                       motion an order directing the government and its agents to preserve rough
                       notes and any other documents memorializing statements previously made by
                       all prospective trial witnesses, [17-8] motion granting other such relief as law
                       and justice requires (Branciforte, Ralph) (Entered: 04/22/1998)
 04/15/1998       19   AFFIDAVIT by Louis Freeman for Michael J. Vondette in support of the
                       defendant's [17-1] motion to dismiss the indictment, [17-2] motion to sever
                       Count 4 of the Indictment and hold a separate on it, [17-3] motion a bill of
                       particulars, [17-4] motion order suppressing identification testimony, [17-5]
                       motion order prohibiting evidence about Mr. Vondette's prior convictions,
                       [17-6] motion an order directing the government to provide pretrial notice all
                       other crimes, wrongs or acts evidence the government intends to offer at trial
                       and granting Mr. Vondette a pretrial hearing on the admissibility of such
                       evidence, [17-7] motion an order directing the government and its agents to
                       preserve rough notes and any other documents memorializing statements
                       previously made by all prospective trial witnesses, [17-8] motion granting
                       other such relief as law and justice requires (Branciforte, Ralph) (Entered:
                       04/22/1998)
 04/15/1998       20   MOTION by Michael J. Vondette for discovery under FRCrimP 16
                       (Branciforte, Ralph) (Entered: 04/22/1998)
 04/15/1998       21   MEMORANDUM by Michael J. Vondette in support of [20-1] motion for




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                       discovery under FRCrimP 16 (Branciforte, Ralph) (Entered: 04/22/1998)
 04/15/1998       22   MOTION by Michael J. Vondette for disclosure of agreements between the
                       Government and Government's witnesses (Branciforte, Ralph) (Entered:
                       04/22/1998)
 04/15/1998       23   MEMORANDUM by Michael J. Vondette in support of his [22-1] motion for
                       disclosure of agreements between the Government and Government's
                       witnesses (Branciforte, Ralph) (Entered: 04/22/1998)
 04/15/1998       24   MOTION by Michael J. Vondette to require the prosecution to reveal any
                       agreement, concession or grant immunity (Branciforte, Ralph) (Entered:
                       04/22/1998)
 04/15/1998            Motion hearing, set for 9:30 5/8/98 as to: Michael Vondette, re: (24-1), (22-
                       1), (20-1), (17-1), (17-2), (17-3), (17-4), (17-5), (17-6), (17-7), (17-8)
                       (Branciforte, Ralph) (Entered: 04/22/1998)
 05/08/1998       25   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 5/8/98 @ 11:00 AM for Criminal Cause for
                       Motion Conference. Only AUSA James Tatum present. Court Reporter/ESR
                       Owen Wicker, terminated past due deadlines , Motion hearing, set for 11:00
                       5/15/98 as to: Michael Vondette, re: (22-1), (20-1), (17-1), (17-2), (17-3),
                       (17-4), (17-5), (17-6), (17-7), (17-8) (Branciforte, Ralph) (Entered:
                       05/18/1998)
 05/11/1998       26   MEMORANDUM by USA as to Michael J. Vondette in opposition to
                       defendant's pretrial motions (Branciforte, Ralph) (Entered: 05/18/1998)
 05/15/1998       27   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 5/15/98 @ 11:00 AM for Criminal Cause for
                       Motion Conference. Case called. Only AUSA Burton Ryan present. Court
                       Reporter/ESR Joe Barbella, terminated past due deadlines , resetting status
                       conference for 11:00 5/22/98 for Michael J. Vondette before Judge Thomas
                       C. Platt (Branciforte, Ralph) (Entered: 05/26/1998)
 05/22/1998       28   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 5/22/98 @ 11:00 for Criminal Cause For Motion
                       Conference. Defendant not present. Freeman Nooter present for defendant.
                       Govt: AUSA Burton Ryan. Court Reporter/ESR Delarosa, resetting status
                       conference for 1:15 6/10/98 Michael J. Vondette before Judge Thomas C.
                       Platt (Branciforte, Ralph) (Entered: 05/28/1998)
 06/10/1998       32   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 6/10/98 at 1:15 pm for CR cause for motion
                       conference Court Reporter/ESR Joe Barbella Only AUSa Burton Ryan
                       present. Bail application is defaulted. (Donovan, Donna) (Entered:
                       07/09/1998)
 06/18/1998       29   USMS Process Receipt and Return as to Notice of Pendency on Deschutes
                       County Clerk, Oregon. (Branciforte, Ralph) (Entered: 06/19/1998)
 06/19/1998       82   REPLY MEMORANDUM OF LAW by Michael J. Vondette to USA's
                       response to Defendant's pretrial motions. (Branciforte, Ralph) (Entered:




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                       06/23/1999)
 06/23/1998       30   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 6/23/98 @ 9:30 AM for Criminal Cause For Bail
                       Application. Defendant in suctody with Counsel Robert Kalina. Govt: AUSA
                       Burton Ryan. Court Reporter/ESR Joe Barbella. resetting Bail/Bond Hearing
                       for 2:00 7/10/98 for Michael J. Vondette before Judge Thomas C. Platt
                       (Branciforte, Ralph) (Entered: 06/24/1998)
 06/23/1998       31   NOTICE of Appearance for Michael J. Vondette by Attorney Robert I. Kalina
                       (Branciforte, Ralph) (Entered: 06/24/1998)
 06/23/1998            Status conference as to Michael J. Vondette held (Branciforte, Ralph)
                       (Entered: 07/17/1998)
 06/23/1998       81   STIPULATION & ORDER substituting attorney terminated attorney Louis
                       Freeman for Michael J. Vondette Added Robert Kalina ( Signed by Judge
                       Thomas C. Platt , on 6/23/98) (Branciforte, Ralph) (Entered: 06/23/1999)
 07/10/1998            Status conference as to Michael J. Vondette held (Branciforte, Ralph)
                       (Entered: 07/20/1998)
 07/10/1998       33   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 7/10/98 @ 2:00 PM for Criminal Cause For
                       Motion Conference. Defendant and retained counsel Robert Kalina present.
                       Govt: AUSA Burton Ryan. Court Reporter/ESR Joe Barbella. Case declared
                       complex setting jury selection for 9:30 10/5/98 for Michael J. Vondette
                       before Judge Thomas C. Platt (Branciforte, Ralph) (Entered: 07/20/1998)
 07/10/1998       34   WAIVER OF SPEEDY TRIAL/ORDER OF EXCLUDABLE DELAY as to
                       Michael J. Vondette. Code Type: XE From 7/10/98 to 10/5/98. ( Signed by
                       Judge Thomas C. Platt , dated: 7/10/98) (Branciforte, Ralph) (Entered:
                       07/20/1998)
 08/04/1998       35   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 5/8/98 @
                       11:00 AM ; Court Reporter/ESR: Owen Wicker (Branciforte, Ralph)
                       (Entered: 08/05/1998)
 09/18/1998       36   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 9/18/98 @ 9:30 AM for Criminal Cause For
                       Conference. Defendant present and in custody with retained counsel Robert
                       Kalina. Govt: AUSA Burton Ryan. Court Reporter/ESR Ron Tolkin.
                       Defendant's request to adjourn trial date of 10/5/98 dus to the fact that the
                       Govt has not turned over discovery made and granted by the Court resetting
                       jury selection for 9:30 11/2/98 for Michael J. Vondette before Judge Thomas
                       C. Platt ID Hearing to be held after jury is selected. (Branciforte, Ralph)
                       (Entered: 09/21/1998)
 10/05/1998            SEALED DOCUMENT as to Michael J. Vondette (application of Burton T.
                       Ryan and order of TCP dated 10/5/98) (Mahon, Cinthia) (Entered:
                       10/05/1998)
 10/09/1998       37   LETTER dated 10/8/98 from Robert Kalina to USDJ Platt RE: Requesting
                       that Your Honor adjourn the trial to 11/16/98 or such later date as is




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                       convenient to the Court. (Branciforte, Ralph) (Entered: 10/14/1998)
 10/15/1998            Status conference as to Michael J. Vondette held (Branciforte, Ralph)
                       (Entered: 10/15/1998)
 10/15/1998       38   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 10/15/98 @ 9:00 for Criminal Cause For
                       Conference. Defendant Vondette present and in custody with retained counsel
                       Robert Kalina. Govt: AUSA Burton Ryan. Court Reporter/ESR Harry
                       Rapaport. Defendant's application to reset jury selection for 11/17/98 for
                       Michael J. Vondette before Judge Thomas C. Platt granted Govt. advises
                       court Superseding Indictment will be filed, it's before the Grand Jury today
                       and money laundering charges to be added. Once Sup. Indictment is filed
                       defendant indicates they may want to make motions and if so this may delay
                       the trial. Should the trial not proceed on 11/7/98 the Govt. indicates they still
                       can go forward with pre-trial hearings regarding witnesses whi are
                       incarcerated and out of state on 11/17/98. (see 97 CV 6013 for entry related to
                       Bank Accounts) (Branciforte, Ralph) (Entered: 10/15/1998)
 10/15/1998       39   LETTER dated 10/14/98 from Robert Kalina to USDJ Platt RE: Requesting
                       that Your Honor allow me to address the application regarding 97 CV 6013
                       (Govt. withdrawl of judgment; extension of time to file a claim; and stay of
                       proceedings). (Branciforte, Ralph) (Entered: 10/15/1998)
 10/20/1998       40   SUPERSEDING INDICTMENT as to Michael J. Vondette (1) count(s) 1s,
                       2s, 3s, 4s (Branciforte, Ralph) (Entered: 10/21/1998)
 10/23/1998            District Court Arraignment as to Michael J. Vondette held Michael J.
                       Vondette (1) count(s) 1s, 2s, 3s, 4s (Branciforte, Ralph) (Entered:
                       10/26/1998)
 10/23/1998       41   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 10/23/98 @ 9:30 AM for Criminal Cause For
                       Arraignment. Defendant Vondette present and in custody with retained
                       counsel Jeremy Kalina. Govt: AUSA Burton Ryan. Court Reporter/ESR
                       Mickey Brymer, Not Guilty: Michael J. Vondette (1) 1s, 2s, 3s, 4s , setting
                       jury selection for 9:30 11/17/98 for Michael J. Vondette before Judge Thomas
                       C. Platt Defense counsel reports bail application may be made. (Branciforte,
                       Ralph) (Entered: 10/26/1998)
 11/02/1998       42   MOTION TRANSCRIPT filed in case as to Michael J. Vondette for dates of
                       6/23/98 @ 9:30 AM ; Court Reporter/ESR: Joseph Barbella (Branciforte,
                       Ralph) (Entered: 11/02/1998)
 11/02/1998       43   BAIL APPLICATION TRANSCRIPT filed in case as to Michael J. Vondette
                       for dates of 6/23/98 @ 9:30 AM ; Court Reporter/ ESR: Joseph Barbella
                       (Branciforte, Ralph) (Entered: 11/02/1998)
 11/02/1998       44   ARRAIGNMENT TRANSCRIPT filed in case as to Michael J. Vondette for
                       dates of 12/2/97 @ 10:00 AM ; Court Reporter/ESR: Joseph Barbella
                       (Branciforte, Ralph) (Entered: 11/02/1998)
 11/02/1998       45   CONFERENCE TRANSCRIPT filed in case as to Michael J. Vondette for




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                       dates of 7/10/98 @ 2:00 PM ; Court Reporter/ESR: Joseph Barbella
                       (Branciforte, Ralph) (Entered: 11/02/1998)
 11/02/1998       83   LETTER dated 11/2/98 from Robert Kalina to USDJ Platt RE: Informing you
                       that I wish to file motions relating to the Superseding Indictment.
                       (Branciforte, Ralph) (Entered: 06/23/1999)
 11/03/1998       48   MOTION by Michael J. Vondette to dismiss the Superseding Indictment
                       (Branciforte, Ralph) (Entered: 11/18/1998)
 11/03/1998       49   AFFIDAVIT by Robert Kalina as to Michael J. Vondette in support of [48-1]
                       motion to dismiss the Superseding Indictment (Branciforte, Ralph) (Entered:
                       11/18/1998)
 11/05/1998            Status conference as to Michael J. Vondette held (Branciforte, Ralph)
                       (Entered: 11/05/1998)
 11/05/1998       46   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 11/5/98 @ 9:30 AM for Criminal Cause For
                       Conference (Motions to be filed relating to Superseding inidctment to wit:
                       Moiton to dismiss the inidctment or alternatively to preclude the testimony of
                       cooperating witnesses and adjourning trial now scheduled for 11/17/98).
                       Defendant Vondette present and in custody with retained counsel Robert
                       Kalina. Govt: AUSA Burton Ryan. Court Reporter/ESR Joe Barbella.
                       Conference held. Defense counsel to order record from companion case in
                       USDC-Central District of California-Judge J. Spencer Letts US -v- Kulick
                       (97-cr-110 (JSL)) because the importation count (Count 2) in this court's
                       Superseding Indictment is the same count in the above CA case which was
                       dismissed by J. Letts. Specifics on the record. Court directs Govt. to produce
                       all DEA "6"'s. Evidentiary hearing will be held at some point. Following
                       Motions to be served and filed by 12/4/98. Govt's reply on 1/4/99. Argument
                       set for 1/11/99 at 10:00 AM. The Court informs parties if it is on trial the
                       motion will be adjourned to a Friday. Defendant's motion to dismiss the
                       Indictment under Singleton denied without prejudice to reinstate by letter.
                       Jury selection and trial adjourned from 11/17/98 until motions are decided.
                       Excludable delay order signed and to be filed. Bail application set for
                       11/17/98 @ 9:30 AM terminated past due deadlines (Branciforte, Ralph)
                       (Entered: 11/05/1998)
 11/05/1998       47   ORDER OF EXCLUDABLE DELAY as to Michael J. Vondette. Code XT:
                       Start: 11/5/98 Stop: 1/11/99. ( Signed by Judge Thomas C. Platt , dated:
                       11/5/98) (Branciforte, Ralph) (Entered: 11/05/1998)
 11/17/1998       50   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 11/17/98 @ 9:30 AM for Criminal Cause For Bail
                       Application. Defendant Vondette present with retained counsel Robert
                       Kalina. Govt: AUSA Burton Ryan. Court Reporter/ESR Joe Barbella. Bail
                       Application argued and denied for reasons stated on the record. Motion
                       schedule revised: Defednants motions to be served on 12/16/98 , setting
                       motion filing deadline for 12/16/98 for Michael J. Vondette , Govt's Reply to
                       Response to Motion on 1/15/99 , Motion hearing set for 1/29/99 @ 11:00 AM
                       Excludable delay entered. (Branciforte, Ralph) (Entered: 11/23/1998)




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 11/17/1998       51   ORDER OF EXCLUDABLE DELAY as to Michael J. Vondette. Code Type:
                       XE Start: 11/17/98 Stop: 1/29/98. ( Signed by Judge Thomas C. Platt , dated:
                       11/17/98) (Branciforte, Ralph) (Entered: 11/23/1998)
 12/17/1998       52   MOTION by Michael J. Vondette for discovery pursuant to law (Branciforte,
                       Ralph) (Entered: 12/30/1998)
 12/17/1998       53   AFFIDAVIT and Incorporated Memorandum by Michael J. Vondette in
                       support of [52-1] motion for discovery pursuant to law (Branciforte, Ralph)
                       (Entered: 12/30/1998)
 12/17/1998       54   MOTION by Michael J. Vondette to dismiss Count 1 of the Superseding
                       Indictment , to dismiss Count 2 of the Superseding Indictment , and to
                       dismiss the entire Superseding Indictment (Branciforte, Ralph) (Entered:
                       12/30/1998)
 12/17/1998       55   AFFIDAVIT and Incorporated Memorandum by Robert I. Kalina for Michael
                       J. Vondette in support of [54-1] motion to dismiss Count 1 of the Superseding
                       Indictment, [54-2] to dismiss Count 2 of the Superseding Indictment, and [54-
                       3] motion to dismiss the entire Superseding Indictment (Branciforte, Ralph)
                       (Entered: 12/30/1998)
 12/17/1998       56   MOTION by Michael J. Vondette for 404(b) material (Branciforte, Ralph)
                       (Entered: 12/30/1998)
 12/17/1998       57   AFFIDAVIT and Incorporated Memorandum by Robert Kalina for Michael J.
                       Vondette in support of [56-1] motion for 404(b) material (Branciforte, Ralph)
                       (Entered: 12/30/1998)
 12/17/1998       58   MOTION by Michael J. Vondette for Bill of Particulars (Branciforte, Ralph)
                       (Entered: 12/30/1998)
 12/17/1998       59   AFFIDAVIT, Incorporated Memorandum of Law, and Exhibits by Robert
                       Kalina for Michael J. Vondette in support of [58-1] motion for Bill of
                       Particulars (Branciforte, Ralph) (Entered: 12/30/1998)
 12/24/1998       60   LETTER dated 12/21/98 from Robert Kalina to AUSA Burton Ryan RE:
                       Concerning the 4 motions that I mailed to you on 12/16/98 which you haven't
                       received; I enclose copies of the 4 motions, via federal express overnight
                       mail, for your recipt on 12/22/98. (Branciforte, Ralph) (Entered: 01/04/1999)
 01/04/1999      132   NOTICE OF INTERLOCUTORY APPEAL by Michael J. Vondette. He
                       appeals the Indictment as being "jurisdictionally defective," as premised on
                       the U.S. Constitution's structural separation of powers and for omissions of
                       essestial elements of the offenses charges, and thus is w/o standing and lacks
                       the necessary and required subject matter jurisdiction. Notice of Appeal and
                       certified copy of the docket sheet sent to USCA. Copy T1080 form filed with
                       the NOA forwarded to the USCA. No fee paid. Service made by Clerk.
                       (Coleman, Laurie) (Entered: 01/12/2000)
 01/29/1999       61   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 1/29/99 @ 9:30 AM for Criminal Cause For
                       Motions (Defendant's motion to dismiss the Superseding Indictment or
                       alternatively to preclude the testimony of ccoperating witnesses, for




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                       discovery, etc.). Defendant present and in custody with retained counsel
                       Robert Kalina. Govt: AUSA Burton Ryan. Court Reporter/ESR Jennifer
                       Maue. Defense counsel's new address and phone number placed on the
                       record. Defendant to file additional motions following schedule set:
                       Defendant's additional motions to be served and filed on 2/26/99; Govt's
                       answering papers on 3/29/99; Argument set for 4/9/99 @ 11:00 AM. Parties
                       were awaiting the minutes from the proceedings held in USDC, Central
                       District of California and Govt advises they should have them by 2/1/99.
                       Excludable delay order signed, to be filed. (Branciforte, Ralph) (Entered:
                       01/29/1999)
 01/29/1999       62   ORDER OF EXCLUDABLE DELAY as to Michael J. Vondette. Code: XE,
                       T III, V Start: 1/29/99 Stop: 4/9/99. ( Signed by Judge Thomas C. Platt ,
                       dated: 1/29/99) (Branciforte, Ralph) (Entered: 01/29/1999)
 04/09/1999       63   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 4/9/99 @ 11:00 AM for Criminal Motions
                       ( Defendant's motion to dismiss the Superseding Indictment or alternatively to
                       preclude the testimony of cooperating witnesses for discovery, etc.).
                       Defendant Vondette present and in custody with retained counsel Robert
                       Kalina. Govt: AUSA Burton Ryan. Court Reporter/ESR Harry Rapaport.
                       Motions adjourned to 6/11/99 @ 11:00 AM for argument. Defendant's papers
                       to be served and filed on 5/7/99; Govt's response to be served and filed on
                       6/4/99. (Branciforte, Ralph) (Entered: 04/09/1999)
 05/04/1999       64   LETTER dated 5/4/99 from Robert I. Kalina to Honorable Sir re: I write to
                       seek a brief extension of time to file defense motions from 5/7/99 to 5/21/99;
                       to extend the Govt's time to respond to 6/18/99; and to set oral argument for
                       Friday, 6/25/99 at 11:00 A.M. (Jafer, Halide) (Entered: 05/07/1999)
 05/26/1999       65   MOTION by Michael J. Vondette for reconsideration of the defendant's
                       motion to dismiss the Indictment or preclude testimony pursuant to US v.
                       Singleton (Branciforte, Ralph) (Entered: 05/28/1999)
 05/26/1999       66   AFFIDAVIT by Robert Kalina for Michael J. Vondette and incorporated
                       Memorandum of Law in support of [65-1] motion for reconsideration of the
                       defendant's motion to dismiss the Indictment or preclude testimony pursuant
                       to US v. (Branciforte, Ralph) (Entered: 05/28/1999)
 05/26/1999       67   MOTION by Michael J. Vondette for additional discovery and Brady material
                       (Branciforte, Ralph) (Entered: 05/28/1999)
 05/26/1999       68   AFFIDAVIT by Raobert Kalina for Michael J. Vondette and incorporated
                       memorandum of law in support of [67-1] motion for additional discovery and
                       Brady material (Branciforte, Ralph) (Entered: 05/28/1999)
 05/26/1999       69   MOTION by Michael J. Vondette for a Bill of Particulars (Branciforte,
                       Ralph) (Entered: 05/28/1999)
 05/26/1999       70   AFFIDAVIT by Robert Kalina for Michael J. Vondette and incorporated
                       Memorandum of Law in support of [69-1] motion for a Bill of Particulars
                       (Branciforte, Ralph) (Entered: 05/28/1999)




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 05/26/1999       71   MOTION by Michael J. Vondette for a Hearing on audibilty ofthe tape
                       recordings and suppression of the tape recordings (Branciforte, Ralph)
                       (Entered: 05/28/1999)
 05/26/1999       72   AFFIDAVIT by Robart Kalina for Michael J. Vondette in support of [71-1]
                       motion for a Hearing on audibilty of the tape recordings, [71-2] motion
                       suppression of the tape recordings (Branciforte, Ralph) (Entered: 05/28/1999)
 05/26/1999       73   MOTION by Michael J. Vondette to strike certain portions of the Indictment
                       referring to the Defendant as "Glenn Titus," "M.J. Vondette," "Mike," "Big
                       Guy," "Guy" and "Steve," as surplusage (Branciforte, Ralph) (Entered:
                       05/28/1999)
 05/26/1999       74   AFFIDAVIT by Robert Kalina for Michael J. Vondette in support of [73-1]
                       motion to strike certain portions of the Indictment referring to the Defendant
                       as "Glenn Titus," "M.J. Vondette," "Mike," "Big Guy," "Guy" and "Steve," as
                       surplusage (Branciforte, Ralph) (Entered: 05/28/1999)
 05/26/1999       75   MOTION by Michael J. Vondette to dismiss (a) Count 1 of the Superseding
                       Indictment; (b) Count 2 of the Superseding Indictment; (c) the turn over of
                       the transcripts of all grand jury proceedings pertaining to the Original and
                       Superseding Indictments herein; and (d) dismissal of the Initial and
                       Superseding Indictments, with prejudice (Branciforte, Ralph) (Entered:
                       05/28/1999)
 05/26/1999       76   AFFIDAVIT by Robert Kalina for Michael J. Vondette and incorporated
                       Memorandum of Law in support of [75-1] motion to dismiss (a) Count 1 of
                       the Superseding Indictment; (b) 2 of the Superseding Indictment; (c) the turn
                       over of the transcripts of all grand jury proceedings pertaining to the Original
                       and Superseding Indictments herein; and (d) dismissal of the Initial and
                       Superseding Indictments, with prejudice (Branciforte, Ralph) (Entered:
                       05/28/1999)
 06/11/1999       77   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 6/11/99 @ 11:00 AM for Criminal Cause For
                       Motions (Defendant's motion to dismiss the Superseding Indictment or
                       alternatively to preclude the testimony of cooperating witnesses for
                       discovery, etc.). Only AUSA Burton Ryan present. Court Reporter/ESR
                       Jennifer Maue. Motions adjourned to 6/25/99 @ 11:00 AM. Parties revised
                       schedule: defendants motion extended from 5/7/99 to 5/21/99 and
                       Governemtn's response 6/18/99. See letter dtd. 5/4/99 from Robert Kalina.
                       (Branciforte, Ralph) (Entered: 06/14/1999)
 06/17/1999       78   LETTER dated 6/14/99 from Michael Vondette to Court Clerk RE:
                       Requesting a blank subpoena form. (Branciforte, Ralph) (Entered:
                       06/21/1999)
 06/18/1999       79   LETTER dated 6/18/99 from Allen Herzfeld to Michael Vondette RE: The
                       Court is in receipt of your letter dtd. 6/14/99. Per your request, I have
                       enclosed subpoena foprms for use in a criminal case. This form can be used to
                       subpoena persons to testify or to produce documents. Please refer to Rule 17
                       of the Criminal Rules for information regarding the issuance of a criminal
                       subpoena. (Branciforte, Ralph) (Entered: 06/21/1999)




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 06/18/1999       80   MEMORANDUM by USA as to Michael J. Vondette in opposition to [75-1]
                       motion to dismiss (a) Count 1 of the Superseding Indictment; (b) Count 2 of
                       the Superseding Indictment; (c) the turn over of the transcripts of all grand
                       jury proceedings pertaining to the Original and Superseding Indictments
                       herein; and (d) dismissal of the Initial and Superseding Indictments, with
                       prejudice, [73-1] motion to strike certain portions of the Indictment referring
                       to the Defendant as "Glenn Titus," "M.J. Vondette," "Mike," "Big Guy,"
                       "Guy" and "Steve," as surplusage, [71-1] motion for a Hearing on audibilty
                       ofthe tape recordings, [71-2] motion suppression of the tape recordings, [69-
                       1] motion for a Bill of Particulars, [67-1] motion for additional discovery and
                       Brady material, [65-1] motion for reconsideration of the defendant's motion to
                       dismiss the Indictment or preclude testimony pursuant to US v. Singleton
                       (trial chronology annexed) (Branciforte, Ralph) (Entered: 06/22/1999)
 06/22/1999       84   Letter MOTION by Michael J. Vondette to extend time to file reply papers
                       and to reschedule argument (Branciforte, Ralph) (Entered: 06/24/1999)
 06/22/1999       84   ENDORSED ORDER as to Michael J. Vondette granting [84-1] motion to
                       extend time to file reply papers and to reschedule argument as to Michael J.
                       Vondette (1), Reply to Response to Motion due on 7/16/99 , Motion hearing
                       set for 7/23/99 @ 11:00 AM ( Signed by Judge Thomas C. Platt , on 6/22/99)
                       (Branciforte, Ralph) (Entered: 06/24/1999)
 06/28/1999       85   LETTER dated 6/28/99 from Thomas Carroll, Law Clerk to Robert Kalina
                       RE: Enclosing Mr. Vondette's Motion and supporting papers submitted on
                       6/23/99. In the case of represented defendants, it is the policy of USDJ Platt
                       and USMJ Orenstein to accept submissions by the attorney. (Branciforte,
                       Ralph) (Entered: 06/29/1999)
 07/14/1999       86   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 11/17/99;
                       Court Reporter/ESR: Joseph Barbella (O'Hara, Karen) (Entered: 07/14/1999)
 07/22/1999       88   LETTER dated 7/22/99 from AUSA Burton Ryan to USDJ Platt RE:
                       Requesting that Vondette's motion be denied in its entirety. (Branciforte,
                       Ralph) (Entered: 07/26/1999)
 07/22/1999       89   LETTER dated 7/22/99 from Robert Kalina to USDJ Platt RE: Requesting
                       that the Government's letter dtd. 7/22/99 be disregarded. In the event the court
                       does consider its letter, I submit this reply. (copy of DEA6 dtd. 1/10/97,
                       turned over to the Kulik defendants by the govt. during discovery, annexed)
                       (Branciforte, Ralph) (Entered: 07/26/1999)
 07/23/1999       87   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 7/23/99 for Criminal Cause For Motion.
                       Defendant Vondette present and in custody with retained counsel Robert
                       Kalina. Govt: AUSA Burton Ryan and Tracey Salmon Smith. Court
                       Reporter/ESR Ron Tolkin. Motions argued. Rulings: [75-1] motion to dismiss
                       (a) Count 1 of the Superseding Indictment; (b) Count 2 of the Superseding
                       Indictment; (c) the turn over of the transcripts of all grand jury proceedings
                       pertaining to the Original and Superseding Indictments herein; and (d)
                       dismissal of the Initial and Superseding Indictments, with prejudice taken
                       under advisement as to Michael J. Vondette (1), [73-1] motion to strike




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                       certain portions of the Indictment referring to the Defendant as "Glenn Titus,"
                       "M.J. Vondette," "Mike," "Big Guy," "Guy" and "Steve," as surplusage taken
                       under advisement as to Michael J. Vondette (1), [71-1] motion for a Hearing
                       on audibilty ofthe tape recordings taken under advisement as to Michael J.
                       Vondette (1), [71-2] motion suppression of the tape recordings taken under
                       advisement as to Michael J. Vondette (1), [69-1] motion for a Bill of
                       Particulars taken under advisement as to Michael J. Vondette (1), [67-1]
                       motion for additional discovery and Brady material taken under advisement
                       as to Michael J. Vondette (1), [65-1] motion for reconsideration of the
                       defendant's motion to dismiss the Indictment or preclude testimony pursuant
                       to US v. Singleton taken under advisement as to Michael J. Vondette (1).
                       Court orders Government to turn over all discovery and bill of particulars to
                       defense counsel by 8/25/99 including Claifornia material. Government to
                       furnish court with the additional material discussed today (affidavits from
                       agents) no later than 8/25/99 then court will consider entire motion including
                       venue problem. AUSA Tracey Salmon Smith addresses criminal forfeiture
                       and court orders the property in Lake Erwin, California, address given in
                       court, released from its prior restraining order. Order to be submitted. Case
                       adjourned to 9/3/99 @ 9:30 AM. (Branciforte, Ralph) (Entered: 07/23/1999)
 07/23/1999       90   Exhibits to Michael J. Vondette's motions (Part I) (Branciforte, Ralph)
                       (Entered: 07/28/1999)
 07/23/1999       91   Exhibits to Michael J. Vondette's motions (Part II) (Branciforte, Ralph)
                       (Entered: 07/28/1999)
 08/01/1999       92   SUPPLEMENTAL RESTRAINING ORDER as to Michael J. Vondette RE:
                       The Restraining Order dtd. 12/11/97, is hereby supplemental and amended in
                       only one aspect, to wit: the ex parte Restraining Order of December 1997, is
                       vacated solely as to the real property located at 2080 11th Lane, Lake Earwin,
                       CA 92314, and as to no other asset or property named therein. The
                       Restraining Order issued on 12/11/97 shall reamin in effect as to all other
                       assets and real property decribed therein. Plaintiff US is directed to serve a
                       copy of this Supplemantal Restraining Order upon all parties known to have a
                       ownership, possessory, or other interest in the real property located at 2080
                       11th Lane, Lake Earwin, CA 92314. Plaintiff US shall forthwith release any
                       Notice of Pendency filed in this action as to the real property located at 2080
                       11th Lane, Lake Earwin, CA 92314. ( Signed by Judge Thomas C. Platt , on
                       8/1/99) (Branciforte, Ralph) (Entered: 08/02/1999)
 08/10/1999       93   NOTICE of Release Of Pendency by USA as to Michael J. Vondette RE:
                       USA releases: 2078 11th Lane, Lake Erwin, CA 92314, Assessor's Parcel
                       Number 0315-076-02, Big Bear Woodlands Lot 2, Block 11, San Bernardino
                       County, held in the name of Michale J. Vondette. (Branciforte, Ralph)
                       (Entered: 08/17/1999)
 09/01/1999       95   Letter MOTION by USA as to Michael J. Vondette for the government to file
                       its papers on venue on or before 9/10/99 (Branciforte, Ralph) (Entered:
                       09/07/1999)
 09/01/1999            ENDORSED ORDER as to Michael J. Vondette granting [95-1] motion for
                       the government to file its papers on venue on or before 9/10/99 as to Michael




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                       J. Vondette (1) ( Signed by Judge Thomas C. Platt , on 9/1/99) EOD# 95 CM
                       (Branciforte, Ralph) (Entered: 09/07/1999)
 09/01/1999       96   Letter MOTION by Michael J. Vondette to adjourn this case from 9/3/99 to
                       9/17/99 @ 9:30 AM (Branciforte, Ralph) (Entered: 09/07/1999)
 09/01/1999            ENDORSED ORDER as to Michael J. Vondette granting [96-1] motion to
                       adjourn this case from 9/3/99 to 9/17/99 @ 9:30 as to Michael J. Vondette (1)
                       ( Signed by Judge Thomas C. Platt , on 9/1/99) EOD# 96 CM (Branciforte,
                       Ralph) (Entered: 09/07/1999)
 09/03/1999       94   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 9/3/99 @ 9:30 AM for Criminal Cause For
                       Conference. Only AUSA Stephen King in place of Burton Ryan. Court
                       Reporter/ESR Jennifer Maue. Case adjourned to 9/17/99--Defense counsel in
                       trial. (Branciforte, Ralph) (Entered: 09/07/1999)
 09/07/1999       97   LETTER dated 9/7/99 from AUSA Burton Ryan to USDJ Platt RE: The
                       government submits this letter in response to the Court's inquiry regarding the
                       issue of venue in this case. Government submits that venue is appropriate in
                       the EDNY. (affidavit of Edwin Holmes annexed) (Branciforte, Ralph)
                       Modified on 09/23/1999 (Entered: 09/14/1999)
 09/15/1999       98   ORDER as to Michael J. Vondette vacating the [92-1] 8/1/99 Supplemental
                       Restraining Order. ( Signed by Judge Thomas C. Platt , on 9/15/99)
                       (Branciforte, Ralph) (Entered: 09/17/1999)
 09/15/1999       99   CORRECTED SUPPLEMENTAL RESTRAINING ORDER as to Michael J.
                       Vondette. The Restraining order issued by this Court on 12/11/97, is hereby
                       supplemented and amended in only one respect, to wit: the ex parte
                       Restraining order of 12/11/97, is vacated solely as to the real property located
                       as 2078 11th Lane, Lake Erwin, CA 92314, and as to no other asset or
                       property named therein. The Restraining Order issued by this Court on
                       12/11/97, shall remain in effect as to all other assets and real property
                       described therein. Plaintiff USA is directed to serve a copy of this Corrected
                       Supplemental Restraining Order upon all parties known to have an
                       ownership, possessory, or other interest in the real property located at 2078
                       11th Lane, Lake Erwin, CA 92314. Plaintiff USA shall forthwith release and
                       Notice of Pendency filed in this action as to the real property located as 2078
                       11th Lane, Lake Erwin, CA 92314. ( Signed by Judge Thomas C. Platt , on
                       9/15/99) (Branciforte, Ralph) (Entered: 09/17/1999)
 09/15/1999      103   LETTER dated 9/14/99 from AUSA Tracey Salmon Smith to USDJ Platt RE:
                       Requesting the signature on these proposed orders with respect to the
                       Forfeiture aspect of this case: (1) the Supplemental Restraining Order issued
                       on 8/1/99 be vacated; (2) a Corrected Supplemental Restraining Order be
                       issued. (Branciforte, Ralph) (Entered: 09/23/1999)
 09/16/1999      100   LETTER dated 8/26/99 from Robert Kalina to USDJ Platt RE: Requesting
                       that the 9/17/99 conference as to the government's affidavits relating to
                       Defendant's motions to dismiss be adjourned to 10/8/99. (Branciforte, Ralph)
                       (Entered: 09/17/1999)




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 09/16/1999      102   LETTER dated 8/26/99 from Robert Kalina to USDJ Platt RE: Requesting
                       that the 9/17/99 conference as to the government's affidavits relating to
                       Defendant's motions to dismiss be adjourned to 10/8/99. (Branciforte, Ralph)
                       (Entered: 09/23/1999)
 09/17/1999      101   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 9/17/99 @ 9:30 AM for Criminal Cause For
                       Conference (Defendant's motions). Only AUSA Edgardo Ramos present in
                       place of Burton Ryan. Court Reporter/ESR Joe Barbella. Motion set for
                       10/8/99 @ 11:00 AM. (Branciforte, Ralph) (Entered: 09/17/1999)
 10/05/1999      104   AFFIRMATION IN RESPONSE TO GOVERNMENT'S SUBMISSION ON
                       THE ISSUE OF VENUE AND INCORPORATED MEMORANDUM OF
                       LAW AND EXHIBITS by Michael J. Vondette Re: [75-1] motion to dismiss
                       (a) Count 1 of the Superseding Indictment; (b) Count 2 of the Superseding
                       Indictment; (c) the turn over of the transcripts of all grand jury proceedings
                       pertaining to the Original and Superseding Indictments herein; and (d)
                       dismissal of the Initial and Superseding Indictments, with prejudice (O'Hara,
                       Karen) (Entered: 10/08/1999)
 10/08/1999            Status conference as to Michael J. Vondette held (O'Hara, Karen) (Entered:
                       10/12/1999)
 10/08/1999      105   CALENDAR ENTRY as to Michael J. Vondette present with retained
                       counsel Robert Kalina; Case called before Judge Thomas C. Platt on date of
                       10/8/99 for Criminal conference (deft's motion to dismiss the indictment or to
                       preclude testimony) Case called. Counsel for both sides and defendant
                       present. Motion hearing adjourned to 11/5/99 at 2:00 pm. Court Reporter Ron
                       Tolkin (O'Hara, Karen) (Entered: 10/12/1999)
 10/18/1999      106   AFFIRMATION by Robert Kalina as to Michael J. Vondette Re:in response
                       to Government's submission on the issue of venue and incorporated
                       memorandum of law and exhibits [75-1] motion to dismiss (O'Hara, Karen)
                       (Entered: 10/19/1999)
 10/20/1999      107   LETTER dated 10/15/99 from Burton Ryan to Judge Platt RE: In response to
                       the defendant's request that a pre-trial hearing be held to challenge the
                       credibility of government witnesses concerning whether venue to try the
                       defendant exists in the Eastern District of NY. (O'Hara, Karen) (Entered:
                       10/20/1999)
 10/20/1999      108   LETTER dated 10/19/99 from Burton Ryan to Judge Platt re: The
                       government respectfully submits this addendum to our letter of 10/15/99 in
                       response to the defendant's request to dismiss the indictment. (O'Hara, Karen)
                       (Entered: 10/22/1999)
 10/21/1999      109   MOTION by Michael J. Vondette for Disclosure of Grand Jury Transcripts
                       (O'Hara, Karen) (Entered: 11/08/1999)
 10/21/1999      110   MOTION by Michael J. Vondette to compel disclosure of the Grand Jury
                       Concurrence forms (O'Hara, Karen) (Entered: 11/08/1999)
 10/21/1999      111   MOTION by Michael J. Vondette to compel production of the minutes of the




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                       grand jury proceedings, transcripts of evidence adduced before the grand jury,
                       and copies of any exhibits and/or evidentiary items (O'Hara, Karen) (Entered:
                       11/08/1999)
 10/21/1999      112   MOTION by Michael J. Vondette to compel the Government to affirm or
                       deny the use of summaries of testimony or documents before the Grand Jury
                       (O'Hara, Karen) (Entered: 11/08/1999)
 10/21/1999      113   MOTION by Michael J. Vondette to compel disclosure of unauthorized
                       persons appearing before the Grand Jury (O'Hara, Karen) (Entered:
                       11/08/1999)
 10/21/1999      114   MOTION by Michael J. Vondette for Disclosure of Grand Juror's Attendance
                       Records and Record of Grand Jury Concurrence vote on the Indictments
                       (O'Hara, Karen) (Entered: 11/08/1999)
 10/21/1999      115   MOTION by Michael J. Vondette for pre-trial hearing on the admissibility of
                       co-conspirator's statements (O'Hara, Karen) (Entered: 11/08/1999)
 10/21/1999      116   MOTION by Michael J. Vondette for pre-trial evidentiary hearing to
                       determine existence of conspiracy (O'Hara, Karen) (Entered: 11/08/1999)
 10/27/1999      117   LETTER dated 10/26/99 from Robert Kalina to Clerk Enclosed please find
                       Defendant Vondette's motions. Mr. Vondette forwarded these motions on a
                       pro-forma basis. I have read these motions and believe all are meritorious.
                       Accordingly, adopting Mr. Vondette's submissions, I am filing these motions
                       with my notice of motion and my affirmation so that the issues raised therein
                       will be fully and fairly litigated before this Court. (O'Hara, Karen) (Entered:
                       11/09/1999)
 10/27/1999      118   MOTION by Michael J. Vondette for a pre-trial evidentiary hearing to
                       determine the existence of a conspiracy (O'Hara, Karen) (Entered:
                       11/09/1999)
 10/27/1999      119   AFFIDAVIT of Robert Kalina as to Michael J. Vondette Re: [118-1] motion
                       for a pre-trial evidentiary hearing to determine the existence of a conspiracy
                       (O'Hara, Karen) (Entered: 11/09/1999)
 10/27/1999      120   MOTION by Michael J. Vondette to dismiss the entire indictment for
                       vindictive prosecution or in the alternative order an evidentiary hearing
                       (O'Hara, Karen) (Entered: 11/09/1999)
 10/27/1999      121   MEMORANDUM by Michael J. Vondette in support of [120-1] motion to
                       dismiss the entire indictment for vindictive prosecution or in the alternative
                       order an evidentiary hearing (O'Hara, Karen) (Entered: 11/09/1999)
 11/04/1999      122   LETTER dated 11/3/99 from Robert Kalina to Clerk Re: Please find original
                       letter response, annexed exhibits and certification of service of the defendant
                       in the above captioned case for immediate submission to the Honorable
                       Thomas Platt. (O'Hara, Karen) (Entered: 11/09/1999)
 11/04/1999      123   LETTER dated 11/3/99 from Robert Kalina to Judge Platt re: The parties will
                       appear before you at 2:00 pm this Friday 11/5/99 for oral argument on the
                       defendant's motions. I wish to set the reocrd straight on certain issues raised




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                       by the Government at our last appearance before you on 10/8/99. (O'Hara,
                       Karen) (Entered: 11/09/1999)
 11/05/1999            Status conference as to Michael J. Vondette held (O'Hara, Karen) (Entered:
                       12/03/1999)
 11/05/1999      126   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 11/5/99 for Criminal cause for conference
                       (defendant's motion to dismiss the superseding indictment or alternatively to
                       preclude the testimony of cooperating witnesses, for discovery) Defendant
                       and retianed counsel Robert Kalina present. AUSA Burton Ryan present.
                       Court Reporter/ESR Paul Case adjourned to 12/3/99 at 9:30 a.m. Lombardi
                       (O'Hara, Karen) (Entered: 12/03/1999)
 11/19/1999      124   MEMORANDUM by USA as to Michael J. Vondette in opposition to the
                       defendant's pro se motions [75-1] motion to dismiss (a) Count 1 of the
                       Superseding Indictment; (b) Count 2 of the Superseding Indictment; (c) the
                       turn over of the transcripts of all grand jury proceedings pertaining to the
                       Original and Superseding Indictments herein; and (d) dismissal of the Initial
                       and Superseding Indictments, with prejudice, [73-1] motion to strike certain
                       portions of the Indictment referring to the Defendant as "Glenn Titus," "M.J.
                       Vondette," "Mike," "Big Guy," "Guy" and "Steve," as surplusage, [71-1]
                       motion for a Hearing on audibilty ofthe tape recordings, [71-2] motion
                       suppression of the tape recordings, [69-1] motion for a Bill of Particulars,
                       [67-1] motion for additional discovery and Brady material, [65-1] motion for
                       reconsideration of the defendant's motion to dismiss the Indictment or
                       preclude testimony pursuant to US v. Singleton (O'Hara, Karen) (Entered:
                       11/29/1999)
 11/22/1999      125   LETTER dated 11/19/99 from Burton Ryan to Judge Platt re: in response to
                       the defendant's pro se applications under the Freedom of Information Act to
                       the Executive office of the US Department of Justice seeking any and all
                       documents mentioning him. (O'Hara, Karen) (Entered: 12/02/1999)
 12/03/1999            Status conference as to Michael J. Vondette held (O'Hara, Karen) (Entered:
                       12/16/1999)
 12/03/1999      128   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 12/3/99 for Criminal cause for conference (dft's
                       motion to dismiss the superseding indictment or alternately to preclude the
                       testimony of cooperating witnesses, for discovery) Only AUSA Burton Ryan
                       present. Court Reporter/ESR Jennifer Maue, Set status conference for 11:00
                       12/17/99 for Michael J. Vondette before Judge Thomas C. Platt (O'Hara,
                       Karen) (Entered: 12/16/1999)
 12/10/1999      127   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 10/8/99;
                       Court Reporter/ESR: Ronald Tolkin (O'Hara, Karen) (Entered: 12/10/1999)
 12/17/1999            Status conference as to Michael J. Vondette held (O'Hara, Karen) (Entered:
                       12/20/1999)
 12/17/1999      129   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 12/17/99 for Criminal Conference (Defendant's




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                       motion to dismiss the superseding indictment of alternatively to preclude the
                       testimony of cooperating witnesses, for disc. etc.) Case called. Defendant
                       present with retained counsel Robert Kalina. AUSA: Burton Ryan. Court
                       Reporter/ESR Paul Lombardi. Case previously deemed complex. Waivers
                       previously signed and on file. Defendants reply papers are due on 12/31/99.
                       Motion hearing set for 1/2/00 at 2:00 pm (O'Hara, Karen) (Entered:
                       12/20/1999)
 12/20/1999      131   NOTICE OF APPEAL of Conditions of Release by Michael J. Vondette as to
                       Michael J. Vondette. Notice of Appeal, certified copy of the document being
                       appealed and a certified copy of the docket sheet sent to the USCA appealing
                       the [50-1] Calendar Entry. (Defendant filed a Motion Information Form and
                       Appellant's Brief with the USDC. These papers should have been filed
                       directly with the USCA and therefore have been forarded to the USCA with
                       the enclose NOA).Service made by Clerk. No fee paid. (Coleman, Laurie)
                       Modified on 12/22/1999 (Entered: 12/22/1999)
 12/22/1999      130   LETTER dated 12/16/99 from Michael Vondette, pro se to Clerk of the Court
                       re: papers filed including, NOA, Motion for information (filed as part of the
                       NOA), Appeal Brief for Defendant (should have been filed with the USCA,
                       forwarded it to them with the NOA), Order denying defendant's motion in the
                       USDC (copy was not included w/ paperwork from defendant), Certificate of
                       Service and this enclosed letter. (Coleman, Laurie) (Entered: 12/22/1999)
 12/22/1999            Certified copy of docket sheet sent to USCA re: [131-1] appeal. (Coleman,
                       Laurie) (Entered: 12/22/1999)
 12/22/1999            Certified and transmitted designation of the index to the record on appeal to
                       U.S. Court of Appeals: including original and three copies of the designation
                       of the index to the record on appeal, certified copy of the docket sheet and the
                       clerk's certificate re: Michael J. Vondette [131-1]. Acknowledgment
                       requested. (Coleman, Laurie) Modified on 01/03/2000 (Entered: 12/22/1999)
 01/04/2000      132   NOTICE OF INTERLOCUTORY APPEAL by Michael J. Vondette. He is
                       appealing from the indictment that is "jurisdictionally defective", as premised
                       on the U.S. Constitution's structural separation of powers and for omissions of
                       essential elements of the offenses charged, and thus is w/o standing and lacks
                       the necessary and required subject matter jurisdiction. Copy of the notice of
                       appeal and certified copy of the docket sheet sent to USCA appealing the
                       indictment. No fee paid. USCA notified. Service made by Clerk. Copy of
                       T1080 form filed with the NOA forwarded to the USCA. (Coleman, Laurie)
                       (Entered: 01/12/2000)
 01/06/2000            Written request by Eddie Andino, USCA for the USDC to transmit the
                       original record to them re: Michael J. Vondette [131-1] appeal by 1/14/00. At
                       the present time there are multiple pending motions and the file is required in
                       Chambers. As per the 1/6/00 phone conversation w/ E. Andino the original
                       record will be transmitted as soon as it is returned to the Clerk's Office.
                       Acknowledgment of request returned to USCA. (Coleman, Laurie) Modified
                       on 01/06/2000 (Entered: 01/06/2000)
 01/12/2000            Certified copy of docket sheet sent to USCA sent to USCA appealing




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                       indictment as to Michael Vondette. (Coleman, Laurie) (Entered: 01/12/2000)
 01/12/2000            Certified and transmitted designation of the index to the record on appeal to
                       U.S. Court of Appeals as to Michael J. Vondette: including original and three
                       copies of the designation of the index to the record on appeal, certified copy
                       of the docket sheet and the clerk's certificate forwarded. Acknowledgment
                       requested. (Coleman, Laurie) (Entered: 01/12/2000)
 01/12/2000      133   MOTION by Michael J. Vondette to proceed in forma pauperis (O'Hara,
                       Karen) (Entered: 01/13/2000)
 01/12/2000      134   AFFIDAVIT by Michael J. Vondette Re: [133-1] motion to proceed in forma
                       pauperis (O'Hara, Karen) (Entered: 01/13/2000)
 01/24/2000      135   Acknowledgment from USCA received as to the receipt of the designation of
                       the index to the record on appeal as to Michael J. Vondette. USCA#99/1776
                       (Jafer, Halide) (Entered: 01/24/2000)
 02/03/2000      136   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 1/21/00;
                       Court Reporter/ESR: Patricia Guarino - Tankoos Reporting Co. (O'Hara,
                       Karen) (Entered: 02/03/2000)
 02/14/2000      137   Faxed copy of LETTER dated 2/14/00 from Robert I. Kalina to Judge Platt
                       RE: I am seeking an adjournment of the conference currently scheduled for
                       2/25/00 @ 2:00 pm to 3/17/00 @ 2:00 pm. (fe) (Entered: 02/17/2000)
 02/14/2000      138   LETTER dated 2/9/00 from Michael Vondette to Judge Platt re: motion to
                       supress audio tapes filed on 11/1/99 which does not appear on my docket
                       sheet. (Coleman, Laurie) (Entered: 02/18/2000)
 02/14/2000      139   Letter MOTION by Michael J. Vondette to compel the Bureau of Prisons to
                       begin medical treatment for my liver infection Requesting that a forensic
                       psychologist evaluate the governments questionable cooperating witness.
                       (Coleman, Laurie) (Entered: 02/18/2000)
 02/14/2000      140   USCA Scheduling Order: as to Michael J. Vondette. Appeal record due by
                       3/29/00. USCA Number 99-1776. Appellant's brief due 3/29/00. Appellee's
                       brief due on or before 4/28/00, except that a response to a brief filed pursuant
                       to Anders v. California, shall be served and filed in lieu of a brief by not later
                       than 4/12/00. The argument may be heard no earlier than 6/12/00 except that
                       an appeal in which an Anders brief has been filed shall be ready to be heard
                       immediately following the receipt of the response of the appellee. (Coleman,
                       Laurie) (Entered: 02/23/2000)
 03/01/2000            Certified and transmitted designation of the index to the record on appeal to
                       U.S. Court of Appeals: original and three copies fo the designation of the
                       index to the record on appeal, certified copy of the docket sheet and the
                       clerk's certificate re: Michael J. Vondette [132-1] appeal Acknowledgment
                       requested. (Coleman, Laurie) (Entered: 03/01/2000)
 03/07/2000      152   Letter MOTION by Michael J. Vondette for an Order requiring a psychiatric
                       examination of the Government's principal witness Certificate of Service
                       annexed. Received from Chambers for docketing 6/1/00. (Coleman, Laurie)
                       (Entered: 06/01/2000)




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 03/14/2000      142   MEMORANDUM and ORDER as to Michael J. Vondette denying [65-1]
                       motion for reconsideration of the defendant's motion to dismiss the
                       Indictment or preclude testimony pursuant to US v. Singleton as to Michael J.
                       Vondette (1) and denying deft's motion with regard to venue. Thus, the only
                       outstanding motions are Vondette's in forma pauperis application and a
                       motion for an order requiring a psychiatric examination of the govt's principal
                       witness, both of which will be addressed at the 3/17/00 conference. (Signed
                       by Thomas C. Platt, on 3/14/00) c/m (Mahon, Cinthia) (Entered: 04/05/2000)
 03/15/2000      141   Acknowledgment from USCA received as to the designation of the index to
                       the record on appeal re: Michael J. Vondette USCA #99-1776 (Coleman,
                       Laurie) (Entered: 03/16/2000)
 03/16/2000      156   MOTION by Michael J. Vondette to dismiss count four of the indictment ;
                       Motion Hearing date of 2:00 5/22/00 for Michael J. Vondette [156-1] motion
                       (O'Hara, Karen) (Entered: 06/12/2000)
 03/16/2000      157   MEMORANDUM by Michael J. Vondette in support of [156-1] motion to
                       dismiss count four of the indictment (O'Hara, Karen) (Entered: 06/12/2000)
 03/24/2000      176   MOTION by Michael J. Vondette for leave to appeal from the judgment and
                       order issued 3/14/00 pursuant to 28:1292 and Rule 5 of the FRAP This
                       document is also entitled as a notice of appeal. (Mahon, Cinthia) (Entered:
                       06/21/2000)
 03/24/2000            NOTICE OF INTERLOCUTORY APPEAL by Michael J. Vondette re from
                       the [142-1] memorandum and order issued 3/14/00. Copy of notice of appeal,
                       certified copy of docket sheet and USCA cover memo forwarded to USCA.
                       Document #176 construed as notice of appeal. (Mahon, Cinthia) (Entered:
                       06/21/2000)
 03/24/2000      177   MOTION by Michael J. Vondette to proceed in forma pauperis for the
                       purpose of filing a notice of appeal (Mahon, Cinthia) (Entered: 06/21/2000)
 03/24/2000      178   PRISONER AUTHORIZATION filed by Michael J. Vondette (Mahon,
                       Cinthia) (Entered: 06/21/2000)
 03/27/2000      153   LETTER dated 3/20/00 from Michael Vondette to Judge Platt re: I have read
                       your 3/14/00 Memorandum and Order, and am compelled to answer
                       concerning some of the inadvertent errors within. See letter for further
                       information. Received from Chambers for docketing 6/1/00. (Coleman,
                       Laurie) (Entered: 06/01/2000)
 03/27/2000      179   MOTION by Michael J. Vondette for leave to appeal from the judgment and
                       order issued 3/14/00 pursuant to 28:1291, 28:1292 and Rule 5 of FRAP
                       Document also entitled as a notice of appeal. (Mahon, Cinthia) (Entered:
                       06/21/2000)
 03/27/2000            NOTICE OF INTERLOCUTORY APPEAL by Michael J. Vondette re from
                       the [142-1] judgment and order issued 3/14/00. Copy of notice of appeal,
                       certified copy of the order issued 3/14/00, certified copy of the docket sheet
                       and USCA cover memo forwarded to chambers. Copy of NOA forwarded to
                       chambers. (Mahon, Cinthia) (Entered: 06/21/2000)




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 04/03/2000      158   AFFIDAVIT of Robert Kalina for Michael J. Vondette as to Michael J.
                       Vondette's pro se [156-1] motion to dismiss count four of the indictment
                       (O'Hara, Karen) (Entered: 06/12/2000)
 04/03/2000      159   Notice of motion to dismiss count four of the indictment by Robert Kalina in
                       support of Michael J. Vondette's pro se motion to dismiss (O'Hara, Karen)
                       (Entered: 06/12/2000)
 04/03/2000      160   MOTION by Michael J. Vondette to compel production of all exculpatory
                       evidence ; Motion Hearing/Return date of 2:00 5/22/00 for Michael J.
                       Vondette [160-1] motion (O'Hara, Karen) (Entered: 06/12/2000)
 04/03/2000      161   MEMORANDUM by Michael J. Vondette in support of the [160-1] pro se
                       motion to compel production of all exculpatory evidence (O'Hara, Karen)
                       (Entered: 06/12/2000)
 04/03/2000      162   Notice of motion filed by Robert Kalina in support of Michael J. Vondette's
                       pro se motion for an order to expressly compel production of all exculpatory
                       evidence. (O'Hara, Karen) (Entered: 06/12/2000)
 04/03/2000      163   AFFIDAVIT by Robert Kalina as to Michael J. Vondette Re: in support of
                       and adopting the pro se [160-1] motion to compel production of all
                       exculpatory evidence (O'Hara, Karen) (Entered: 06/12/2000)
 04/03/2000      164   MOTION by Michael J. Vondette to dismiss count two of the indictment ;
                       Motion Hearing date of 2:00 5/22/00 for Michael J. Vondette pro se [164-1]
                       motion (O'Hara, Karen) (Entered: 06/12/2000)
 04/03/2000      165   MEMORANDUM by Michael J. Vondette in support of the pro se [164-1]
                       motion to dismiss count two of the indictment (O'Hara, Karen) (Entered:
                       06/12/2000)
 04/03/2000      166   Notice of motion by Robert Kalina as to Michael J. Vondette's pro se motion
                       for entry of an order dismissing count two of the indictment. (O'Hara, Karen)
                       (Entered: 06/12/2000)
 04/03/2000      167   AFFIDAVIT of Robert Kalina as to Michael J. Vondette Re: in support of
                       and incorporating the pro se [164-1] motion to dismiss count two of the
                       indictment (O'Hara, Karen) (Entered: 06/12/2000)
 04/03/2000      168   Notice of Motion by Robert Kalina as to Michael J. Vondette's pro se motion
                       for entry of an order requiring a psychiatric examination of the Government's
                       principal witnesses. (O'Hara, Karen) (Entered: 06/12/2000)
 04/03/2000      169   AFFIDAVIT by Robert Kalina as to Michael J. Vondette Re: in support of
                       and incoporating the pro se [152-1] motion for an Order requiring a
                       psychiatric examination of the Government's principal witness (O'Hara,
                       Karen) (Entered: 06/12/2000)
 04/03/2000      170   Notice of Motion and Affidavit by Robert Kalina as to Michael J. Vondette in
                       support of and incorporating Michael Vondette's pro se motion to suppress
                       evidence obtained by wiretap or electronic devices. (O'Hara, Karen) (Entered:
                       06/12/2000)




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 04/07/2000      143   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 4/7/00 at 11:00 a.m. for Criminal Conference.
                       Court Reporter/ESR J. Barbella. Only AUSA Burton Ryan present. R set
                       status conference for 11:00 5/19/00 for Michael J. Vondette before Judge
                       Thomas C. Platt (Coleman, Laurie) (Entered: 04/12/2000)
 04/27/2000      144   LETTER dated 4/24/00 from Michael Vondette to The Court re: Enclosed
                       please find the following: Notice of a Motion and Motion for Consideration
                       of the Defendant's Motion to Dismiss Count One of the Indictment;
                       Aiffirmation of Service; This Court Letterl (Coleman, Laurie) (Entered:
                       05/03/2000)
 04/27/2000      145   MOTION by Michael J. Vondette for reconsideration of the [142-1] Order
                       Denying the Defendant's Motion to Dismiss Count One of the Indictment No
                       Motion Hearing (Coleman, Laurie) (Entered: 05/03/2000)
 04/27/2000      146   MEMORANDUM OF LAW, Points and Authorities In Support of the [145-
                       1] Motion for reconsideration of the [142-1] Order Denying the Defendant's
                       Motion to Dismiss Count One of the Indictment (Coleman, Laurie) (Entered:
                       05/03/2000)
 04/28/2000      171   LETTER dated 4/27/00 from Burton Ryan to Judge Platt re: The government
                       submits this letter-brief in response in opposition to five additional pro se
                       pretrial motions filed by the defendant Michael Vondette and adopted by
                       current counsel. These motions should be denied. (O'Hara, Karen) (Entered:
                       06/12/2000)
 05/11/2000      148   TRANSCRIPT of Criminal Motions before Judge Platt filed in case as to
                       Michael J. Vondette for dates of 7/23/00; Court Reporter/ESR: Ronald Tolkin
                       (Coleman, Laurie) (Entered: 05/15/2000)
 05/15/2000      147   TRANSCRIPT of Criminal Motions before Judge Platt filed in case as to
                       Michael J. Vondette for dates of 7/23/00 at 11:00 a.m.; Court Reporter/ESR:
                       Ronald Tolkin, R & R Reporting Services (Coleman, Laurie) (Entered:
                       05/15/2000)
 05/15/2000      172   AFFIDAVIT by Michael J. Vondette Re: to clarify all of the following
                       pending motions. (O'Hara, Karen) (Entered: 06/12/2000)
 05/19/2000      149   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 5/19/00 at 2:00 p.m. for Criminal Conference
                       Court Reporter J. Barbella Conference held Deft. Michael Vondette present in
                       custody with retained counsel Robert Kalina Gov't: AUSA Burton Ryan
                       Motions argued by defendant Defense counsel moves to withdraw as counsel
                       set status conference for 2:00 5/22/00 for government argument before Judge
                       Thomas C. Platt (Coleman, Laurie) (Entered: 05/24/2000)
 05/19/2000      175   Court cases handed up to judge on the bench during motion argument by
                       Michael J. Vondette (O'Hara, Karen) (Entered: 06/15/2000)
 05/22/2000      150   Exhibit list by USA as to Michael J. Vondette (Coleman, Laurie) (Entered:
                       05/31/2000)
 05/22/2000            Motion hearing held as to Michael J. Vondette re: [145-1] motion for




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                       reconsideration of the [142-1] Order Denying the Defendant's Motion to
                       Dismiss Count One of the Indictment, [164-1] motion to dismiss count two of
                       the indictment, [160-1] motion to compel production of all exculpatory
                       evidence, [156-1] motion to dismiss count four of the indictment, [152-1]
                       motion for an Order requiring a psychiatric examination of the Government's
                       principal witness, [133-1] motion to proceed in forma pauperis, [120-1]
                       motion to dismiss the entire indictment for vindictive prosecution or in the
                       alternative order an evidentiary hearing, [118-1] motion for a pre-trial
                       evidentiary hearing to determine the existence of a conspiracy, [116-1]
                       motion for pre-trial evidentiary hearing to determine existence of conspiracy,
                       [115-1] motion for pre-trial hearing on the admissibility of co-conspirator's
                       statements, [114-1] motion for Disclosure of Grand Juror's Attendance
                       Records and Record of Grand Jury Concurrence vote on the Indictments,
                       [113-1] motion to compel disclosure of unauthorized persons appearing
                       before the Grand Jury, [112-1] motion to compel the Government to affirm or
                       deny the use of summaries of testimony or documents before the Grand Jury,
                       [111-1] motion to compel production of the minutes of the grand jury
                       proceedings, transcripts of evidence adduced before the grand jury, and
                       copies of any exhibits and/or evidentiary items, [110-1] motion to compel
                       disclosure of the Grand Jury Concurrence forms, [109-1] motion for
                       Disclosure of Grand Jury Transcripts, [96-1] motion to adjourn this case from
                       9/3/99 to 9/17/99 @ 9:30 AM, [95-1] motion for the government to file its
                       papers on venue on or before 9/10/99, [84-1] motion to extend time to file
                       reply papers and to reschedule argument, [75-1] motion to dismiss (a) Count
                       1 of the Superseding Indictment; (b) Count 2 of the Superseding Indictment;
                       (c) the turn over of the transcripts of all grand jury proceedings pertaining to
                       the Original and Superseding Indictments herein; and (d) dismissal of the
                       Initial and Superseding Indictments, with prejudice, [73-1] motion to strike
                       certain portions of the Indictment referring to the Defendant as "Glenn Titus,"
                       "M.J. Vondette," "Mike," "Big Guy," "Guy" and "Steve," as surplusage, [71-
                       1] motion for a Hearing on audibilty ofthe tape recordings, [71-2] motion
                       suppression of the tape recordings, [69-1] motion for a Bill of Particulars,
                       [67-1] motion for additional discovery and Brady material, [65-1] motion for
                       reconsideration of the defendant's motion to dismiss the Indictment or
                       preclude testimony pursuant to US v. Singleton, [58-1] motion for Bill of
                       Particulars, [56-1] motion for 404(b) material, [54-1] motion to dismiss Count
                       1 of the Superseding Indictment, [54-2] motion to dismiss Count 2 of the
                       Superseding Indictment, [54-3] motion to dismiss the entire Superseding
                       Indictment, [52-1] motion for discovery pursuant to law, [48-1] motion to
                       dismiss the Superseding Indictment, [22-1] motion for disclosure of
                       agreements between the Government and Government's witnesses, [20-1]
                       motion for discovery under FRCrimP 16, [17-1] motion to dismiss the
                       indictment, [17-2] motion to sever Count 4 of the Indictment and hold a
                       separate trial on it, [17-3] motion a bill of particulars, [17-4] motion an order
                       suppressing identification testimony, [17-5] motion an order prohibiting
                       evidence about Mr. Vondette's prior convictions, [17-6] motion an order
                       directing the government to provide pretrial notice all other crimes, wrongs or
                       acts evidence the government intends to offer at trial and granting Mr.
                       Vondette a pretrial hearing on the admissibility of such evidence, [17-7]
                       motion an order directing the government and its agents to preserve rough




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                       notes and any other documents memorializing statements previously made by
                       all prospective trial witnesses, [17-8] motion granting other such relief as law
                       and justice requires (O'Hara, Karen) (Entered: 06/12/2000)
 05/22/2000            Status conference as to Michael J. Vondette held (O'Hara, Karen) (Entered:
                       06/12/2000)
 05/22/2000      173   CALENDAR ENTRY as to Michael J. Vondette, present in custody with
                       retained counsel Robert Kalina; Case called before Judge Thomas C. Platt on
                       date of 5/22/00 for Criminal motion. AUSA: Burton Ryan. Court
                       Reporter/ESR J. Barbella. Government argument heard. Government moves
                       to severe counts 3 and 4 to try these counts separately. the Court denying
                       [145-1] motion for reconsideration of the [142-1] Order Denying the
                       Defendant's Motion to Dismiss Count One of the Indictment , denying [164-
                       1] motion to dismiss count two of the indictment , mooting [160-1] motion to
                       compel production of all exculpatory evidence, denying [156-1] motion to
                       dismiss count four of the indictment, denying [152-1] motion for an Order
                       requiring a psychiatric examination of the Government's principal witness ,
                       denying [133-1] motion to proceed in forma pauperis as , granting [110-1]
                       motion to compel disclosure of the Grand Jury Concurrence forms as to
                       granting [109-1] motion for Disclosure of Grand Jury Transcripts denying
                       [75-1] motion to dismiss (a) Count 1 of the Superseding Indictment; (b)
                       Count 2 of the Superseding Indictment; (c) the turn over of the transcripts of
                       all grand jury proceedings pertaining to the Original and Superseding
                       Indictments herein; and (d) dismissal of the Initial and Superseding
                       Indictments, with prejudice as to , denying [73-1] motion to strike certain
                       portions of the Indictment referring to the Defendant as "Glenn Titus," "M.J.
                       Vondette," "Mike," "Big Guy," "Guy" and "Steve," as surplusage as to
                       Michael J. Vondette (1), denying [71-2] motion suppression of the tape
                       recordings as to Michael J. Vondette (1), granting in part, denying in part [69-
                       1] motion for a Bill of Particulars as , denying [67-1] motion for additional
                       discovery and Brady material Set status conference for 9:30 5/24/00 for
                       Michael J. Vondette before Judge Thomas C. Platt . See calendar or the
                       transcript for a more detailed description of all the decisions of all motions
                       presented by defendant. (O'Hara, Karen) (Entered: 06/12/2000)
 05/26/2000      174   LETTER dated 5/25/00 from Patricia Grassick to Robert Kalina re: As per the
                       order of the Honorable Judge Platt please find copies of the toll records
                       relative to defendant. These copies have been Bates-stamped Numbers
                       000001-001982. (O'Hara, Karen) (Entered: 06/12/2000)
 05/31/2000      151   TRANSCRIPT of Conference filed before Judge Platt on 5/22/00 at 2:00 p.m.
                       as to Michael J. Vondette. Court Reporter: Joseph Barbella. (Coleman,
                       Laurie) (Entered: 05/31/2000)
 06/06/2000      154   LETTER dated 4/10/00 from Michael Vondette to Judge Platt re: The motion
                       by my counsel to withdraw from this case. (O'Hara, Karen) (Entered:
                       06/09/2000)
 06/08/2000            SEALED DOCUMENT (O'Hara, Karen) (Entered: 06/08/2000)
 06/09/2000            Status conference as to Michael J. Vondette resetting before Judge Thomas C.




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                       Platt (O'Hara, Karen) (Entered: 06/12/2000)
 06/09/2000      155   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 6/9/00 for Criminal conference. AUSA: Stephen
                       King. Court Reporter: P. Auerbach, Reset status conference for 9:30 6/23/00
                       for Michael J. Vondette before Judge Thomas C. Platt (O'Hara, Karen)
                       (Entered: 06/12/2000)
 06/19/2000      180   NOTICE OF INTERLOCUTORY APPEAL by Michael J. Vondette re: from
                       the judgment entered in this action on 5/19/00 (calendar entry) and 5/22/00
                       (calendar entry), wherein Judge Platt denied the deft's motion to dismiss due
                       to "collateral estoppel". Copy of notice of appeal, certified copy of calendars,
                       certified copy of docket sheet and USCA cover memo forwarded to USCA.
                       Copy of NOA forwarded to chambers. (Mahon, Cinthia) (Entered:
                       06/21/2000)
 06/23/2000      181   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 6/23/00 for Criminal conference. Court Reporter:
                       Ron Tolkin. Reset status conference for 9:30 6/30/00 for Michael J. Vondette
                       before Judge Thomas C. Platt (O'Hara, Karen) (Entered: 06/23/2000)
 06/23/2000      182   FINANCIAL RECEIPT for payment of the U.S. Court of Appeals docket fee
                       on 6/23/00 as evidenced by our receipt # 52191 in the amount of $105.00 by
                       Robert Kalina on behalf of Michael J. Vondette. Copy of receipt and certified
                       copy of docket sheet forwarded to USCA. (Mahon, Cinthia) (Entered:
                       06/27/2000)
 06/27/2000      216   AFFIRMATION & INCORPORATED MEMORANDUM OF LAW of
                       Robert Kalina on behalf of Michael J. Vondette in support of instant motion
                       to withdraw as counsel for deft Vondette. (fe) (Entered: 11/02/2000)
 06/27/2000      243   LETTER dated 6/23/00 from Robert I. Kalina to Clerk of the Court RE:
                       Enclosing a supplement to my motion to be relieved as counsel for deft
                       Vondette, together with an ethics opinion submission from Gerald Labush for
                       immediate submission to Judge Platt. (fe) (Entered: 01/08/2001)
 06/27/2000      253   LETTER dated 6/26/00 from Gerald M. Labush to Robert I. Kalina RE: Your
                       ability to zealously & competently represent Mr. Vondette has been fatally
                       compromised by his assertions, baseless though they may be. If you continue
                       as counsel you will undoubtedly find that you will be a witness in any
                       collateral proceeding arising from these matters. (fe) (Entered: 02/01/2001)
 06/30/2000            Status conference as to Michael J. Vondette held (O'Hara, Karen) (Entered:
                       07/07/2000)
 06/30/2000      183   CALENDAR ENTRY as to Michael J. Vondette present with counsel Robert
                       Kalina; Case called before Judge Thomas C. Platt on date of 6/30/00 for
                       Criminal conference. AUSA Burton Ryan. Court Reporter J. Barbella. Mr.
                       Kalina will remain as deft's counsel until new counsel is appointed. Set status
                       conference for 9:30 7/21/00 for Michael J. Vondette before Judge Thomas C.
                       Platt (O'Hara, Karen) (Entered: 07/07/2000)
 07/06/2000      184   MOTION by Michael J. Vondette to extend time to appeal the denial of dft's




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                       motion to dismiss the indictment. [176-1] (this document filed as "notice of
                       appeal and motion for extension of time") Forwarded to chambers with
                       docket sheet. (Valle, Christine) (Entered: 07/12/2000)
 07/20/2000      189   USCA Mandate on Interlocutory Appeal as to Michael J. Vondette re: the
                       movant having failed to submit a corrected petition for leave to appeal on or
                       before 4/14/00, that the defective petition for leave to appeal is stricken, and
                       the above captioned case is dismissed. Copy of mandate forwarded to
                       chambers. Ack mailed. (Mahon, Cinthia) (Entered: 07/24/2000)
 07/20/2000            Status conference as to Michael J. Vondette held (O'Hara, Karen) (Entered:
                       08/07/2000)
 07/20/2000      192   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 7/20/00 for Criminal conference. AUSA Burton
                       Ryan. Court Reporter: J. Barbella. Jeremy Kalina present in place of his
                       father. Attorney Joel Weiss present as per the request of the court. The court
                       appoints Mr. Weiss to be an advisor for Mr. Vondette. Mr Vondette's motions
                       wil be heard by the court. The govt. must respond to the motions by 7/27/00.
                       Trial date set for 10/2/00 at 9:30 a.m. (O'Hara, Karen) (Entered: 08/07/2000)
 07/21/2000      185   AFFIDAVIT by Michael J. Vondette in support of the defendant's contention
                       to retain his counsel of choice. (O'Hara, Karen) (Entered: 07/21/2000)
 07/21/2000      186   AFFIDAVIT by Michael J. Vondette in response to and requests and motions
                       pertaining to evidence, hearings, severance, priors and assistance of counsel.
                       (O'Hara, Karen) (Entered: 07/21/2000)
 07/21/2000      187   AFFIDAVIT by Michael J. Vondette in reply to court's assistance of counsel
                       position, and in support of and re-affirmation of defendant's requests and
                       motions pertaining to evidence, hearings, severance, priors, dismissals, et al.
                       (O'Hara, Karen) (Entered: 07/21/2000)
 07/21/2000      188   MOTION by Michael J. Vondette to dismiss both the origianl and
                       superseding indictment pursuant to the Speedy trial act, the fifth and sicth
                       amendments to the United States Constitution, the FRCrimP 48(b), 50(b) and
                       or 16(h) and the speedy trial plan governing the EDNY. Memorandum of law
                       annexed. (O'Hara, Karen) (Entered: 07/21/2000)
 07/28/2000      190   LETTER dated 7/27/00 from Burton Ryan to Judge Platt re: In opposition to
                       Michael Vondette's current pro se pretrial motion to dismiss the indictment
                       for lack of speedy trial. (O'Hara, Karen) (Entered: 08/01/2000)
 07/28/2000      191   Brief and appendix for the United States as to Michael J. Vondette USCA
                       #99-1776 (O'Hara, Karen) (Entered: 08/01/2000)
 08/07/2000      193   CJA 24 as to Michael J. Vondette Authorization to Pay J. Barbella $ 347.25
                       for Transcript Voucher # 000728000013 ( Signed by Judge Thomas C. Platt ,
                       dated 7/28/00) (O'Hara, Karen) (Entered: 08/07/2000)
 08/08/2000      194   AFFIDAVIT by Michael J. Vondette as to Michael J. Vondette Re: [188-1]
                       motion to dismiss both the origianl and superseding indictment pursuant to
                       the Speedy trial act, the fifth and sicth amendments to the United States
                       Constitution, the FRCrimP 48(b), 50(b) and or 16(h) and the speedy trial plan




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                       governing the EDNY. (O'Hara, Karen) (Entered: 08/08/2000)
 08/22/2000      195   USCA Mandate on Interlocutory Appeal (certified copy) as to Michael J.
                       Vondette re: [176-1] appeal. The defendant moves for leave to appeal an
                       order of the district court. This court does not have jurisdiction to hear this
                       appeal because the district court has not issued certification under 28:1292.
                       This motion is DENIED. Copy of Mandate forwarded to Chambers.
                       (Coleman, Laurie) (Entered: 08/25/2000)
 08/22/2000      196   USCA Mandate on Interlocutory Appeal (certified copy) as to Michael J.
                       Vondette re: [179-1] appeal. The defendant moves for leave to appeal an
                       order of the district court. This Court does not have jurisdiction to hear this
                       appeal because the district court has not issued certification under 28:1292.
                       This motion is DENIED. Copy of Mandate forwarded to Chambers for
                       review. (Coleman, Laurie) (Entered: 08/25/2000)
 08/22/2000            MANDATE OF USCA (certified copy) as to Michael J. Vondette Re: [180-1]
                       appeal. The defendant moves for leave to appeal an order of the district court.
                       This Court does not have jurisdiction to hear this appeal because the district
                       court has not issued certification under 28:1292. This motion is DENIED.
                       Copy of Mandate forwarded to Chambers for review. (Coleman, Laurie)
                       (Entered: 08/25/2000)
 08/22/2000      197   USCA Mandate on Interlocutory Appeal as to Michael J. Vondette re: [180-1]
                       appeal. The defendant moves for leave to appeal an order of the district court.
                       This court does not have jurisdiction to hear this appeal because the district
                       court has not issued certification under 28:1292. It is ordered that this motion
                       is denied. Copy of Mandate forwarded to Chambers for review. (Coleman,
                       Laurie) (Entered: 08/31/2000)
 09/08/2000      203   LETTER dated 8/28/00 from Michael Vondette to Judge Platt RE: This letter
                       is in reply in response to the govt's letter brief of 7/27/00, pertaining to the
                       defense motion at bar to dismiss the indictment(s) for violation of the Speedy
                       Trial Act & the 6th Amendment's guarantee of a Speedy Trial & requests this
                       court to notice & affirm other issues within the instant case. (fe) (Entered:
                       10/02/2000)
 09/08/2000      204   LETTER dated 8/28/00 from Michael Vondette to Burton Ryan RE:
                       Submitting the following thorough, yet not-exhastive list of what I claim &
                       assert is rule 16 discovery. This list is being provided to help the gov't to
                       finally fullfill its Brady & Rule 16 requirements, in the good faith effort to
                       resolve this ongoing violation. (fe) (Entered: 10/02/2000)
 09/13/2000      198   TRANSCRIPT OF CONFERENCE befored Judge Platt filed in case as to
                       Michael J. Vondette for dates of 7/20/00 @ 9:30 am; C/R: Joseph Barbella
                       (fe) (Entered: 09/13/2000)
 09/20/2000      199   MEMORANDUM & ORDER as to Michael J. Vondette denying [188-1]
                       motion to dismiss both the origianl and superseding indictment pursuant to
                       the Speedy trial act, the fifth and sixth amendments to the United States
                       Constitution, the FRCrimP 48(b), 50(b) and or 16(h) and the speedy trial plan
                       governing the EDNY. as to Michael J. Vondette (1). The Court has examined
                       deft's remaining arguments & found them without merit. (Signed by Judge




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                       Thomas C. Platt, on 9/20/00) c/m (fe) (Entered: 09/25/2000)
 09/20/2000      201   ORDER as to Michael J. Vondette - ORDERED that Joel Weiss be appointed
                       under the Criminal Justice Act to advise deft Vondette, pro-se deft, from the
                       date of this order. (Signed by Judge Thomas C. Platt, on 9/20/00) c/m (fe)
                       (Entered: 09/29/2000)
 09/21/2000      205   PETITION by Michael J. Vondette for Writ of Habeas Corpus ad in case (fe)
                       (Entered: 10/02/2000)
 09/21/2000      206   NOTICE OF INTERLOCUTORY APPEAL by Michael J. Vondette re: [5-1]
                       order. Copy of Notice of Appeal, certified copy of order appointing CJA
                       counsel and cetified copy of docket sheet forwarded to USCA. No fee paid.
                       IFP pending. (Coleman, Laurie) Modified on 10/02/2000 (Entered:
                       10/02/2000)
 09/21/2000      207   MOTION by Michael J. Vondette to proceed in forma pauperis (Coleman,
                       Laurie) (Entered: 10/02/2000)
 09/22/2000      202   CJA 20 as to Michael J. Vondette : Appointment of Attorney Joel R. Weiss
                       ( Signed by Judge Thomas C. Platt , Dated 9/22/00) (fe) (Entered:
                       09/29/2000)
 09/26/2000      200   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 9/26/00 @ 9:30 am for CR Cause for Conference.
                       Deft Vondette present in custody with retained counsel Joel Weiss. Gov't:
                       Burton Ryan. C/R: Joe Barbella. set status conference for 1:30 10/5/00 for
                       Michael J. Vondette before Judge Thomas C. Platt (fe) (Entered: 09/29/2000)
 10/05/2000            Status conference as to Michael J. Vondette held (fe) (Entered: 10/10/2000)
 10/05/2000      208   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 10/5/00 @ 1:30 pm for CR Cause for Status
                       Conference. Deft Vondette present in custody with CJA counsel Joel Weiss.
                       Gov't: Burton Ryan. C/R: Perry Auerbach. Conference held. set status
                       conference for 9:30 10/11/00 for Michael J. Vondette before Judge Thomas
                       C. Platt (fe) (Entered: 10/10/2000)
 10/05/2000            ENDORSED ORDER as to Michael J. Vondette granting [207-1] motion to
                       proceed in forma pauperis as to Michael J. Vondette (1) (Signed by Judge
                       Thomas C. Platt, on 10/5/00) c/m (fe) (Entered: 10/11/2000)
 10/11/2000      209   Certified and transmitted certified copy of the docket sheet and certified copy
                       of Order granting IFP to the U.S. Court of Appeals. Certified copy of order
                       appointing CJA counsel previously forwarded to the USCA with the [206-1]
                       appeal. (Coleman, Laurie) Modified on 10/11/2000 (Entered: 10/11/2000)
 10/11/2000            Status conference as to Michael J. Vondette held (fe) (Entered: 10/12/2000)
 10/11/2000      210   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 10/11/00 @ 9:30 am for CR Cause for Status
                       Conference. Deft Vondette present with CJA counsel Joel Weiss. Gov't:
                       Burton Ryan. C/R: Jennifer Maue. Conference held. set status conference for
                       9:30 10/26/00 Michael J. Vondette before Judge Thomas C. Platt (fe)




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                       (Entered: 10/12/2000)
 10/17/2000      212   AFFIDAVIT of Michael J. Vondette in support of deft's request for substitute
                       Judge to hear & rule on the pending habeas corpus petition. (fe) (Entered:
                       10/20/2000)
 10/18/2000      211   Motion to recall and amend mandates is hereby ordered that the motion be
                       and it hereby is denied. (certified copy) (Zinger, Denise) (Entered:
                       10/19/2000)
 10/18/2000      213   MEMORANDUM ORDER as to Michael J. Vondette, for appointment of
                       counsel, Ron Dwyer, under the Criminal Justice Act to provide "investigative
                       services" for the deft (Signed by Judge Thomas C. Platt, on 10/21/00) c/m (fe)
                       (Entered: 10/30/2000)
 10/19/2000            SEALED DOCUMENT as to Michael J. Vondette placed in vault. (fe)
                       (Entered: 10/20/2000)
 10/26/2000      214   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 10/26/00 @ 9:30 am for CR Cause for
                       Conference. Deft Vondette present in custody with CJA counsel Joel Weiss.
                       Gov't: Burton Ryan present. C/R: Mary Ann Steiger. Deft's motion discussed.
                       Superseding indictment to be filed. set status conference for 9:30 11/8/00 for
                       Michael J. Vondette before Judge Thomas C. Platt (fe) (Entered: 10/31/2000)
 10/26/2000            Status conference as to Michael J. Vondette held (fe) (Entered: 10/31/2000)
 10/26/2000      237   LETTER dated 10/23/00 from Michael Vondette to Lee H. Kramer RE: I am
                       submitting & serving this subpoena. (fe) (Entered: 12/14/2000)
 10/27/2000      215   Copy of LETTER dated 10/26/00 from Joel R. Weiss to Burton Ryan RE:
                       writing to advance & amplify one of the deft's specific discovery requests: the
                       expeditious disclosure of copies of all gov't tape recordings made in
                       connection with the investigation. (fe) (Entered: 11/01/2000)
 11/03/2000      219   LETTER dated 11/3/00 from Scott Spiegelman, Law Clerk to Mr. Tolkin RE:
                       I would like to request transcripts of conferences on 3/27/98 & 9/18/98 in this
                       action. (fe) (Entered: 11/16/2000)
 11/07/2000      217   TRANSCRIPT OF HEARING before Judge Platt filed in case as to Michael
                       J. Vondette for dates of 5/22/98 @ 11:00 am; C/R: Rita DeLosa (fe) (Entered:
                       11/14/2000)
 11/08/2000      227   PETITION FOR A WRIT OF MANDAMUS submitted by Michael
                       Vondette. (fe) (Entered: 11/30/2000)
 11/09/2000      218   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 11/9/00 for CR Cause for Conference. Deft
                       Vondette present in custody with CJA counsel Joel Weiss. Gov't: Burton
                       Ryan & Charles Kelly. C/R: Dominick Tursi. Superseding indictment habded
                       up from the grand jury. Deft's first appearance on superseding indictment.
                       Deft waives public reading & pleads not guilty. Not Guilty: Michael J.
                       Vondette (1) count(s) 4s, 3s, 2s, 1s set Jury trial for 1/2/01 for Michael J.
                       Vondette before Judge Thomas C. Platt Case previously deemed complex.




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                       The Court addressed the issue of deft's forthcoming motions. set status
                       conference for 1:30 12/1/00 for Michael J. Vondette before Judge Thomas C.
                       Platt Court decides that parties are to wait until the USCA decision on deft's
                       bail appeal before a bail application can be brought to this court again. Deft
                       remanded into custody. The Court signs order pertaining to deft's use of
                       library. (fe) (Entered: 11/15/2000)
 11/09/2000      231   SUPERSEDING INDICTMENT as to Michael J. Vondette (1) count(s) 1ss,
                       2ss (fe) (Entered: 12/01/2000)
 11/09/2000      232   INFORMATION to Establish Prior Conviction(s) as to Michael J. Vondette
                       (fe) (Entered: 12/01/2000)
 11/10/2000      295   ORDER as to Michael J. Vondette, it is hereby recommended that Mr. Dennis
                       W. Hasty, Warden at MDC, Brooklyn, NY afford the dft Michael Vondette
                       more access to the prison library up to 8 hours per day if possible from and
                       after the date of this recommendation . (Signed by Senior Judge Thomas C.
                       Platt, on 11/10/00) C/M (Rec'd in dktg 4/16/01) (Valle, Christine) (Entered:
                       04/25/2001)
 11/14/2000      228   Copy of LETTER dated 11/13/00 from Michael Vondette to Robert Kalina
                       RE: Writing to resolve the issue pertaining to my Emergency Expedited Bail
                       Appeal. I am requesting & instructing you to immediately contact the
                       appellate court & argue, & perform the services, as required by you. (fe)
                       (Entered: 11/30/2000)
 11/21/2000      220   Faxed copy of LETTER dated 10/10/00 from Burton Ryan to Judge Platt RE:
                       Submitting this letter in connection with pro se deft's notice of appeal &
                       attempting to appeal a decision of the court rendered 12/2/97. (fe) (Entered:
                       11/29/2000)
 11/21/2000      221   TRANSCRIPT OF PROCEEDINGS before Judge Platt filed in case as to
                       Michael J. Vondette for dates of 2/27/00 @ 9:30 am; C/R: Harry Rapaport
                       (fe) (Entered: 11/29/2000)
 11/21/2000      222   LETTER dated 10/16/00 from Michael Vondette to Judge Platt RE:
                       submitting this letter reply in response to the govt's 10/10/00 letter concerning
                       the deft's notice of appeal.Deft has expressly requested for this appeal to be
                       expedited to substantively advance the termination of this litigation. (fe)
                       (Entered: 11/29/2000)
 11/21/2000      223   LETTER dated 10/18/00 from Michael Vondette to Judge Platt RE: Pursuant
                       to conversations with Burton Ryan & the recommenation of this court
                       gleaned from the appearnaces of 10/11/00 & 10/5/00 & 9/26/00, deft submits
                       this letter-summary of issues, motions & legal questions currently at bar. (fe)
                       (Entered: 11/29/2000)
 11/21/2000      224   LETTER dated 10/30/00 from Michael Vondette to Judge Platt RE:
                       submitting this letter-reply in response to the govt's letter of 10/26/00, to
                       correct the many factual inaccuracies & clarify any potential
                       misunderstandings or misrepresentations the gov't may have submitted to this
                       court pertaining to the pending petition for a writ of habeas corpus. (fe)
                       (Entered: 11/29/2000)




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 11/21/2000      225   TRANSCRIPT of Status Conference before Judge Platt filed in case as to
                       Michael J. Vondette for dates of 3/27/98 @ 9:30 am; C/R: Ronald Tolkin (fe)
                       (Entered: 11/29/2000)
 11/21/2000      226   LETTER dated 10/26/00 from Burton Ryan to Judge Platt RE: submitting this
                       letter in opposition to the deft's current motions filed between September &
                       October 20, 2000. The gov't requests that these motions be denied. (fe)
                       (Entered: 11/29/2000)
 11/22/2000      238   MANDATE OF USCA dtd. 11/14/00 (certified copy) as to Michael J.
                       Vondette Re: [131-1] custodian appeal - request to reinstate, for
                       reconsideration is denied (Bollbach, Jean) (Entered: 12/15/2000)
 11/27/2000      233   MOTION by Michael J. Vondette to dismiss the instant superseding
                       indictment (fe) (Entered: 12/01/2000)
 11/29/2000            Certified and transmitted record on appeal to U.S. Court of Appeals as to
                       Michael J. Vondette: Original and three copies of the index, the original
                       record, certified copy of the docket sheet and the clerk's certificate forwarded.
                       Acknowledgment requested. (Zinger, Denise) (Entered: 11/29/2000)
 11/30/2000      229   TRANSCRIPT OF STAUS CONFERENCE before Judge Platt filed in case
                       as to Michael J. Vondette for dates of 3/27/98 @ 9:30 am; C/R: Ronald
                       Tolkin (fe) (Entered: 11/30/2000)
 11/30/2000      230   TRANSCRIPT OF STATUS CONFERENCE before Judge Platt filed in case
                       as to Michael J. Vondette for dates of 9/18/98 @ 9:30 am; C/R: Ronald
                       Tolkin (fe) (Entered: 11/30/2000)
 11/30/2000            Status conference as to Michael J. Vondette held (fe) (Entered: 12/04/2000)
 11/30/2000      234   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 11/30/00 @ 11:30 am for CR Cause for Status
                       Conference. Deft Vondette present in custody with counsel Joel Weiss. Gov't:
                       Burton Ryan present. C/R: Perry Auerbach. Parties re-address the status of
                       deft's CJA counsel. Court addresses the deft's newly filed motion. Gov't
                       advises the court of an additional deft motion which has not yet been filed.
                       Court informs deft of the effect on his speedy trial rights with the addition of
                       2 new motions. Deft advises the court that he is working on more motions re:
                       the superseding indictment & doesn't feel the set trial date of 1/2/01 is
                       realistic. Court orders te gov't to respond to the Bill of Particulars by
                       12/15/00. set status conference for 9:30 12/22/00 for Michael J. Vondette
                       before Judge Thomas C. Platt set jury selection for 9:30 3/12/01 for Michael
                       J. Vondette before Judge Thomas C. Platt set Jury trial for 9:30 3/12/01 for
                       Michael J. Vondette before Judge Thomas C. Platt (fe) (Entered: 12/04/2000)
 11/30/2000      235   TRANSCRIPT OF STATUS CONFERENCE before Judge Platt filed in case
                       as to Michael J. Vondette for dates of 9/18/98 @ 9:30 am; C/R: Ronald
                       Tolkin (fe) (Entered: 12/04/2000)
 11/30/2000      236   TRANSCRIPT OF STATUS CONFERENCE before Judge Platt filed in case
                       as to Michael J. Vondette for dates of 3/27/98 @ 9:30 am; C/R: Ronald
                       Tolkin (fe) (Entered: 12/04/2000)




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 11/30/2000      246   MEMORANDUM & ORDER as to Michael J. Vondette denying [205-1]
                       petition as to Michael J. Vondette (1). Vondette's request for "substitute judge
                       to hear & rule on the pending Habeas Corpus Petition" is denied. The Habeas
                       Corpus Petition itself is similarly denied. The Court has examined Vondette's
                       remaining arguments as to this petition & found them without merit. (Signed
                       by Judge Thomas C. Platt, on 11/30/00) c/m (fe) (Entered: 01/11/2001)
 12/01/2000      240   LETTER dated 11/24/00 from Michael Vondette to Judge Platt RE:
                       submitting this letter motion pursuant to the govt's recently filed superseding
                       indictment of 11/9/00. The deft will submit some applicable motions;
                       resubmit, reallege, & reaffirm others, & also reconfirm some pending &
                       outstanding issues. (fe) (Entered: 12/27/2000)
 12/04/2000      245   RESPONSE by USA as to Michael J. Vondette re deft's motions &
                       preliminary bill of particulars (fe) (Entered: 01/10/2001)
 12/12/2000      248   no document #248 (Romano, Dan) Modified on 01/17/2001 (Entered:
                       01/16/2001)
 12/12/2000      250   NOTICE OF APPEAL by Michael Vondette appealing order filed 11/30/00
                       denying petition for Habeas Corpus and request for substitution of judge.
                       Notice of Appeal, balance of Record on Appeal, original and three copies of
                       the index, certified copy of docket sheet and clerk's certificate forwarded to
                       USCA. Acknowledgment requested. Copy of Notice of Appeal forwarded to
                       chambers and to AUSA Burton Ryan, Jr. (Romano, Dan) Modified on
                       01/18/2001 (Entered: 01/16/2001)
 12/18/2000      239   Acknowledgment from USCA received re: receipt of index to record on
                       appeal by USCA on 12/04/00 (Romano, Dan) (Entered: 12/18/2000)
 12/22/2000            Status conference as to Michael J. Vondette held (fe) (Entered: 01/05/2001)
 12/22/2000      242   CALENDAR ENTRY as to Michael J. Vondette; Case called before Judge
                       Thomas C. Platt on date of 12/22/00 @ 9:30 for CR Cause for Status
                       Conference. Deft Vondette present in custody with retained counsel Joel
                       Weiss. Gov't: Burton Ryan. C/R: Harry Rapaport. Parties address the motion
                       for deft to be returned to the MDC. The gov't asks for the case to be recalled
                       so he can confer with the USMS. Gov't has no objection to returning the deft
                       to the MDC, order signed to be filed. Deft's reply brief due in 3 weeks. set
                       status conference for 2:00 1/19/01 Michael J. Vondette before Judge Thomas
                       C. Platt (fe) (Entered: 01/05/2001)
 12/22/2000      244   ORDER as to Michael J. Vondette - ORDERED that Ron Dwyer be afforded
                       40 additional hours for his investigative services connected with the instant
                       case, from the date of this order. (Signed by Judge Thomas C. Platt, on
                       12/22/00) c/m (fe) (Entered: 01/09/2001)
 12/26/2000      241   LETTER dated 12/15/00 from Michael Vondette to Court Clerk RE:
                       Enclosing Nassau County letter motion; Nassau County Affirmation; order,
                       recommending for immediate transfer; certificate of service; this court clerk
                       cover letter. (fe) (Entered: 01/04/2001)
 01/11/2001            MANDATE OF USCA (certified copy) as to Michael J. Vondette Re: appeal




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                       dismissed sua sponte, for lack of appellate jurisdiction. Copy of mandate
                       forwarded to chambers. (Romano, Dan) (Entered: 01/11/2001)
 01/11/2001            MANDATE OF USCA (certified copy) as to Michael J. Vondette Re: [239-1]
                       acknowledge appeal (Romano, Dan) (Entered: 01/11/2001)
 01/11/2001      251   USCA Mandate on Interlocutory Appeal as to Michael J. Vondette re: [250-1]
                       appeal dismissed sua sponte as lacking appellate jurisdiction. (Romano, Dan)
                       (Entered: 01/23/2001)
 01/19/2001      252   CALENDAR ENTRY as to Michael J. Vondette ; before Judge Thomas C.
                       Platt on date of 1/19/01 Civil Cause for Status conference. All parties present.
                       The reply papers by deft. contain three new issues which will be addressed by
                       the Govt. by Friday. Set audibility hearing 1/31/01 @9:30 Court
                       Reporter/ESR Mary Ann Steiger (Mierzewski, Liz) (Entered: 01/23/2001)
 01/31/2001      254   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Judge
                       Thomas C. Platt on date of 1/31/01 @ 10:00 am for CR Cause for
                       Conference. Deft Vondette present in custody with CJA counsel Joel Weiss.
                       Gov't: Burton Ryan & AUSA Charles Kelly (forfeiture matter) present. C/R:
                       Ellen Combs. Audibility motion is DENIED after the court hears the tape. set
                       oral argument for 2:00 2/2/01 for Michael J. Vondette before Judge Thomas
                       C. Platt (fe) (Entered: 02/01/2001)
 01/31/2001      263   CJA 24 as to Michael J. Vondette Authorization to Pay Mary Ann Steiger
                       $38.50 for Transcript Voucher #010212000025. (Signed by Judge Thomas C.
                       Platt, dated 1/31/01) (fe) (Entered: 02/27/2001)
 01/31/2001      286   CJA 24 as to Michael J. Vondette Authorization to Pay Mary Ann Steiger $
                       38.50 for Transcript Voucher # 010212000025 (Signed by Senior Judge
                       Thomas C. Platt, dated 1/31/01) C/M (Valle, Christine) (Entered: 04/13/2001)
 02/01/2001      256   MOTION by Michael J. Vondette to be admitted to bail pending trial (fe)
                       (Entered: 02/05/2001)
 02/01/2001      257   MEMORANDUM by Michael J. Vondette in support of [256-1] motion to be
                       admitted to bail pending trial (fe) (Entered: 02/05/2001)
 02/02/2001      255   Acknowledgment from USCA received as to Michael J. Vondette RE: reciept
                       of certified copy of the docket entries, index and original record on appeal.
                       USCA # 00-3078. (Romano, Dan) Modified on 02/05/2001 (Entered:
                       02/05/2001)
 02/02/2001      258   LETTER dated 2/1/01 from Burton Ryan, Jr. to Michael Vondette & Joel
                       Weiss RE: Submitting this letter in connection with deft pro se Michael
                       Vondette's request to examine the results of fingerprint examinations
                       conducted by the DEA on packaging of 2 drug exhibits, supplied by Vondette
                       to 2 individuals in connection with the deft's efforts to recruit them into his
                       "off-load" crew. (fe) (Entered: 02/06/2001)
 02/02/2001      259   Copy of LETTER dated 2/1/01 from Burton Ryan, Jr. to Judge Platt RE:
                       Submitting this letter-brief in opposition to the deft Vondette's pro se motion,
                       dated 1/10/01, seeking 28 different remedies. (fe) (Entered: 02/06/2001)




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 02/02/2001      260   Letter/RESPONSE by USA as to Michael J. Vondette re [256-1] motion to be
                       admitted to bail pending trial. Based on all prior proceedings, the gov't
                       requests that all parties having been heard, the defts pro se bail motion be
                       DENIED. (fe) (Entered: 02/06/2001)
 02/06/2001      264   Copy of LETTER dated 1/30/01 from Michael Vondette to Robert Kalina RE:
                       this is a formal request to immdiately transmit forthwith a copy of my entire
                       case file & records, complete with any & all evidence, material, documents
                       referring &/or pertaining to my case. (fe) (Entered: 02/27/2001)
 02/12/2001      261   NOTICE OF APPEAL by Michael Vondette from a judgment entered on
                       February 2, 2001. NOTE: NO JUDGMENT HAS BEEN ENTERED ON
                       THIS DATE. No fee paid. Copy of notice forwarded to USCA, AUSA Burton
                       Ryan and chambers. (Romano, Dan) (Entered: 02/14/2001)
 02/14/2001      262   MANDATE OF USCA (certified copy) as to Michael J. Vondette Re: [261-1]
                       motion to proceed in forma pauperis is granted, writ of mandamus is denied
                       and assignment of counsel denied. Copy of mandate forwarded to chambers.
                       (Romano, Dan) Modified on 02/26/2001 (Entered: 02/26/2001)
 02/20/2001      265   by USCA Clerk,Galan, re Michael J. Vondette as to Vondette's appeal
                       submitted directly to USCA; appeal was previously filed with EDNY. No
                       action taken. (Romano, Dan) (Entered: 02/27/2001)
 02/26/2001      268   LETTER dated 2/26/01 from Burton Ryan to Joel Weiss RE: Given the
                       scheduled trial date of 3/12/01 & the govt's voluntary commitment to provide
                       you all required mateiral prior to that date enclosed are tape recordings
                       requested by Vondette. (fe) (Entered: 03/09/2001)
 03/05/2001      267   Copy of LETTER dated 3/5/01 from Burton Ryan to Joel Weiss RE:
                       Enclosing 3 binders of 3500 material in anticipation of the pre-trial hearings
                       & the trial scheduled to start this Thursday 3/8/01. In addition please find 2
                       cassette tapes of an undercover operation involving the international aspects
                       of this case, which is revealed today as a result of the filing of the 3500
                       material. (fe) (Entered: 03/09/2001)
 03/05/2001      272   ORDER TO SHOW CAUSE as to Michael J. Vondette - ORDERED that
                       Michael Vondette appear before Judge Platt on 3/8/01 @ 9:30 am to show
                       cause why an escorted & partially anonymous jury should not be empaneled
                       in this case. ORDERED that the gov't serve a copy of this order on deft
                       Vondette by delivering a copy to the deft & his attorney advisor on 3/5/01.
                       (Signed by Judge Denis Hurley, on: 3/5/01) c/m (fe) (Entered: 03/15/2001)
 03/05/2001      273   NOTICE of Motion for Order to Show Cause by USA as to Michael J.
                       Vondette (fe) (Entered: 03/15/2001)
 03/05/2001      274   DECLARATION of Edwin Holmes on behalf of USA as to Michael J.
                       Vondette in support of notice of motion for order to show cause. (fe)
                       (Entered: 03/15/2001)
 03/05/2001      278   LETTER dated 3/5/01 from Burton Ryan to Judge Platt re: Opposition to the
                       motion to dismiss the indictment on Speedy Trial grounds. (Mierzewski, Liz)
                       (Entered: 03/26/2001)




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 03/07/2001      266   Letter RESPONSE in opposition submitted by USA as to Michael J. Vondette
                       re [233-1] motion to dismiss the instant superseding indictment (fe) (Entered:
                       03/09/2001)
 03/08/2001      270   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 3/8/01 @ 10:30 am for CR Cause for Pre-
                       Trial Hearing. Deft Vondette present in custody with counsel Joel Weiss.
                       Gov't: Burton Ryan & Charles Kelly. C/R: Harry Rapaport. Deft asks the
                       court to adjourn the trial in order to review discovery & prepare better for
                       trial. Deft agrees to withdraw his speedy trial charge in the 2nd Circuit
                       complaint. The Court grants the application. reset jury selection for 4/1/01 for
                       Michael J. Vondette before Senior Judge Thomas C. Platt An identification
                       hearing is set for 4/17/01 after jury selection. Exhibits B, C, D received into
                       evidence, read into record, & turned over to the deft. Gov't expresses concern
                       over the welfare of certain gov't witnesses & their families. The court orders
                       the gov't to protect the witnesses & their families until their testimony is
                       needed. (fe) (Entered: 03/14/2001)
 03/09/2001      269   Record on Appeal as to Michael J. Vondette returned from U.S. Court of
                       Appeals: [250-1] appeal. (Romano, Dan) (Entered: 03/12/2001)
 03/14/2001      271   Deft's Exhibit A 91-1010 3/8/01: Letter from Michael J. Vondette dated
                       3/5/01 to Judge Platt requesting that the evidence & case filed of not only the
                       herein case, but also other "related cases" be disclosed to the deft. (fe)
                       (Entered: 03/15/2001)
 03/14/2001      275   MEMORANDUM OF LAW by USA as to Michael J. Vondette in support of
                       [273-1] notice of motion for order to show cause. (fe) (Entered: 03/15/2001)
 03/18/2001      281   LETTER dated 3/18/01 from Michael Vondette to Mr. Ryan re: enclosed
                       status letter to resolve the outstanding lack of discovery issues. (Mierzewski,
                       Liz) (Entered: 03/28/2001)
 03/23/2001      280   CJA 20 as to Michael J. Vondette : Appointment of Attorney Voucher #
                       010207000009 ( Signed by Senior Judge Thomas C. Platt , Dated 2/2/01)
                       (Mierzewski, Liz) (Entered: 03/26/2001)
 03/26/2001      276   ORDER TO SHOW CAUSE as to Michael J. Vondette: To be held on 3/8/01
                       why an escorted and partially anonymous jury should not be emp[aneld in
                       this action (Signed by Hon. J. Hurley on 3/5/01 (Barhome, Sydelle) (Entered:
                       03/26/2001)
 03/26/2001      277   MEMORANDUM by USA as to Michael J. Vondette in support of [276-1]
                       order (Barhome, Sydelle) (Entered: 03/26/2001)
 03/26/2001      279   USCA Order dtd 3/13/01 that the appeal is hereby affirmed. (Mierzewski,
                       Liz) (Entered: 03/26/2001)
 03/29/2001      282   MOTION by Michael J. Vondette to compel Robert I. Kalina, Esq. to
                       immediately transmit and turn-over the case file herein to the defendant , and
                       an indefinite staying of trial until thirty (30) days after receipt of the above
                       case file from Mr. Kalina (Coleman, Laurie) (Entered: 03/29/2001)
 03/30/2001      283   MEMORANDUM ORDER as to Michael J. Vondette; for the reasons stated




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                       in this Order, all of Vondette's motions are denied. By this Court's informal
                       count, they now total more than 80 motions, undoubtedly a record in a crimial
                       case. The Court has examined Vondette's remaining arguments to these
                       motions and found them to be without merit. Denying [282-1] motion to
                       compel Robert I. Kalina, Esq. to immediately transmit and turn-over the case
                       file herein to the defendant as to Michael J. Vondette (1), denying [282-2]
                       motion an indefinite staying of trial until thirty (30) days after receipt of the
                       above case file from Mr. Kalina as to Michael J. Vondette (1), denying [256-
                       1] motion to be admitted to bail pending trial as to Michael J. Vondette (1),
                       denying [233-1] motion to dismiss the instant superseding indictment as to
                       Michael J. Vondette (1), denying [184-1] motion to extend time to appeal the
                       denial of dft's motion to dismiss the indictment. as to Michael J. Vondette (1),
                       denying [177-1] motion to proceed in forma pauperis for the purpose of filing
                       a notice of appeal as to Michael J. Vondette (1), denying [139-1] motion to
                       compel the Bureau of Prisons to begin medical treatment for my liver
                       infection as to Michael J. Vondette (1), denying [24-1] motion to require the
                       prosecution to reveal any agreement, concession or grant immunity as to
                       Michael J. Vondette (1) ( Signed by Senior Judge Thomas C. Platt, on
                       3/30/01) c/m (Imrie, Robert) (Entered: 04/03/2001)
 04/02/2001      287   LETTER dated 3/23/01 from Michael Vondette to Judge Platt RE: In
                       response to the Govt's motion for an "escorted and anonymous jury" (Valle,
                       Christine) (Entered: 04/13/2001)
 04/03/2001      284   TRANSCRIPT of Status Conference before Judge Platt filed in case as to
                       Michael J. Vondette for date of 2/2/01 at 10:30AM; Court Reporter/ESR:
                       Ronald Tolkin (Valle, Christine) (Entered: 04/05/2001)
 04/04/2001      285   Record on Appeal (supplemental) as to Michael J. Vondette returned from
                       U.S. Court of Appeals: [261-1] appeal (Romano, Dan) (Entered: 04/11/2001)
 04/10/2001      289   LETTER dated 4/10/01 from Burton T. Ryan to Judge Platt RE: The govt
                       submits this letter in connection with the dft pro se Vondette's request for
                       additional discovery and his motion to compel additional discovery. (Valle,
                       Christine) (Entered: 04/17/2001)
 04/11/2001      288   Copy of LETTER dated 4/11/01 from Burton T. Ryan, Jr. to Judge Platt RE:
                       The govt opposes any further adjournment of the trial as no credible reason
                       exists to delay this trial. (Valle, Christine) (Entered: 04/16/2001)
 04/11/2001      290   LETTER dated 4/10/01 from Burton T. Ryan to Judge Platt RE: The govt
                       submits this letter in advance of trial to request an in limine ruling limiting
                       Vondette's arguments before the petit jury. (Valle, Christine) (Entered:
                       04/17/2001)
 04/11/2001      291   MEMORANDUM & ORDER as to Michael J. Vondette granting the Govt's
                       motion for an escorted and anonymous jury . The govt is directed to advise
                       the jury clerk to prepare the necessary designation of each of the jurors by
                       number and ensealment of all of their names and addresses until after the
                       completion of the trial. The jurors selected and sworn for duty will be under
                       the supervision and the escort of the U.S. Marshals from such point forward
                       until the conclusion of this service. (Signed by Senior Judge Thomas C. Platt ,




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                       on 4/11/01) C/M (Valle, Christine) (Entered: 04/17/2001)
 04/11/2001      292   MEMORANDUM & ORDER as to Michael J. Vondette submitting a letter
                       dated 4/6/01 which contained an additional three motions; Vondette's latest
                       three motions are denied . (Signed by Senior Judge Thomas C. Platt, on
                       4/11/01) C/M (Valle, Christine) (Entered: 04/17/2001)
 04/11/2001      296   LETTER REPLY dated 4/11/01 from Michael Vondette to Judge Platt RE: In
                       response to this Honorable Court's Memorandum and Order dated 3/30/01.
                       (Valle, Christine) (Entered: 04/25/2001)
 04/11/2001      297   MOTION by Michael J. Vondette to stay the proceedings until 6/15/01 or
                       later until such time as dft is afforded adequate, effective, and meaningful
                       means by which to defend himself , to compel the BOP to afford the dft
                       adequate "access to the Courts" to wit, access to the Law Library. (Valle,
                       Christine) (Entered: 04/25/2001)
 04/16/2001            SEALED DOCUMENT placed in vault. (Valle, Christine) (Entered:
                       04/16/2001)
 04/17/2001      293   LETTER dated 4/17/01 from Valerie S. Amsterdam to Judge Platt re
                       adjournment of the trial (Fagan, Linda) (Entered: 04/25/2001)
 04/17/2001      294   LETTER dated 4/17/01 from John H. Jacobs to Judge Platt re adjournment of
                       the trial (Fagan, Linda) (Entered: 04/25/2001)
 04/17/2001      298   Witness list by USA as to Michael J. Vondette (Valle, Christine) (Entered:
                       04/25/2001)
 04/17/2001            Voir dire begun as to Michael J. Vondette (1) count(s) 1ss, 2ss (Valle,
                       Christine) (Entered: 04/25/2001)
 04/17/2001            Jury selection as to Michael J. Vondette held (Valle, Christine) (Entered:
                       04/25/2001)
 04/17/2001            Jury impaneled as to Michael J. Vondette (Valle, Christine) (Entered:
                       04/25/2001)
 04/17/2001      299   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 4/17/01 at 9:30AM for CR Cause for Jury
                       Selection. Dft present in custody with counsel Joel Weiss Govt: Burton Ryan
                       and Charles Kelly. Court Reporter/ESR D. Tursi. Denying [297-1] motion to
                       stay the proceedings until 6/15/01 or later to afford dft meaningful means by
                       which to defend himself. The Court order the trial to start. Dft advises the
                       Court that he wishes to retain counsel. Counsel is contacted but unable to
                       come. Counsel is ordered to appear at 9:00AM on 4/18/01 and be prepared.
                       Voir dire held. Anonymous jury panel selected. Set Jury trial for 9:30 4/18/01
                       for Michael J. Vondette before Senior Judge Thomas C. Platt (Valle,
                       Christine) (Entered: 04/25/2001)
 04/17/2001      300   Proposed Voir Dire Questions by USA as to Michael J. Vondette (Valle,
                       Christine) (Entered: 04/25/2001)
 04/18/2001      301   Jury trial as to Michael J. Vondette held (Valle, Christine) (Entered:




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                       04/25/2001)
 04/18/2001      301   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 4/18/01 for CR Cause for Jury Trial. Dft
                       present in custody with counsel Joel Weiss. Govt: Burton Ryan and Charles
                       Kelly. Court Reporter/ESR H. Rapaport. Juror sworn. Opening statements
                       made by counsel. Reset Jury trial for 9:30 4/19/01 for Michael J. Vondette
                       before Senior Judge Thomas C. Platt (Valle, Christine) (Entered: 04/25/2001)
 04/18/2001      323   TRANSCRIPT filed in case as to Michael J. Vondette for date of 4/18/01 at
                       9:00 a.m. before Judge Platt and a jury; Court Reporter/ESR: Harry Rapaport,
                       C.S.R. (Fagan, Linda) (Entered: 05/09/2001)
 04/18/2001      324   ORDER as to Michael J. Vondette; that the original unredacted audio tape
                       (N-137) with the orginal machine which was used to record the tape be
                       transmitted forthwith to Tom Owen for a detailed analysis and determination
                       of the tapes legitimacy . ( Signed by Senior Judge Thomas C. Platt, on
                       4/18/01) c/m (Fagan, Linda) (Entered: 05/11/2001)
 04/19/2001      302   ORDER as to Michael J. Vondette, pursuant to CJA, a sample of ten alleged
                       pills called "mandrax" be transmitted to Thomas A. Kubic for a complete and
                       accurate chemical analysis of the alleged substance . (Signed by Senior Judge
                       Thomas C. Platt, on 4/19/01) C/M (Valle, Christine) (Entered: 04/25/2001)
 04/19/2001            Jury trial as to Michael J. Vondette held (Valle, Christine) (Entered:
                       04/25/2001)
 04/19/2001      303   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 4/19/01 at 9:45AM for CR Cause on Jury
                       Trial. Dft present in custody with counsel Joel Weiss. Govt: Burton Ryan and
                       Charles Kelly. Court Reporter/ESR H. Rapaport. Identification hearing held.
                       Hearing to resume on 4/20/01 at 2:00PM. Reset Jury trial for 9:30 4/23/01 for
                       Michael Vondette before Senior Judge Thomas C. Platt (Valle, Christine)
                       (Entered: 04/25/2001)
 04/20/2001      304   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 4/20/01 at 2:00PM for CR Cause for
                       Hearing. Govt: Burton Ryan and Charles Kelly. Dft present in custody with
                       Mr. Jacobs and Ms. Amsterdam. Mr. Jacobs informs the Court that his firm
                       will represent the dft and will be prepared to represent the dft on trial
                       Monday. The dft is withdrawing his pro se status. The govt asks that the dft's
                       CJA status be withdrawn due to the present circumstances. The Court agrees
                       with this request. Identification hearing is concluded. Trial to resume on
                       4/23/01 at 9:30AM. Court Reporter/ESR H. Rapaport (Valle, Christine)
                       (Entered: 04/25/2001)
 04/21/2001      312   LETTER dated 4/21/01 from Burton T. Ryan, Jr., Charles P. Kelly to Judge
                       Platt re: the admissibility of pretrial photographic identification where there is
                       a failure of a witness to make an in court identification (Fagan, Linda)
                       (Entered: 05/07/2001)
 04/22/2001      310   LETTER dated 4/23/01 from Valerie S. Amsterdam to Judge Platt RE: It is
                       respectfully requested that a mistrial be granted and that a new jury be




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                       empaneled. (Valle, Christine) (Entered: 05/03/2001)
 04/23/2001            Jury trial as to Michael J. Vondette held (Valle, Christine) (Entered:
                       04/25/2001)
 04/23/2001      305   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 4/23/01 at 9:30AM for CR Cause on Trial.
                       Dft present in custody with counsel John Jacobs and Valerie Amsterdam. Joel
                       Weiss present for transition period. Govt: Burton Ryan and Charles Kelly.
                       Court Reporter/ESR H. Rapaport. Dft files a letter application for a mistrial.
                       Application denied for reasons stated on the record. Discovery discussed and
                       exchanged. Reset Jury trial for 9:30 4/24/01 for Michael Vondette before
                       Senior Judge Thomas C. Platt (Valle, Christine) (Entered: 04/25/2001)
 04/24/2001            Jury trial as to Michael J. Vondette held (Valle, Christine) (Entered:
                       05/01/2001)
 04/24/2001      306   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 4/24/01 at 9:30AM for CR Cause on Trial.
                       Dft present in custody with retained counsel John Jacobs and Valerie
                       Amsterdam. Govt: Burton Ryan and Charles Kelly. Court Reporter/ESR H.
                       Rapaport. Reset jury trial for 9:30 on 4/25/01 for Michael Vondette before
                       Senior Judge Thomas C. Platt . (Valle, Christine) (Entered: 05/01/2001)
 04/24/2001      319   LETTER dated 4/24/01 from Burton T. Ryan, Jr., Charles P. Kelly to Judge
                       Platt re: deft Michael Vondette's motion for a mistrial (Fagan, Linda)
                       (Entered: 05/09/2001)
 04/25/2001            Jury trial as to Michael J. Vondette held (Valle, Christine) (Entered:
                       05/01/2001)
 04/25/2001      307   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 4/25/01 at 9:30AM for CR Cause on Jury
                       Trial. Dft present in custody with counsel John Jacobs and Valerie
                       Amsterdam. Govt: AUSA Burton Ryan and Charles Kelly. Court Reporter: H.
                       Rapaport. Reset jury trial for 9:30 on 4/26/01 for Michael Vondette before
                       Senior Judge Thomas C. Platt (Valle, Christine) (Entered: 05/01/2001)
 04/25/2001      308   LETTER dated 4/25/01 from Burton Ryan and Charles Kelly to Judge Platt
                       RE: The govt submits this letter in connection with the Court's instruction on
                       4/23/01 directing the govt to order the untranscribed plea or sentence minutes
                       of potential govt witnesses, who have pled to crimes in other Federal Districts
                       and to provide them to the dft. (Valle, Christine) (Entered: 05/01/2001)
 04/25/2001      320   LETTER dated 4/25/01 from Burton t. Ryan, Jr., Charles P. Kelly to Judge
                       Platt re untranscribed plea or sentence minutes of potential government
                       witnesses, who have pled to crimes in other Federal Districts (Fagan, Linda)
                       (Entered: 05/09/2001)
 04/26/2001            Jury trial as to Michael J. Vondette held (Valle, Christine) (Entered:
                       05/01/2001)
 04/26/2001      309   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 4/26/01 at 9:30AM for CR Cause on Jury




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                       Trial. Dft present in custody with counsel John Jacobs and Valerie
                       Amsterdam. Govt: Burton Ryan and Charles Kelly. Court Reporter: H.
                       Rapaport. Reset jury trial for 9:30 on 4/30/01 for Michael Vondette before
                       Senior Judge Thomas C. Platt . Request to charge due on 4/27/01. (Valle,
                       Christine) (Entered: 05/01/2001)
 04/26/2001      311   LETTER dated 4/26/01 from Burton T. Ryan to Judge Platt RE: This letter is
                       respectfully submitted by the govt in opposition to dft's motion to exclude
                       from evidence a tape recording and e-mails to be offered by the govt during
                       the testimony of Patrick Bowler. (Valle, Christine) (Entered: 05/03/2001)
 04/27/2001      321   LETTER dated 4/27/01 from Burton T. Ryan, Jr. to Judge Platt re: multiple
                       conspiracy charge (Fagan, Linda) (Entered: 05/09/2001)
 04/30/2001            Jury trial as to Michael J. Vondette held (Valle, Christine) (Entered:
                       05/07/2001)
 04/30/2001      314   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 4/30/01 at 9:30AM for CR Cause on Jury
                       Trial. Dft present in custody with retained counsel John Jacobs and Valerie
                       Amsterdam. Govt: Burton Ryan and Charles Kelly. Court Reporter/ESR H.
                       Rapaport. Reset jury trial for 9:30 on 5/1/01 for Michael J. Vondette before
                       Senior Judge Thomas C. Platt (Valle, Christine) (Entered: 05/07/2001)
 04/30/2001      339   CJA 24 as to Michael J. Vondette Authorization to Pay Harry Rapaport
                       $4,348.25 for Transcript Voucher # 010503000001. ( Signed by Senior Judge
                       Thomas C. Platt, dated 4/30/01) Copies distributed. (Fagan, Linda) (Entered:
                       05/17/2001)
 05/01/2001      313   LETTER dated 5/1/01 from Burton T. Ryan, Jr., Charles P. Kelly to Judge
                       Platt re: in response to the Court's direction to the government on Monday
                       afternoon, 4/30/01 to submit a letter detailing trial transcript references to the
                       acts in furtherance of the narcotics distribution conspiracy charged in the
                       Superseding Indictment and proven during the trial of this action; the Court's
                       direction to the government to identify witnesses' testimony regarding drug
                       deals, in whcih the deft Michael J. Vondette was not involved, but which
                       were admitted by the witnesses to establish their own background, expertise
                       and credibility and to provide further background on the narcotics trafficking
                       industry (Fagan, Linda) (Entered: 05/07/2001)
 05/01/2001            Jury trial as to Michael J. Vondette held (Valle, Christine) (Entered:
                       05/07/2001)
 05/01/2001      315   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 5/1/01 at 9:30AM for CR Cause on Jury
                       Trial. Dft present in custody with retained counsel John Jacobs and Valerie
                       Amsterdam. Govt: Burton Ryan and Charles Kelly. Court Reporter: H.
                       Rapaport. Dft makes application for a mistrial evidence not received in 3500
                       material. Application denied after hearing held. Govt rests. Dft rests. Rule 29
                       motions made. Summations, charge and deliberations to commence at 9:00 on
                       5/2/01; reset jury trial for 9:00 on 5/2/01 for Michael J. Vondette before
                       Senior Judge Thomas C. Platt (Valle, Christine) (Entered: 05/07/2001)




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 05/02/2001            Jury trial as to Michael J. Vondette held (Valle, Christine) (Entered:
                       05/07/2001)
 05/02/2001      316   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 5/2/01 at 9:00AM for CR Cause for
                       Summations and Charge. Dft present in custody with retained counsel John
                       Jacobs and Valerie Amsterdam. Govt: Burton Ryan and Charles Kelly. Court
                       Reporter: H. Rapaport. Summations by both sides heard. Jury charged. US
                       Marshal sworn. Jury deliberations held. No verdict reached. Deliberations to
                       continue on 5/3/01; reset jury trial for 9:15 on 5/3/01 for Michael J. Vondette
                       before Senior Judge Thomas C. Platt (Valle, Christine) (Entered: 05/07/2001)
 05/03/2001            Jury trial as to Michael J. Vondette held (Valle, Christine) (Entered:
                       05/08/2001)
 05/03/2001      317   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 5/3/01 at 9:15AM for CR Cause on Jury
                       Trial. Dft present in custody with retained counsel John Jacobs and Valerie
                       Amsterdam. Govt: Burton Ryan and Charles Kelly. Court Reporter/ESR H.
                       Rapaport. Jury deliberations continued. Court Exhibit #7 - Jury note stating
                       jury reached a decision on Count 2, are at an impass on Count 1. The govt
                       moves for a partial verdict. Dft moves for a mistrial on Count 1. The Court
                       orders the jury to deliberate further. Court Exhibit #8 - Jury note stating jury
                       deadlocked on both counts. The dft moves for a mistrial. The govt moves that
                       they should continue deliberating considering the length of the case. Court
                       Exhibit #9 - Jury note stating jury deadlocked. Govt requests that the jury
                       continues deliberations. Dft moves for mistrial. Court considers case law on
                       the subject. The Court instructs the jury on the issue of reaching a partial
                       verdict. Court Exhibit #10 - Jury note stating jury deadlocked. Dft moves for
                       a mistrial. Govt moves for Allen charge. The Court grants the mistrial.
                       Declaring Mistrial Michael J. Vondette (1) count(s) 1ss, 2ss . Set status
                       conference for 9:15 on 5/4/01 for Michael J. Vondette before Senior Judge
                       Thomas C. Platt . Jury is dismissed. (Valle, Christine) (Entered: 05/08/2001)
 05/04/2001            SEALED DOCUMENT placed in vault (Valle, Christine) (Entered:
                       05/04/2001)
 05/04/2001            Status conference as to Michael J. Vondette held (Valle, Christine) (Entered:
                       05/08/2001)
 05/04/2001      318   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 5/4/01 at 9:15AM for CR Cause for Status
                       Conference. Dft present in custody with retained counsel John Jacobs and
                       Valerie Amsterdam. Govt: Burton Ryan and Charles Kelly. Court
                       Reporter/ESR J. Barbella. The Court orders a new trial to commence on
                       5/21/01; set jury trial for 9:30 5/21/01 for Michael J. Vondette before Senior
                       Judge Thomas C. Platt . The parties indicate they are in plea negotiations. Set
                       status conference for 9:00 on 5/8/01 for Michael J. Vondette before Senior
                       Judge Thomas C. Platt to update the Court on the status of the plea
                       negotiations and whether dft's attorneys will continue their representation.
                       (Valle, Christine) (Entered: 05/08/2001)




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 05/04/2001      346   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 5/4/01;
                       Court Reporter/ESR: Joseph Barbella, C.S.R. (Fagan, Linda) (Entered:
                       05/23/2001)
 05/04/2001      347   Proposed Voir Dire Questions by Michael J. Vondette (Fagan, Linda)
                       (Entered: 05/23/2001)
 05/08/2001      322   LETTER dated 5/8/01 from Michael Vondette to Judge Platt re: counsel of
                       choice (Fagan, Linda) (Entered: 05/09/2001)
 05/08/2001            Status conference as to Michael J. Vondette held (Fagan, Linda) (Entered:
                       05/11/2001)
 05/08/2001      325   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 5/8/01 at 9:30 a.m. for criminal cause for
                       status conference. Court Reporter/ESR Joe Barbella. Deft present in custody
                       with counsel John Jacobs and Valerie Amsterdam. Govt: Burton Ryan and
                       Charles Kelly. Plea negotiations are fruitless. Set jury selection for 9:30 a.m.
                       5/21/01 for Michael J. Vondette before Senior Judge C. Platt . Counsel for
                       deft Amsterdam and Jacobs asks to be relieved from case and have CJA
                       Counsel appointed. The Court grants the request. (Fagan, Linda) (Entered:
                       05/11/2001)
 05/08/2001      326   Proposed Jury Instructions by USA as to Michael J. Vondette (for Criminal
                       Forfeiture and Special Verdict Form) (Fagan, Linda) Modified on 05/11/2001
                       (Entered: 05/11/2001)
 05/08/2001      327   Proposed Jury Instructions by USA as to Michael J. Vondette (General
                       Requests) (Fagan, Linda) (Entered: 05/11/2001)
 05/08/2001      328   Two Proposed Supplemental Jury Instructions as to Michael J. Vondette
                       (Fagan, Linda) (Entered: 05/11/2001)
 05/09/2001      340   ORDER as to Michael J. Vondette; for appointment of Howard L. Jacobs,
                       Esq. under the criminal justice act to advise Michael Vondette, pro-se deft.,
                       from the date of this order . ( Signed by Senior Judge Thomas C. Platt, on
                       5/9/01) c/m (Fagan, Linda) (Entered: 05/17/2001)
 05/14/2001      329   LETTER dated 4/26/01 from Valerie S. Amsterdam to Judge Platt re: defense
                       requests that certain charges be provided to the present jury.; request for a
                       unanimity instruction concerning the particular theories of liability
                       encompassed within each count of the indictment. (Fagan, Linda) (Entered:
                       05/14/2001)
 05/14/2001      330   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 4/17/01;
                       Court Reporter/ESR: Harry Rapaport, C.S.R. (Fagan, Linda) (Entered:
                       05/14/2001)
 05/14/2001      331   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 4/19/01;
                       Court Reporter/ESR: Harry Rapaport, C.S.C. (Fagan, Linda) (Entered:
                       05/14/2001)
 05/14/2001      332   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 4/20/01;
                       Court Reporter/ESR: Harry Rapaport, C.S.R. (Fagan, Linda) (Entered:




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                       05/14/2001)
 05/14/2001      333   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 4/23/01;
                       Court Reporter/ESR: Harry Rapaport, C.S.R. (Fagan, Linda) (Entered:
                       05/14/2001)
 05/14/2001      334   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 4/24/01;
                       Court Reporter/ESR: Harry Rapaport, C.S.R. (Fagan, Linda) (Entered:
                       05/14/2001)
 05/14/2001      335   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 4/25/01;
                       Court Reporter/ESR: Harry Rapaport, C.S.R. (Fagan, Linda) (Entered:
                       05/14/2001)
 05/14/2001      336   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 4/26/01;
                       Court Reporter/ESR: Harry Rapaport, C.S.R. (Fagan, Linda) (Entered:
                       05/14/2001)
 05/14/2001      337   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 5/1/01;
                       Court Reporter/ESR: Harry Rapapprt, C.S.R. (Fagan, Linda) (Entered:
                       05/14/2001)
 05/15/2001      338   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 5/15/01 at 10:00 a.m.; Criminal Cause For
                       Conference; appearances: for govt.: AUSA-Burton Ryan and Charles Kelly;
                       for deft.: Howard Jacobs; Ct. Reporter: P. Auerbach; Case called. Deft and
                       counsel for all sides present. The deft informs the Court that he does not want
                       Mr. Jacobs to defend him and that he will proceed pro se. The Court advises
                       the deft about the dangers of this action. Mr. Jacobs will be an advisor to deft.
                       Deft makes an applicaiton to have a hearing regarding forfeited property. The
                       Court hears from the Govt. on this issue and denies the hearing. Deft will
                       issue subpoenas for witnesses. The Govt. is to make these witnesses
                       available. Jury selection set for 5/21/01 at 9:30 a.m. (Fagan, Linda) (Entered:
                       05/17/2001)
 05/16/2001      341   ORDER as to Michael J. Vondette; that Gardner Investigative Services be
                       appointed to provide for investigative services and be allocated 50 hours to
                       begin with . ( Signed by Senior Judge Thomas C. Platt, on 5/16/01) c/m
                       (Fagan, Linda) (Entered: 05/17/2001)
 05/17/2001      344   AFFIDAVIT CONCERNING DEFENSE COUNSEL by Michael J. Vondette
                       re deft does not want, wish, or desire this Court to relieve Amsterdam and
                       Jacobs, as his counsel (Fagan, Linda) (Entered: 05/23/2001)
 05/17/2001      345   Proposed Voir Dire Questions by Michael J. Vondette (Fagan, Linda)
                       (Entered: 05/23/2001)
 05/18/2001      342   LETTER dated 5/18/01 from Burton T. Ryan, Jr., Charles P. Kelly to Judge
                       Platt re: in response to the Deft Michael Vondette's subpoenas for the
                       production of a series of individuals, six agents and one former confidential
                       informant, on the defense case in connection with his re-trial scheduled to
                       commence Monday, 5/21/01. (Fagan, Linda) (Entered: 05/23/2001)
 05/18/2001      351   LETTER dated 5/18/01 from Burton T. Ryan, Jr., Charles P. Kelly to Judge




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                       Platt re in response to the deft Michael Vondette's subpoenas for the
                       production of a series of individuals, six agents and one former confidential
                       informant, on the defense case in connection with his re-trial scheduled to
                       commence Monday, 5/21/01 (Fagan, Linda) (Entered: 05/23/2001)
 05/21/2001      348   MEMORANDUM AND ORDER as to Michael J. Vondette; By a hand
                       delivered letter dated 5/8/01, deft advised that he intended to move by an
                       affidavit for his retrial by his retained counsel in his first trial namely John
                       Jacobs, Esq. and Valerie Amsterdam, Esq. whom he characterized in his
                       affidavit received 5/17/01 as his "designated counsel of choice (who) have
                       been properly retained as such." The deft's motion is denied . ( Signed by
                       Senior Judge Thomas C. Platt, on 5/21/01) c/m (Fagan, Linda) (Entered:
                       05/23/2001)
 05/21/2001      349   ORDER as to Michael J. Vondette; The government shall take all necessary
                       steps to produce in person: Anthony J. Coulson, Christopher Schlicter, Benny
                       T. Mangor, Alan Santos J. Todd Scott Robert Kilman for depositions by the
                       deft at the Federal District Court in Central Islip, New York on Friday
                       5/25/01 or Tuesday, 5/29/01 at 9:30 a.m., as further set forth in this Order .
                       The deposition of Joel Weiss, Esq. shall also be taken on Friday, 5/25/01 or
                       Tuesday, 5/29/01, as further set forth in this Order . A United States
                       Magistate Judge shall be available to resolve any disputes arising out of the
                       conduct of the depositions. Witnesses expenses for the above witnesses, all
                       called by the deft, for examination may be submitted purs. to the Criminal
                       Justice Act. The DEA case file in connection with the prosecution of United
                       States v. Kulik, 97-Cr-110 (JSL)(SD) and the confidential informant file of
                       Robert Kilman shall be submitted for examination by the Court in camera .
                       ( Signed by Senior Judge Thomas C. Platt, on 5/21/01) c/m (Fagan, Linda)
                       (Entered: 05/23/2001)
 05/21/2001      350   Proposed Voir Dire Questions by USA as to Michael J. Vondette (Fagan,
                       Linda) (Entered: 05/23/2001)
 05/21/2001            Jury selection as to Michael J. Vondette held (Fagan, Linda) (Entered:
                       05/23/2001)
 05/21/2001      352   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 5/21/01 for jury selection and trial. Deft
                       Vondette (pro-se) present and in custody with CJA Advisor Howard Jacobs.
                       Govt.: AUSA Burton Ryan and Charles Kelly. Court Reporter/ESR P.
                       Auerbach. Deft's motion for adjournment and for appointment of "counsel of
                       choice denied, a written order is to be provided by this afternoon. Depositions
                       regarding deft's subpoenas to be held on Friday and Tuesday. Order signed.
                       The Court orders the jury selection to begin. Jury voir dire held. Jury selected.
                       Set Jury trial for 9:30 5/22/01 for Michael J. Vondette before Senior Judge
                       Thomas C. Platt (Fagan, Linda) (Entered: 05/24/2001)
 05/22/2001      343   LETTER dated 5/22/01 from Burton T. Ryan, Jr., Charles P. Kelly to Judge
                       Platt re: to update and clarify the record concerning the Discovery and 3500
                       material which has been provided to the defense to date. (Fagan, Linda)
                       (Entered: 05/23/2001)




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 05/22/2001            Jury impaneled as to Michael J. Vondette (Fagan, Linda) (Entered:
                       05/24/2001)
 05/22/2001            Jury trial as to Michael J. Vondette held (Fagan, Linda) (Entered: 05/24/2001)
 05/22/2001      353   CALENDAR ENTRY as to Michael J. Vondette ; Case called before Senior
                       Judge Thomas C. Platt on date of 5/22/01 Re-Trial By Jury. Deft. Vondette
                       (pro-se) present and in custody with CJA Advisor Howard Jacobs. Govt.:
                       AUSA Burton Ryan and Charles Kelly. Court Reporter/ESR P. Auerbach.
                       Opening statements heard. Govt. witness-Randall Resnick-sworn-direct,
                       cross/re-direct. Govt witness-Charles Richards-sworn-direct, cross, re-direct,
                       re-cross. Set Jury trial for 9:30 a.m. on 5/23/01 for Michael J. Vondette before
                       Senior Judge Thomas C. Platt (Fagan, Linda) (Entered: 05/24/2001)
 05/23/2001            Jury trial as to Michael J. Vondette held (Fagan, Linda) Modified on
                       05/24/2001 (Entered: 05/24/2001)
 05/23/2001      354   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 5/23/01 for Re-Trial By Jury. Criminal
                       Cause on Re-Trial by jury; Deft. (pro-se) present (in custody) with Howard
                       Jacobs (CJA advisor). Govt.: AUSA-Burton Ryan and Charles Kelly.; Court
                       Reporter/ESR P. Auerbach. Govt. witness Brian Archard-sworn-direct/cross.
                       Govt. witness Gary Matsuzaki-sworn-direct/cross/redirect.; Govt. witness
                       David Katz-sworn-direct/cross/redirect. Trial to resume on 5/24/01 at 9:30
                       a.m. for Michael J. Vondette before Senior Judge Thomas C. Platt . (Fagan,
                       Linda) (Entered: 05/24/2001)
 05/24/2001            Jury trial as to Michael J. Vondette held (Fagan, Linda) (Entered: 05/30/2001)
 05/24/2001      355   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 5/24/01 at 9:30 a.m. for Criminal Cause On
                       Re-Trial By Jury; Court Reporter/ESR P. Auerbach; Deft (pro-se) present (in
                       custody) with Howard Jacobs (CJA advisor) for Govt.: AUSA-Burton Ryan
                       and Charles Kelly. Case called. Deft pro se and counsel for all sides present.
                       Govt. witness Gregory Timewell sworn/direct/cross. Govt. witness Glen
                       Spindel-sworn/direct/cross. Govt. witness Nathan Salazar-
                       sworn/direct/redirect/recross. Govt. witness Robert Kefczunski-
                       sworn/direct/cross. Govt. witness Maureen Craig-sworn/direct/cross. Trial to
                       resume 5/30/01 at 9:30 a.m. . The GAovt. is to appear on 5/25/01 at 9:15 for
                       the court to inform them of the documetns whcih Mr. Vondette is entitled to.
                       (Fagan, Linda) (Entered: 05/30/2001)
 05/25/2001            SEALED DOCUMENT placed in vault. (Fagan, Linda) (Entered:
                       05/30/2001)
 05/25/2001            SEALED DOCUMENT placed in vault (Fagan, Linda) (Entered: 06/01/2001)
 05/29/2001      356   LETTER dated 5/29/01 from Burton T. Ryan, Jr., Charles P. Kelly to Judge
                       Platt re: Based on the deposition testimony given today in this action by
                       Anthony J. Coulson, Christopher Schlichter and Alan Santos (deponents) and
                       the prior rulings of this Court, the government respectfully submits this letter
                       to deem the trial subpoenas issued to the deponents as satisfied by their
                       depositions, otherwise quash the trial subpoenas issued to the deponents by




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                       the deft Michael Vondette and order that such deposition testimony will not
                       be presented to the jury. (Fagan, Linda) (Entered: 06/01/2001)
 05/29/2001      359   LETTER dated 5/29/01 from M. Vondette to Judge Platt re deft pro se
                       Michael Vondette submits this letter-response pertainign to the proposed
                       "Depositions" of DEA Agents Alan Santos; Chris Schlecter; and Anthony
                       Carlson in connection with the above referenced case. (Fagan, Linda)
                       (Entered: 06/01/2001)
 05/29/2001      381   CJA 24 as to Michael J. Vondette Authorization to Pay Perry Auerbach
                       $132.00 for Transcript Voucher # 010601000002. ( Signed by Senior Judge
                       Thomas C. Platt, dated 5/29/01) (Fagan, Linda) (Entered: 06/29/2001)
 05/29/2001      386   CJA 24 as to Michael J. Vondette Authorization to Pay Perry Auerbach $
                       4,034.30 for Transcript Voucher # 010601000001 ( Signed by Senior Judge
                       Thomas C. Platt , dated 5/29/01) (Mierzewski, Liz) (Entered: 08/22/2001)
 05/30/2001            Jury trial as to Michael J. Vondette held (Fagan, Linda) (Entered: 06/01/2001)
 05/30/2001      357   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 5/30/01 for Criminal Cause On Re-Trial By
                       Jury. Deft present (in Cusdody) w/ Howard Jacobs (CJA advisor) for Govt.:
                       AUSA-Burton Ryan and Charles Kelly; Court Reporter/ESR Harry
                       Rappaport. Case called. Deft pro se and counsel for all sides present. Govt.
                       witness Robert Singer-sworn-direct/cross. Govt. witness Lawrence Marcus-
                       sworn-direct/cross.re-direct. Govt. witness Thomas Sherett-sworn-
                       direct/cross. Trial to resume on 5/31/01 at 9:30 a.m. before Senior Judge
                       Thomas C. Platt . (Fagan, Linda) (Entered: 06/01/2001)
 05/30/2001      380   CJA 24 as to Michael J. Vondette Authorization to Pay Harry Rapaport
                       $4,463.80 for Transcript Voucher #010611000002 ( Signed by Senior Judge
                       Thomas C. Platt, dated 5/30/01) (Fagan, Linda) (Entered: 06/29/2001)
 05/30/2001      387   CJA 20 as to Michael J. Vondette Authorization to Pay Joel R. Weiss for
                       defendant Michael J. Vondette $ 18331.50 Voucher # 010712000001
                       ( Signed by Senior Judge Thomas C. Platt , Dated 5/30/01 (Mierzewski, Liz)
                       (Entered: 08/22/2001)
 05/31/2001            Jury trial as to Michael J. Vondette held (Fagan, Linda) Modified on
                       06/01/2001 (Entered: 06/01/2001)
 05/31/2001      358   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 5/31/01 at 9:30 a.m.; for Criminal Cause On
                       Re-Trial By Jury; Court Reporter/ESR Harry Rappaport; Deft. pro-se present
                       (in custody) with Howard Jacobs (CJA advisor) for Govt.: AUSA Burton
                       Ryan and Charles Kelly. Case called. Deft pro se and counsel for all sides
                       present. Govt. witness Thomas Sherrett cross resumed/redirect. Deft moves
                       for a mistrial on the grounds of limited testimony-Denied. Govt. witness-
                       Edwin Holmes-sworn-direct/cross. Deft moves for a mistrial on the grounds
                       of prejudicial jury instructions-denied. Govt. rests. Rule 29 motion made by
                       deft.-denies. Deft witness Paul Pyzel-sworn-direct/cross. Portions of
                       deposition testimony of Agent Alan Santos read to the Jury. Deft wants to
                       subpoena records from the Social Security Administratin, subpoena issued,




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                       return date 6/1/01 at 2:00 p.m. Summations and charge to start at 9:30 a.m. on
                       6/4/01 (Fagan, Linda) (Entered: 06/01/2001)
 06/01/2001      360   LETTER dated 5/29/01 from Burton T. Ryan, Jr., Charles P. Kelly to Judge
                       Platt re: the government requests that the trial subpoena issued to Alan Santos
                       be deemed satisfied by his deposition testimony, otherwise quashed and order
                       that his deposition testimony will not be presented to the jury. (Fagan, Linda)
                       (Entered: 06/06/2001)
 06/01/2001      382   CJA 24 as to Michael J. Vondette Authorization to Pay Joseph Barbella $
                       114.40 for Transcript Voucher # 010606000019; ( Signed by Senior Judge
                       Thomas C. Platt , dated 6/1/01) (Fagan, Linda) (Entered: 06/29/2001)
 06/03/2001      362   ORDER as to Michael J. Vondette; that under the Criminal Justice Act
                       ("CJA"), Gardner Ivestigative Services, which has been appointed to provide
                       for "investigative services," be allocated twenty (20) hours in addition to the
                       fifty (50) hours originally allocated by this Court's Order of 5/16/01 . ( Signed
                       by Senior Judge Thomas C. Platt, on 6/3/01) (Fagan, Linda) (Entered:
                       06/07/2001)
 06/04/2001            Jury trial as to Michael J. Vondette held (Fagan, Linda) (Entered: 06/06/2001)
 06/04/2001      361   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 6/4/01 for Criminal Cause On Re-Trial By
                       Jury; pro se deft present (in custody) with Howard Jacobs (CJA advisor) for
                       govt.: AUSA-Burton Ryan and Charles Kelly; Court Reporter/ESR H.
                       Rappaport. Case called. Deft pro se and counsel for all sides present. Deft
                       witness-Sandra Huckermier-direct. Gvt. Rebuttal witness-David Mierov-
                       sworn-direct/cross. Govt. Witness-Mark Treiber-sworn-direct/cross. Govt.
                       Witness-Jean Moisa-sworn-direct/cross. Govt. witness-Oce Leonard-sworn-
                       direct/corss. Govt witness-Donald Riley-sworn-direct/cross. Govt. rests. Deft.
                       rests. Deft. makes an application to have additonal witness testify outside the
                       presence of the jury. Deft. Witness-Gerard Gardner-sworn-direct/cross.
                       Summations heard by govt. and deft. Rebuttal summations by the Govt. Jury
                       charge and deliberations to start 9:30 a.m. on 6/5/01 . (Fagan, Linda)
                       (Entered: 06/06/2001)
 06/05/2001            Jury trial as to Michael J. Vondette held (Fagan, Linda) (Entered: 06/07/2001)
 06/05/2001      363   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 6/5/01 at 9:30 a.m. for criminal cause on
                       trial. Court Reporter/ESR H. Rapaport. Deft present in custody with Legal
                       Advisor Howard Jacobs. Govt.: Burton Ryan and Charles Kelly. The Court
                       waits for juror #6 and alternate juror #5 to appear for the jury charge.
                       Alternate #5 arrives at 9:50 a.m., the parties consent to start at 10:00 a.m.
                       without juror #6 if necessary. At 10:00 a.m. juror #6 is not present and the
                       Court advises the parties that the charge will have to commence without him
                       and alaternate #1 will move into his spot. The Judge reads the charge to the
                       jurors. Juror #6 arrives after the charge has been read to the jury and is
                       excused. Deputy Marshal sworn, jury deliberates. The Judge states the events
                       relating to juror #6 on the record. Alternative jurors are excused. Guilty:
                       Michael J. Vondette (1) count(s) 1ss, 2ss . The jury is polled. Court exhibits




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                       #1-5 marked - jury notes. Set Jury trial for 9:30 6/6/01 for summation, charge
                       and deliberations on the forfeiture allegations as to Michael J. Vondette
                       before Senior Judge Thomas C. Platt . (Fagan, Linda) (Entered: 06/07/2001)
 06/05/2001      366   Government's Requests To Charge For Criminal Forfeiture And Special
                       Verdict Form by USA as to Michael J. Vondette (Fagan, Linda) (Entered:
                       06/12/2001)
 06/06/2001            Jury trial as to Michael J. Vondette held (Fagan, Linda) (Entered: 06/07/2001)
 06/06/2001      364   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 6/6/01 at 9:30 a.m. for criminal cause on
                       trial. Court Reporter/ESR H. Rapaport. Deft present in custody with legal
                       advisor Howard Jacobs. Govt.: Burton Ryan and Charles Kelly. Summations
                       heard on forfeiture count. The jury is charged and deliberates. Jury verdict
                       reached. See Court exhibit #14 for forfeiture verdict. Jury polled. Jury
                       discharged from service. Jury trial concluded. (Fagan, Linda) (Entered:
                       06/07/2001)
 06/06/2001      365   Court exhibits 1-14 as to Michael J. Vondette (Court exhibit #14 is the
                       Special Verdict Sheet as to Forfeiture Allegations) (Fagan, Linda) (Entered:
                       06/07/2001)
 06/06/2001      367   ORDER as to Michael J. Vondette; that Nassau County Correctional Center
                       provide pro se deft. additional Law Library access whenever possible -- as
                       often as is feasible; and to further provide pro se deft legal copies during Law
                       Library visits; and to provide pro se deft immediate access as feasible to the
                       necessary Federal Law books needed for his continuing case, as further set
                       forth in this Order . ( Signed by Senior Judge Thomas C. Platt, on 6/6/01) c/m
                       (Fagan, Linda) (Entered: 06/12/2001)
 06/11/2001            SEALED DOCUMENT placed in vault. (Fagan, Linda) (Entered:
                       06/12/2001)
 06/19/2001      368   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 5/21/01;
                       Court Reporter/ESR: Perry Auerbach (Fagan, Linda) (Entered: 06/19/2001)
 06/19/2001      369   TRANSCRIPT filed in case as to Michael J. Vondette for dates of 5/21/01;
                       Court Reporter/ESR: Perry Auerbach (Fagan, Linda) (Entered: 06/19/2001)
 06/22/2001      370   TRANSCRIPT OF TRIAL before the Honorable Thomas C. Platt, U.S.D.J.,
                       and a jury filed in case as to Michael J. Vondette for dates of 5/22/01; Court
                       Reporter/ESR: Perry Auerbach (Fagan, Linda) (Entered: 06/22/2001)
 06/22/2001      371   TRANSCRIPT OF DEPOSITIONS before The Honorable Thomas C. Platt,
                       U.S.D.J., and a jury filed in case as to Michael J. Vondette for dates of
                       5/29/01; Court Reporter/ESR: Ellen S. Combs, CSR (Fagan, Linda) (Entered:
                       06/22/2001)
 06/22/2001      372   TRANSCRIPT OF TRIAL before Honorable Thomas C. Platt, U.S.D.J., and
                       a jury filed in case as to Michael J. Vondette for dates of 5/30/01; Court
                       Reporter/ESR: Harry Rapaport, C.S.R. (Fagan, Linda) (Entered: 06/22/2001)
 06/22/2001      373   TRANSCRIPT OF TRIAL before Honorable Thomas C. Platt, U.S.D.J., and




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                       a jury filed in case as to Michael J. Vondette for dates of 5/30/01; Court
                       Reporter/ESR: Harry Rapaport, C.S.R. (Fagan, Linda) (Entered: 06/22/2001)
 06/22/2001      374   TRANSCRIPT OF TRIAL before Honorable Thomas C. Platt, U.S.D.J., and
                       a jury filed in case as to Michael J. Vondette for dates of 5/31/01; Court
                       Reporter/ESR: Harry Rapaport, C.S.R. (Fagan, Linda) (Entered: 06/22/2001)
 06/22/2001      375   TRANSCRIPT OF TRIAL before Honorable Thomas C. Platt, U.S.D.J. filed
                       in case as to Michael J. Vondette for dates of 6/1/01; Court Reporter/ESR:
                       Joseph Barbella, C.S.R. (Fagan, Linda) (Entered: 06/22/2001)
 06/22/2001      376   TRANSCRIPT OF TRIAL before Honorable Thomas C. Platt, U.S.D.J., and
                       a jury filed in case as to Michael J. Vondette for dates of 6/4/01; Court
                       Reporter/ESR: Harry Rapaport, C.S.R. (Fagan, Linda) (Entered: 06/22/2001)
 06/22/2001      377   TRANSCRIPT OF TRIAL before Honorable Thomas C. Platt, U.S.D.J. filed
                       in case as to Michael J. Vondette for dates of 6/5/01; Court Reporter/ESR:
                       Harry Rapaport, C.S.R. (Fagan, Linda) (Entered: 06/22/2001)
 06/22/2001      378   TRANSCRIPT OF TRIAL before Honorable Thomas C. Platt, U.S.D.J., and
                       a jury filed in case as to Michael J. Vondette for dates of 6/6/01; Court
                       Reporter/ESR: Harry Rapaport, C.S.R. (Fagan, Linda) (Entered: 06/22/2001)
 06/22/2001      379   TRANSCRIPT OF TRIAL before Honorable Thomas C. Platt, U.S.D.J. filed
                       in case as to Michael J. Vondette for dates of 5/24/01; Court Reporter/ESR:
                       Perry Auerbach (Fagan, Linda) (Entered: 06/22/2001)
 07/02/2001      384   Letter MOTION by Michael J. Vondette requesting an extension of time until
                       7/20/01 to submit the Rule 29, Judgment of Acquital Motion (Imrie, Robert)
                       (Entered: 07/11/2001)
 07/02/2001            ENDORSED ORDER as to Michael J. Vondette granting [384-1] motion
                       requesting an extension of time until 7/20/01 to submit the Rule 29, Judgment
                       of Acquital Motion as to Michael J. Vondette (1), Reset motion filing
                       deadline for 7/20/01 for Michael J. Vondette (Signed by Senior Judge
                       Thomas C. Platt, on 7/2/01) c/m (Imrie, Robert) (Entered: 07/11/2001)
 07/06/2001      383   AFFIDAVIT of Gerard Gardner Re: the Social Security earnings of Michael
                       Vondette. (Imrie, Robert) (Entered: 07/10/2001)
 07/10/2001      388   CJA 20 as to Michael J. Vondette Authorization to Pay Howard L. Jacobs for
                       defendant Michael J. Vondette $ 12141.00 Voucher # 010725000120
                       ( Signed by Senior Judge Thomas C. Platt , Dated 7/10/01 (Mierzewski, Liz)
                       (Entered: 08/22/2001)
 07/23/2001      385   MOTION by Michael J. Vondette for an order pursuant to FRCrP 29 and 33
                       granting an acquital and/or a new trial (Imrie, Robert) (Entered: 08/03/2001)
 08/26/2001      392   CJA 21 as to Michael J. Vondette Authorization to Pay SDR consultants Inc.
                       $ 3170.74 for Expert Services Voucher # 011114000025 ( Signed by Senior
                       Judge Thomas C. Platt, dated 8/26/01) (Lopez, Luz) (Entered: 11/28/2001)
 10/01/2001      389   CJA 20 as to Michael J. Vondette Authorization to Pay $ 6253.36 Voucher #
                       010912000012 ( Signed by Senior Judge Thomas C. Platt , Dated 7/29/01




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                       (Mierzewski, Liz) (Entered: 10/01/2001)
 10/31/2001      390   LETTER dated 10/26/01 from for defts. to Judge Platt re: Response to the
                       government's preliminary order of forfeiture hereinafter the ("Order"). The
                       order is improper and, as submitted by the government, impermissible.
                       (Mierzewski, Liz) (Entered: 11/05/2001)
 11/07/2001      391   PROPOSED ORDER Directing Forfeiture of Property as to Michael J.
                       Vondette (Returned to the Clerk's office unsigned by Judge Platt) (Lopez,
                       Luz) (Entered: 11/20/2001)
 11/29/2001      393   LETTER dated 11/26/01 from Michael Vondette to USDJ Platt RE: Opposing
                       the government's request for a Preliminary Order of Forfeiture. (Branciforte,
                       Ralph) (Entered: 12/19/2001)
 12/18/2001      394   CJA 21 as to Michael J. Vondette Authorization to Pay Thomas A. Kubic &
                       Associates $ 337.50 for Expert Services Voucher # 020107000001 ( Signed
                       by Senior Judge Thomas C. Platt, dated 12/18/01) (Lopez, Luz) (Entered:
                       01/16/2002)
 03/18/2002      395   MEMORANDUM ORDER as to Michael J. Vondette - Vondette's objections
                       to the proposed order are overruled. The govt's motion for an order of
                       forfeiture is granted and the proposed Order is adopted as an Order of this
                       Court. (Signed by Senior Judge Thomas C. Platt, on 3.18.02) cm (Lopez,
                       Luz) (Entered: 04/10/2002)
 04/17/2002      396   Letter MOTION by Michael J. Vondette Having just received a copy of the
                       Memo and Order, Dft requests to be allowed until 4/16/02, to prepare and
                       submit his motion for a reconsideration of this Court's order (Lopez, Luz)
                       (Entered: 05/01/2002)
 04/17/2002            ENDORSED ORDER as to Michael J. Vondette granting [396-1] motion
                       Having just received a copy of the Memo and Order, Dft requests to be
                       allowed until 4/16/02, to prepare and submit his motion for a reconsideration
                       of this Court's order as to Michael J. Vondette (1) ( Signed by Senior Judge
                       Thomas C. Platt, on 4.17.02) cm (Lopez, Luz) (Entered: 05/01/2002)
 04/22/2002      397   MOTION by Michael J. Vondette for reconsideration of government's
                       proposed order of forfeiture. (Lopez, Luz) (Entered: 05/02/2002)
 06/21/2002      398   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 6.21.02 at 9:30 am. for Criminal cause for
                       sentence adjournment. C/R: Dom Tursi. Dft present pro se with advisor
                       Howard Jacobs. AUSA - Burton Ryan and Charles Kelly. resetting
                       Sentencing for 9:30 7/12/02 for Michael J. Vondette Senior Judge Thomas C.
                       Platt The dft has mailed out objections to the PSR. The USPO has from now
                       until 7/12/02 to submit the addendum. On the 12th the parties will determine
                       if a fatico hearing is needed. The gov will submit its response to dfts motion
                       on 6/26/02 at the time they will issue a subpoena application regarding dft's
                       use of a "shawdow counsel" as stated on the record. Order executed as to dft's
                       use of the library. (Lopez, Luz) (Entered: 06/27/2002)
 07/11/2002      400   LETTER dated 7.11.02 from Michael Vondette to USDJ Platt re: The dft




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                       hereby submits this letter-reply to the govt's 6/26/02 memorandum in
                       response to dft's motion for a new trial and its response to the dft's motion for
                       reconsiderations of the preliminary forfeiture Order. (Lopez, Luz) (Entered:
                       07/25/2002)
 07/12/2002            Status conference as to Michael J. Vondette held. (Fagan, Linda) (Entered:
                       07/15/2002)
 07/12/2002      399   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 7/12/02 at 9:30 a.m. for Criminal Cause for
                       Sentence Conference; Appearances: For Govt.: AUSA-Burton Ryan and
                       Charles Kelly (516) 228-3166; For deft.: Howard Jacobs (CJA advisor to pro
                       se deft.); Court Reporter/ESR Owen Wicker; (related civil case CV-97-6013).
                       Terminated past due deadlines . Case called. Deft and counsel for all sides
                       present. Motions received and being looked at. Deft's reply to the Rule 29
                       motion handed to the court. Copies made givent to deft., govt., original sent
                       to docketing. Set sentence for 7/29/02 at 9:30 a.m.; Reset Sentencing for
                       7/29/02 at 9:30 a.m. for Michael J. Vondette before Senior Judge Thomas C.
                       Platt . (Fagan, Linda) (Entered: 07/15/2002)
 07/29/2002            Status conference as to Michael J. Vondette held. (Fagan, Linda) (Entered:
                       08/12/2002)
 07/29/2002      401   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 7/29/02 at 9:30 a.m. for Crim. Cause for
                       Sentence Conference; Appearances: for govt.: AUSA Charles Kelly; AUSA
                       Burton Ryan not present; for deft.: Howard Jacobs - CJA advosor to pro se
                       deft.; for deft.: Michael J. Vondette ( Pro Se). Court Reporter/ESR: Perry
                       Auerbach. Case called. Deft present in custody with Howard Jacobs CJA
                       advison. AUSA Charles Kelly present. AUSA Burton Ryan not present. The
                       government is to submit a supplemental letter by tomorrow 7/30/02 11:00
                       a.m. Re: fatico questions . Fatico hearing possible on 8/27/02 at 9:30 a.m. -
                       the judge to confirm. (Fagan, Linda) (Entered: 08/12/2002)
 08/28/2002      402   MEMORANDUM ORDER as to Michael J. Vondette denying [385-1]
                       motion for an order pursuant to FRCrP 29 and 33 granting an acquital and/or
                       a new trial as to Michael J. Vondette (1) ( Signed by Senior Judge Thomas C.
                       Platt, on 8.28.02) CM (Lopez, Luz) (Entered: 09/03/2002)
 08/28/2002      403   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior
                       Judge Thomas C. Platt on date of 8.28.02 for Criminal cause for sentence.
                       C/R: Auerbach. Dft present with CJA advisor Howard Jacobs. AUSA: Burton
                       Ryan and Charles Kelly. USPO: Andrew Jingleski. Memorandum and order
                       handed to all parties regarding dft's pre-sentence motions. The court feels that
                       all motions for hearings have been addressed and there is no need to hold the
                       hearing requested. The court asks the dft is ready for sentencing. The dft
                       wants more time to prepare for sentence. Set sentence to 9.3.02 at 9:30am.
                       (Lopez, Luz) (Entered: 09/03/2002)
 09/03/2002            Sentencing held Michael J. Vondette (1) count(s) 1ss, 2ss (Lopez, Luz)
                       (Entered: 09/06/2002)
 09/03/2002      404   CALENDAR ENTRY as to Michael J. Vondette; Case called before Senior




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                       Judge Thomas C. Platt on date of 9.3.02 at 9:30 am. for sentence. C/R: D.
                       Tursi. Dft present in custody with CJA advisor Howard Jacobs. AUSA:
                       Burton Ryan. USPO: Andrew Jingeleski. Statements of dft and counsel heard.
                       Dft's downward departure motion based on numerous motions made orally by
                       the dft see record for more details. The dft is sentenced to 40 years on Ct.1
                       and 20 years on Ct.2, sentences to run concurrently. The dft is given credit for
                       time served. To be followed by a supervised release term of 5 years on Ct. 1
                       and 3 years on Ct. 2 to run concurrently. The dft is remanded to the custody
                       of the US Marshal. The Court makes the following recommendation to the
                       Bureau of Prisons: To place the dft in a facility in Southern California, and to
                       place the dft in a drug and alcohol treatment program. The dft is ordered to
                       pay a fine in the sum of $25,000.00 on Ct.1, the court believes the dft has the
                       ability to pay based on reports that he has hired appellate counsel. The court
                       orders the order of forfeiture to be part of the judgment order. Special
                       assessment is imposed in the sum of $100.00 on Ct1 and $100.00 on CT. 2.
                       The dft is advised of his right to appeal. (Lopez, Luz) (Entered: 09/06/2002)
 09/03/2002      405   JUDGMENT Michael J. Vondette (1) count(s) 1ss, 2ss. The dft was found
                       guilty on counts One and Two of a Two count superseding indictment. The
                       dft is hereby committed to the custody of the US Bureau of Prisons to be
                       imprisoned for a total term of Forty (40) years on Ct. 1 and Twenty (20) years
                       on Ct. 2, sentences to run concurrently. The dft is to be given credit for time
                       served. The court makes the following recommendations to the Bureau of
                       Prisons: The dft be placed at a facility in Southern California and be placed in
                       a drug and alcohol treatment program. Upon release from imprisonment, the
                       dft shall be on supervised release for a term of Five (5) years on Ct.1 and
                       Three (3) years on Ct.2 to run concurrently. The dft shall pay the following
                       total criminal monetary penalties: Fine: $25,000.00 on Ct One (1) and Two
                       (2) concurrent. Special assessment: $100.00 on Ct1 and $100.00 on Ct2. The
                       Order of forfeiture is to be made part of the judgment. ( Signed by Senior
                       Judge Thomas C. Platt, on 9.3.02) (Lopez, Luz) (Entered: 09/06/2002)
 09/05/2002      406   NOTICE OF APPEAL by Michael J. Vondette (1) count(s) 1ss, 2ss as to
                       forfeiture of property only; fee paid $105.00 receipt # 7191. Copy of notice
                       and certified docket forwarded to USCA. Copy of notice forwarded to
                       chambers. (Romano, Dan) Modified on 09/13/2002 (Entered: 09/10/2002)
 09/05/2002      407   NOTICE OF APPEAL by Michael J. Vondette (1) count(s) 1ss, 2ss as to
                       conviction, sentence and forfeiture .Fee Paid $ 105.00 Receipt # 7192. Copy
                       of notice and certified copy of docket forwarded to USCA. Copy of notice
                       forwarded to chambers. (Romano, Dan) Modified on 09/13/2002 (Entered:
                       09/10/2002)
 09/12/2002      408   MAIL RETURNED. Judgment addressed to Michael Vondette returned on
                       9.12.02. (Discharged) (Lopez, Luz) (Entered: 09/13/2002)
 09/20/2002      409   ORDER Directing Forfeiture as to Michael J. Vondette - The dft shall forfeit
                       to the US Two million and twenty seven thousand and eight hundred and
                       forty five dollars and no cents ($2,027,845.00). The forfeiture money
                       judgment shall be collected pursuant to the terms and conditions of the
                       preliminary Order, which shall remain in full force and effect but collection
                       and execution of the forfeiture money judgment is stayed until publication of




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                       legal notice of the Preliminary Order. The clerk of the Court shall enter final
                       judgment to the United States in accordance with the terms of this Order and
                       the preliminary Order and such final judgments of forfeiture shall be made
                       part of the sentence and included in the judgment conviction of the dft.
                       (Signed by Senior Judge Thomas C. Platt, dated: 9.20.02)CM (Lopez, Luz)
                       (Entered: 09/26/2002)
 09/20/2002      419   CJA 20 as to Michael J. Vondette Authorization to Pay Howard L. Jacobs for
                       defendant Michael J. Vondette $ 5760.00 Voucher # 021106000015 ( Signed
                       by Senior Judge Thomas C. Platt , Dated 9.20.02 (Lopez, Luz) (Entered:
                       11/27/2002)
 10/02/2002      414   USCA Scheduling Order: as to Michael J. Vondette [407-1] appeal Appeal
                       Record due by 12/16/98 USCA Number: 02-1528, [406-1] appeal Appeal
                       Record due by 12/16/98 USCA Number: 02-1528 Appellant's brief due
                       11/13/02. Appellee's brief due 12/13/02. Argument set for 1/27/03. (Romano,
                       Dan) (Entered: 10/08/2002)
 10/02/2002            Certified and transmitted record on appeal to U.S. Court of Appeals as to
                       Michael J. Vondette : [407-1] appeal, [406-1] appeal. Original and three
                       copies of the index, certified copy of the docket and clerk's certificate
                       forwarded to USCA. Acknowledgment requested. (Romano, Dan) (Entered:
                       10/08/2002)
 10/03/2002      410   PETITION of Richard Scott Vondette setting forth an interest in the property
                       located at 17465 Mountain View Road, Sisters, Oregon. (Lopez, Luz)
                       (Entered: 10/07/2002)
 10/03/2002      411   PETITION of Michael Vondette setting forth an interest on the property
                       located at 17465 Mountain View Road, Sisters, Oregon. (Lopez, Luz)
                       (Entered: 10/07/2002)
 10/03/2002      412   PETITION of Kathleen Vondette setting forth an interest in the property
                       located at 17465 mountain view road, Sisters Oregon. (Lopez, Luz) (Entered:
                       10/07/2002)
 10/03/2002      413   PETITION of John and Jean Vondette setting forth an interest in the property
                       located at 17465 Mountain View ROad, SIsters, Oregon. (Lopez, Luz)
                       (Entered: 10/07/2002)
 10/07/2002      415   MOTION by Michael J. Vondette staying and suspending the operation of the
                       final order of forfeiture dated 9/20/02 pending the hearing of USCA (Lopez,
                       Luz) (Entered: 10/25/2002)
 10/07/2002      416   AFFIDAVIT of James Druker on behalf of Michael J. Vondette in support of
                       Motion to stay execution of the forfeiture order. (Lopez, Luz) (Entered:
                       10/25/2002)
 10/16/2002      417   ORDER as to Michael J. Vondette granting [415-1] motion staying and
                       suspending the operation of the final order of forfeiture dated 9/20/02 pending
                       the hearing of USCA as to Michael J. Vondette (1). This stay shall not delay
                       the ancillary proceeding or the determination of a 3rd party's rights or
                       interests. ( Signed by Senior Judge Thomas C. Platt, on 10.16.02) Cm (Lopez,




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                       Luz) (Entered: 10/25/2002)
 10/25/2002      418   Acknowledgment from USCA received as to the receipt of the designation of
                       the index to the record on appeal as to Michael J. Vondette RE: [407-1]
                       appeal, [406-1] appeal. USCA# 02-1528. (Basile, Antonietta) (Entered:
                       10/29/2002)
 06/09/2003            PRESENTENCE INVESTIGATION REPORT (Sealed) as to Michael J.
                       Vondette forwared to USCA under seal to Vincenza Singleton, USCA.
                       (Romano, Daniel) (Entered: 06/09/2003)
 07/30/2003            Certified and Transmitted Record on Appeal as to Michael J. Vondette to US
                       Court of Appeals re 406 Notice of Appeal - Final Judgment,, 407 Notice of
                       Appeal - Final Judgment; Original and three copies of the index, clerk's
                       certificate, certified docket and original documents forwarded to USCA via
                       US Postal Service. Acknowledgment requested.(Romano, Daniel) (Entered:
                       07/30/2003)
 08/11/2003      420   USCA Acknowledgment as to Michael J. Vondette for 406 Notice of Appeal
                       - Final Judgment, filed by Michael J. Vondette, 407 Notice of Appeal - Final
                       Judgment, filed by Michael J. Vondette. USCA no.02-1528 (Romano, Daniel)
                       (Entered: 08/22/2003)
 10/17/2003      421   MANDATE of USCA (certified copy) as to Michael J. Vondette re 407
                       Notice of Appeal - Final Judgment. Judgment of district court affirmed. Copy
                       of mandate forwarded to chambers. (Romano, Daniel) Modified on
                       10/21/2003 (Romano, Daniel). (Entered: 10/21/2003)
 05/26/2004            Appeal Record Returned as to Michael J. Vondette : 407 Notice of Appeal -
                       Final Judgment,, 406 Notice of Appeal - Final Judgment, (Romano, Daniel)
                       (Entered: 05/26/2004)
 05/09/2005     423    Letter dtd.5/5/05 from Dft. Vondette to Hon J. Platt noting enclosure of
                       documents for filing. (Barhome, Sydelle) (Entered: 05/19/2005)
 05/11/2005     422    Letter dtd. 5/9/05 from Christian Capece, Law Clerk to J. Platt, to Burton
                       Ryan noting enclosure of letter from Dft.Vondett to Hon. J. Platt requesting
                       his re-sentence hearing be adjourned for 90 days. Any objections should be
                       noted ASAP. (Barhome, Sydelle) (Entered: 05/19/2005)
 05/23/2005     424    MANDATE of USCA (certified copy) as to Michael J. Vondette re 407
                       Notice of Appeal - Final Judgment, affirming judgement of the district court.
                       Copy sent to chambers. USCA no.02-1528, 02-1529 (Romano, Daniel)
                       (Entered: 05/25/2005)
 06/14/2005     425    Minute Entry for proceedings held before Thomas C. Platt : AUSA Burton
                       RyanStatus Conference as to Michael J. Vondette held on 6/14/2005
                       @11:00am. Next Status Conference set for 9/16/2005 09:30 AM before
                       Senior Judge Thomas C. Platt. Case returned on Crosby remand. Order signed
                       giving the dft additional access to the law library at MDC. Dft not retaining
                       counsel. Motions to be filed. (Court Reporter Dom Tursi.) (Barhome,
                       Sydelle) (Entered: 06/16/2005)
 06/16/2005     426    ORDER as to Michael J. Vondette: Pro Se dft is given access to the Law




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                       Library at the MDC at least once a day, for at least three hours per day.
                       Additional access shold be afforded if practical and in compliance with BOP
                       facility policy. So. Ordered by Judge Thomas C. Platt on 6/14/05. (Barhome,
                       Sydelle) (Entered: 06/16/2005)
 08/11/2005     427    MOTION to Compel Probation to provide a full DeNovo pre-sentencing
                       investigation report subsequent to the new re-sentencing, filed by Michael J.
                       Vondette. (Montero, Edher) (Entered: 08/23/2005)
 08/18/2005     431    MOTION to Compel Court for De Novo Review of Original Sentencing and
                       for the Mandated Full De Novo re-sentencing of the dft, by Michael J.
                       Vondette. (Barhome, Sydelle) (Entered: 09/15/2005)
 08/23/2005     428    Supplemental MOTION for New Trial Pursuant to Rule 33 by Michael J.
                       Vondette. (Barhome, Sydelle) (Entered: 08/24/2005)
 08/23/2005     429    Certificate of Service by Michael J. Vondette re 428 Supplemental MOTION
                       for New Trial Pursuant to Rule 33 (Barhome, Sydelle) (Entered: 08/24/2005)
 09/02/2005     447    Letter from Dft Vondette to Hon. J. Platt REQUESTING an order to grant the
                       release of copies of sealed documents as indicated in this letter. (Barhome,
                       Sydelle) (Entered: 12/23/2005)
 09/09/2005     430    MOTION to Compel Court for Voucher for transcripts (IFP) by Michael J.
                       Vondette. (Barhome, Sydelle) (Entered: 09/13/2005)
 09/13/2005     434    NOTICE of Filing at the USCA, 2nd Circuit of a Petition for a Writ of
                       Mandamus by Michael J. Vondette (Barhome, Sydelle) (Entered: 09/21/2005)
 09/16/2005     432    RESPONSE in Opposition Michael J. Vondette re 427 MOTION to Compel
                       Probation to provide a full DeNovo pre-sentencing investigation report
                       subsequent to the new re-sentencing, filed (Ryan, Burton) (Entered:
                       09/16/2005)
 09/21/2005     433    NOTICE of Filing at the USCA, 2nd Circuit, for Leave to Proceed In Forma
                       Pauperis by Michael J. Vondette (Barhome, Sydelle) (Entered: 09/21/2005)
 09/29/2005     435    Letter MOTION to Unseal Document s as indicated in letter submitted by
                       Michael J. Vondette. (Barhome, Sydelle) (Entered: 09/30/2005)
 10/15/2005     481    SUPPLEMENT TO DFT Michael J. Vondette 431 MOTION to Compel
                       Court for De Novo Review of Original Sentencing and for the Mandated Full
                       De Novo re-sentencing of the dft, (Barhome, Sydelle) (Entered: 03/29/2007)
 10/17/2005     436    Letter from Assistant U.S. Attorney Richard T. Lunger to Honorable Thomas
                       C. Platt Regarding The Government writes to respectfully request a five-
                       business day enlargement of the time, through and including October 27,
                       2005, to submit the government's papers in opposition to the defendant
                       Michael Vondette's Motion to Overturn, Vacate or Set Aside the In Personam
                       Money Judgment and Forfeiture. (Lunger, Richard) (Entered: 10/17/2005)
 10/18/2005     448    Letter from Todd Spiegelman, Law Clerk, to Dft. Vondette advising J. Platt
                       has released to him only, copies of sealed documents as indicated in this letter
                       and DECLINED to unseal those dated 4/16/01 and 5/4/01. (Barhome,




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                       Sydelle) (Entered: 12/23/2005)
 10/18/2005            Motions terminated for administrative reporting purposes as to Michael J.
                       Vondette: 435 Letter MOTION to Unseal Document s as indicated in letter
                       submitted filed by Michael J. Vondette. (relief addressed by Chambers; see
                       10/18/05 letter) (OHara, Karen) (Entered: 02/02/2007)
 10/19/2005     437    Letter MOTION for Extension of Time to File govt's opposition papers to Dft
                       Vondette's Motion to Overturn, Vacate or Set Aside the In Personam Money
                       Judgment and Forfeiture levied against dft, by USA as to Michael J.
                       Vondette. (Barhome, Sydelle) (Entered: 10/20/2005)
 10/19/2005            ENDORSED ORDER GRANTING (437) MOTION to Overturn, Vacate, or
                       Set Aside the In Personam Money judgment and Forfeiture levied against the
                       dft. Ordered by Judge Thomas C. Platt on 10/18/05. (Barhome, Sydelle)
                       (Entered: 10/20/2005)
 10/28/2005     438    Letter in Opposition to defendant's Motion to Vacate Forfeiture by USA as to
                       Michael J. Vondette. (Lunger, Richard) Modified on 2/2/2007 (OHara,
                       Karen). (Entered: 10/28/2005)
 10/28/2005            Incorrect Case-Document Information filed. Motions terminated, docketed
                       incorrectly: 438 MOTION for Forfeiture of Property Letter in Opposition to
                       Motion to Vacate Forfeiture filed by USA. (DE 438 is modified to correct the
                       description of the document. DE 438 is a Letter in opposition to the motion to
                       vacate Foreiture.) (OHara, Karen) (Entered: 02/02/2007)
 11/17/2005     439    Letter from Burton T. Ryan, Jr. to Honorable Thomas C. Platt Regarding Law
                       Library Access (Ryan, Burton) (Entered: 11/17/2005)
 11/18/2005     440    Minute Entry for proceedings held before Thomas C. Platt : AUSA Burton
                       RyanSentencing Conference as to Michael J. Vondette held on 11/18/2005
                       @9:30am Sentencing Conference set for 1/6/2006 09:30 AM before Senior
                       Judge Thomas C. Platt. (Court Reporter Mary Ann Steiger.) (Barhome,
                       Sydelle) (Entered: 11/21/2005)
 11/29/2005     441    ORDER as to Michael J. Vondette granting 439 Letter: The Warden and
                       MDC Brooklyn staff afford the pro se Dft. Michael Vondette, Law Library
                       access for as any hours as practicable per week under MDC Brooklyn policy
                       and procedures and taking into account institution security concerns . Ordered
                       by Judge Thomas C. Platt on 11/29/05. (Barhome, Sydelle) (Entered:
                       11/30/2005)
 11/30/2005     442    Letter from Michael Vondette to Clerk of the Court re: requesting your office
                       send me several blank CJA 24 voucher forms. (Mahon, Cinthia) (Entered:
                       12/07/2005)
 12/02/2005     444    AFFIDAVIT REQUESTING for the Pre-Resentencing hewraing to be
                       rescheduled, et al by Michael J. Vondette,11/22/05 (Barhome, Sydelle)
                       (Entered: 12/23/2005)
 12/05/2005     443    Letter from Lorraine Sapienza to Michael Vondette dated 12/5/05 re:
                       enclosed please find the CJA 24 forms you requested. (Mahon, Cinthia)
                       (Entered: 12/07/2005)




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 12/13/2005     445    Letter from Michael Vondette to Hon. J. Platt REQUESTING an Order to
                       grant the release of copies of the Sealed documents as indicated in this letter.
                       (Barhome, Sydelle) (Entered: 12/23/2005)
 12/22/2005     446    Letter from Todd Spiegelman, Law Clerk to Dft. Vondette replying to his
                       letter of 12/19/05 indicating the Judge "has ordered the release to you and to
                       you alone, copies of the sealed documents dated 6/8/05 amd
                       10/19/05." (Barhome, Sydelle) (Entered: 12/23/2005)
 12/22/2005     450    Letter dtd.12/21/05 by Michael J. Vondette noting his change of address
                       (Barhome, Sydelle) (Entered: 01/04/2006)
 12/29/2005     449    Mail Returned, CJA form 24's, to Dft. Vondette, 12/29/05, addressed to MDC
                       Brooklyn (Barhome, Sydelle) (Entered: 12/29/2005)
 01/06/2006     451    Letter dtd. 12/28/05 by Michael J. Vondette noting enclosure of Reply to the
                       Gov'ts Opposition to Vacate both the in personam money judgment, and
                       forfeiture, Confirmation of Service (Barhome, Sydelle) (Entered: 01/10/2006)
 01/17/2006     452    Letter dtd. 1/10/06 as to Michael J. Vondette advising Judge Platt authorized
                       to you the release of sealed documents dtd. 6/8/00 and 10/19/00, sent to
                       U.S.P. Lompoe.. (Barhome, Sydelle) (Entered: 01/24/2006)
 02/10/2006     453    Letter to the Court Clerk from Michael Vondette, dated 2/1/06 as to Michael
                       J. Vondette re: To advise the court of deft's change of addres; to request that
                       the court proceed with the release of deft's transcript minutes; and to request
                       that the court provide timely notice as to the date of deft's next court
                       appearance. (Fagan, Linda) (Entered: 02/15/2006)
 02/10/2006     454    NOTICE of Motion to release copies of sealed documents, by Michael J.
                       Vondette (Attachments: # 1 Certification of Service# 2 Cover Letter)(Fagan,
                       Linda) (Entered: 02/15/2006)
 02/28/2006     455    Letter dtd. 2/5/06 from Todd A. Spiegelman, Law Clerk to Hon. J. Platt
                       noting he is again sending Mr. Vondette copies of the SEALED documents
                       dated 6/8/00 snf 10/19/00. (Barhome, Sydelle) (Entered: 02/28/2006)
 03/06/2006     456    ORDER of USCA (certified copy): It is ORDERED that petitioner's motion
                       to proceed IFP is GRANTED for the purpose of allowing the mandamus
                       petition to be filed. It is further ORDERED that the petitioner's mandamus
                       petition is DENIED, as the petitioner has failed to demonstrate that his right
                       to the issuance of a writ is clear and indisputable or that alternative remedies
                       are not available. Copy of mandate sent to Chambers. USCA# 05-4730-op.
                       (Duong, Susan) (Entered: 03/15/2006)
 03/14/2006     491    CJA 24 as to Michael J. Vondette: Authorization to Pay Court Reporter
                       Dominick M. Tursi $158.40 for Transcript, Voucher # 060327000052.
                       Ordered by Judge Thomas C. Platt on 3/14/06. (Brienza, Lauren) (Entered:
                       09/05/2007)
 03/30/2006     470    Letter REQUEST dtd 3/14/06 from Michael J. Vondette to Hon. J. Platt for
                       copies of any signed order by J.Platt since May of 2005, a copy of his docket
                       sheet since May 2005, the name of the Court Reporter for the September
                       2005 hearing (9/15/05), and a copy of 439 letter entered in 11/05. (Barhome,




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                       Sydelle) (Entered: 09/11/2006)
 04/01/2006     469    Letter REQUEST dtd. 3/1/06 from Michael J. Vondette to Todd
                       Spiegelman,law clerk, Judge Platt for sealed documents 4/16/01 and 5/4/01 as
                       well as hearing transcripts, copies of which are to be provided pursuant to
                       Court Order signed by Judge Platt in September. (Barhome, Sydelle)
                       (Entered: 09/07/2006)
 04/25/2006     457    CJA 24 as to Michael J. Vondette: Authorization to Pay Perry Auerbach $
                       $17.43 for Transcript, Voucher # 060411000011. . Ordered by Judge Thomas
                       C. Platt on 3/16/06. (Barhome, Sydelle) (Entered: 04/25/2006)
 04/25/2006     458    Letter REQUEST as to Michael J. Vondette for a copy of his docket sheet
                       post May, 2005 to the present, and a copy of Judge Platt's order of 11/29/05.
                       (Barhome, Sydelle) (Entered: 05/02/2006)
 05/01/2006     459    Letter dtd. 5/1/06 from Pro Se Paralegal, as to Michael J. Vondette, noting
                       enclosure of his docket sheet and a copy of Judge Platt's order of 11/29/06/
                       (Barhome, Sydelle) (Entered: 05/02/2006)
 06/30/2006     460    Letter dtd 6/27/06 from Michael J. Vondette to Lorraine Sapienza noting
                       enclosure of his 5/5/06 letter in which he requests inter alia a copy of specific
                       data (see letter for specifics) (Barhome, Sydelle) (Entered: 07/10/2006)
 06/30/2006     461    Letter dtd. 6/30/06 from Lorraine Saouebza, Pro Se Paralegal to Michael J.
                       Vondette, referring to his letter of 6/27/06, enclosing document 439. Requests
                       for free copies of transcripts must be made to Judge Platt. (Barhome, Sydelle)
                       (Entered: 07/10/2006)
 07/11/2006     462    MOTION for Recusal of the District Court Judge by Michael J. Vondette.
                       (Barhome, Sydelle) (Entered: 07/17/2006)
 07/11/2006     463    Letter dtd. 7.7.06 from Michael J. Vondette to Clerk, Brooklyn, to have his
                       request forwarded to the appropriate Court Clerk in CI for Judge Platt, to so
                       order his request of 9/05 (#430) to have transcripts and other documents
                       forwarded to him without fee (IFP). There was an endorsed order to this
                       effect granting his request on document #430, which was inadvertently
                       missed in '05 and docketed this date (7/18/06). (Barhome, Sydelle) (Entered:
                       07/18/2006)
 07/17/2006     465    Letter MOTION to Set Aside Verdict of guilty and dismiss the indictment
                       pursuant to 28 USA Sec,1651(a) by Michael J. Vondette. (Barhome, Sydelle)
                       (Entered: 07/21/2006)
 07/18/2006            ENDORSED ORDER granting Motion (Doc. #430) for transcripts and any
                       other future hearings including the actual re-sentencing hearing to be held in
                       this case, as to Michael J. Vondette . Ordered by Judge Thomas C. Platt on
                       9/9/05. (Barhome, Sydelle) (Entered: 07/18/2006)
 07/21/2006     464    Certificate of Service by Michael J. Vondette, pro se, of Motion for Recusal
                       of the District Court Judge to be provided to all parties necessary. (Barhome,
                       Sydelle) (Entered: 07/21/2006)
 08/02/2006     466    Letter in Opposition to Defendant's Application for Bail Pending His Remand




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                       to Determine Whether He Should be Resentenced as to Michael J. Vondette
                       (Ryan, Burton) (Entered: 08/02/2006)
 08/04/2006     467    RESPONSE in Opposition Michael J. Vondette re 465 Letter MOTION to Set
                       Aside Verdict of guilty and dismiss the indictment pursuant to 28 USA
                       Sec,1651(a) (Ryan, Burton) (Entered: 08/04/2006)
 08/09/2006            Appeal Record Returned as to Michael J. Vondette: 407 Notice of Appeal -
                       Final Judgment,, 406 Notice of Appeal - Final Judgment, USCA no.02-1528.
                       Files returned to archives as closed in 2002. (Romano, Daniel) (Entered:
                       08/09/2006)
 08/10/2006     468    RESPONSE in Opposition Michael J. Vondette re 431 MOTION to Compel
                       Court for De Novo Review of Original Sentencing and for the Mandated Full
                       De Novo re-sentencing of the dft, (Attachments: # 1 Exhibit 1 - 5# 2 Exhibit 6
                       - 9)(Ryan, Burton) (Entered: 08/10/2006)
 08/29/2006     471    Letter dtd. 8/29/06 from Todd Spiegelman, Law Clerk to Hon. J. Platt as to
                       Michael J. Vondette responding to letter requesting conference transcript
                       dated 9/15/05. (transcript sent) (Barhome, Sydelle) (Entered: 09/11/2006)
 09/18/2006     472    REPLY TO GOV'T OPPOSITION TO MOTION FOR DE NOVO
                       RESENTENCING RE 468 Response in Opposition, by Michael Vondette
                       (Attachments: # 1 # 2)(Barhome, Sydelle) (Entered: 09/20/2006)
 09/29/2006            Set/Reset Hearings as to Michael J. Vondette: Re-sentencing (Crosby
                       Remand) set for 10/6/2006 09:30 AM before Senior Judge Thomas C. Platt.
                       All papers have been submitted. The Court will prepare a written decision.
                       (O'Hara, Karen) (Entered: 10/02/2006)
 10/06/2006            Minute Entry for proceedings held before Thomas C. Platt :Docket Call as to
                       Michael J. Vondette held on 10/6/2006 at 9:30 a.m.. AUSA Burton Ryan
                       present. The Court needs to rule on defendant's motions. Set sentence for
                       10/27/06 at 9:30 a.m. (Court Reporter Harry rapaport.) (O'Hara, Karen)
                       (Entered: 10/11/2006)
 10/25/2006     473    Letter dtd. 10.13.06 from Michael Vondette to Hon.J. Platt with "Petition to
                       Overturn Conviction and to Dismiss the Indictment". (Barhome, Sydelle)
                       (Entered: 10/26/2006)
 10/25/2006     474    MOTION to Dismiss the Indictment for Speedy Trial Act Violatons and to
                       Overturn Conviction by Michael J. Vondette. (Attachments: # 1 # 2 # 3)
                       (Barhome, Sydelle) (Entered: 10/26/2006)
 11/09/2006     475    AFFIDAVIT of Dft. Michael J. Vondette Requesting Immediate Action From
                       theCourt Regarding Bail Habeas and Resentencing (Barhome, Sydelle)
                       (Entered: 11/13/2006)
 11/17/2006            Minute Entry for proceedings held before Thomas C. Platt :Docket
                       Call/Sentence adjournment as to Michael J. Vondette held on 11/17/2006.
                       Case called. AUSA Burton Ryan present. Government needs to file a
                       response to the defendant's latest motion. Sentencing reset for 12/8/2006
                       09:30 AM before Senior Judge Thomas C. Platt. (Court Reporter dominick
                       Tursi.) (O'Hara, Karen) (Entered: 11/17/2006)




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 12/07/2006     476    Letter dtd. 12/7/06 from Maureen A. Fitzgerald, law clerk to Hon. J. Platt, to
                       AUSA Burton Ryan with a copy of Michael J. Vondette's request for
                       subpoenas. Judge Platt requests you answer him in writing. (Barhome,
                       Sydelle) (Entered: 12/14/2006)
 02/27/2007     477    SECOND Nunc Pro Tunc Supplement to Defendant's Original Rule 33 New
                       Trial Motion, by Michael Vondette (Barhome, Sydelle) (Entered: 02/28/2007)
 03/13/2007     478    MOTION to Disqualify Counsel /pro se counsel. Petition pursuant to the All
                       Writs Act to Overturn Instant Conviction Due to Ineffective Pro Se Counsel -
                       with Exhibits by Michael J. Vondette. (Barhome, Sydelle) (Entered:
                       03/14/2007)
 03/23/2007     479    Letter Response in Opposition to Request for Subpoenas as to Michael J.
                       Vondette (Ryan, Burton) (Entered: 03/23/2007)
 03/23/2007     480    RESPONSE in Opposition Michael J. Vondette re 465 Letter MOTION to Set
                       Aside Verdict of guilty and dismiss the indictment pursuant to 28 USA
                       Sec,1651(a) (Ryan, Burton) (Entered: 03/23/2007)
 03/26/2007     482    ENDORSED ORDER as to Michael J. Vondette: Defendant's request for
                       subpoenas Denied.. Ordered by Judge Thomas C. Platt on 3/26/2007.
                       (McMorrow, Karen) (Entered: 04/05/2007)
 04/13/2007     483    MEMORANDUM and ORDER as to Michael J. Vondette. For the foregoing
                       reasons, this Court holds that resentence is not warranted and accordingly
                       Vondette's motion for a denovo PSR is DENIED. Furthermore, Vondette's
                       remaining motions attacking the judgment of conviction are also DENIED in
                       their entirety as they are foreclosed by the mandate rule. SEE ORDER FOR
                       DETAILS. (copy mailed to defendant). Ordered by Judge Thomas C. Platt on
                       4/13/2007. (McMorrow, Karen) (Entered: 04/13/2007)
 04/13/2007     484    Dft. Michael J. Vondette's REPLY to Government's opposition letter
                       regarding motion to overturn the instant conviction pursuant to the totality of
                       the uconstitutional circumstances, submitted 4/6/07 (Barhome, Sydelle)
                       (Entered: 04/16/2007)
 04/30/2007     487    MOTION for Reconsideration and Clarification of this Court's Memorandum
                       and Order dated in April 2007 by Michael J. Vondette. (Barhome, Sydelle)
                       (Entered: 05/16/2007)
 05/01/2007     485    Letter dtd. 4/6/07 from Michael J. Vondette to Hon.J. Platt in reply to the
                       Gov'ts opposition to the Dft's request for access to subpoenas in this case.
                       (Barhome, Sydelle) (Entered: 05/01/2007)
 05/02/2007     486    NOTICE OF APPEAL (Interlocutory) by Michael J. Vondette re 483 Order
                       on Motion to Compel,, Order on Motion for New Trial,,,, Order on Motion
                       for Recusal,, Order on Motion to Set Aside Verdict,, Order on Motion to
                       Dismiss,, Order on Motion to Disqualify Counsel,. (Carine, Sandra) (Entered:
                       05/04/2007)
 05/02/2007            Electronic Index to Record on Appeal as to Michael J. Vondette sent to US
                       Court of Appeals 444 Affidavit, 482 Order, 459 Letter, 469 Letter, 438
                       Motion for Forfeiture of Property, 458 Letter, 436 Letter, 437 Motion for




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                       Extension of Time to File, 426 Order, 448 Letter, 434 Notice (Other), 477
                       Notice (Other), 476 Letter, 463 Letter, 485 Letter, 479 Letter, 449 Mail
                       Returned, 473 Letter, 462 Motion for Recusal, 432 Response in Opposition,
                       470 Letter, 429 Certificate of Service, 483 Order on Motion to Compel,,
                       Order on Motion for New Trial,,,, Order on Motion for Recusal,, Order on
                       Motion to Set Aside Verdict,, Order on Motion to Dismiss,, Order on Motion
                       to Disqualify Counsel, 481 Notice (Other), 423 Letter, 439 Letter, 484 Notice
                       (Other), 471 Letter, 422 Letter, 450 Letter, 442 Letter, 441 Order, 425 Status
                       Conference,, Set Deadlines/Hearings, 457 CJA 24 - Authorization to Pay, 464
                       Certificate of Service, 431 Motion to Compel, 466 Letter, 435 Motion to
                       Unseal Document, 467 Response in Opposition, 447 Letter, 428 Motion for
                       New Trial, 424 USCA Mandate, 486 Notice of Appeal - Interlocutory, 480
                       Response in Opposition, 433 Notice (Other), 461 Letter, 430 Motion to
                       Compel, 460 Letter, 445 Letter, 427 Motion to Compel, 478 Motion to
                       Disqualify Counsel, 440 Status Conference,, Set Deadlines/Hearings, 472
                       Affidavit, 465 Motion to Set Aside Verdict, 446 Letter, 468 Response in
                       Opposition, 443 Letter For docket entries without a hyperlink, contact the
                       court and we'll arrange for the document(s) to be made available to you.
                       (Carine, Sandra) (Entered: 05/04/2007)
 05/16/2007     488    Letter dt6d. 5/9/07 fro Michael J. Vondette to Clerk of Court indicating his
                       new address: FCI-Med. Lompoe, #50936-198, 3901 Klein St. Lompoe, CA
                       93426. (Barhome, Sydelle) (Entered: 05/29/2007)
 05/18/2007     489    Supplemental MOTION for Reconsideration re 487 MOTION for
                       Reconsideration and Clarification of this Court's Memorandum and Order
                       dated in April 2007 filed by Michael J. Vondette by Michael J. Vondette.
                       (Barhome, Sydelle) (Entered: 05/29/2007)
 06/12/2007     490    Letter from Michael Vondette dated 6/3/07 to court Clerk re: change of
                       address and request a copy of the portion of the docket sheet. The new
                       address: Michael Vondette, USPenitentiary, #50936198, 3901 Klein Blvd.,
                       Lompoc, CA 93436-2706. Docket sheet sent to dft.'s new address on 6/19/07.
                       (Duong, Susan) (Entered: 06/19/2007)
 09/18/2007     492    Certified and Transmitted Partial Record on Appeal as to Michael J. Vondette
                       to US Court of Appeals, Attn: Stanley A Hader re 486 Notice of Appeal -
                       Interlocutory including: original and 3 copies of the index, clerk's certificate
                       and certified copy of the docket sheet. (Attachments: # 1 index-part 2)
                       (Duong, Susan) (Entered: 09/18/2007)
 09/19/2007     494    USCA Acknowledgment: index and original record (partial) received, as to
                       Michael J. Vondette for 486 Notice of Appeal - Interlocutory (Attachments: #
                       1 Part 2). USCA# 07-1919-cr. (Duong, Susan) (Entered: 09/26/2007)
 09/20/2007     493    Certified and Transmitted Original Record on Appeal as to Michael J.
                       Vondette to US Court of Appeals, Attn: Vincenza Mathias re 486 Notice of
                       Appeal - Interlocutory including: original and 3 copies of the index, clerk's
                       certificate and certified copy of the docket sheet. USCA# 07-1919-cr.
                       (Attachments: # 1 Index-part 2) (Duong, Susan) (Entered: 09/20/2007)
 09/25/2007     495    USCA Acknowledgment: index and original record received, for 486 Notice




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                       of Appeal - Interlocutory, filed by Michael J. Vondette. USCA# 07-1919-cr.
                       (Attachments: # 1 Part 2) (Duong, Susan) (Entered: 09/26/2007)
 03/21/2008     496    MOTION to Vacate this court's civil judgment of 2007 and to reinstate said
                       actions by Michael J. Vondette. (Brienza, Lauren) (Entered: 03/31/2008)
 07/07/2008     497    USCA Scheduling Order# 2 as to Michael J. Vondette re 486 Notice of
                       Appeal - Interlocutory. Appeal Record due by 7/16/2008. Defendant Brief
                       due by 8/11/2008. Government Brief due by 9/11/2008. Argument of the
                       appeal shall be heard as early as the week of 10/20/08. USCA# 07-1919-cr.
                       (Duong, Susan) (Entered: 07/14/2008)
 12/10/2008     498    Letter opposing defendants F.R.Civ. Pro. 60(b) motion as to Michael J.
                       Vondette (Ryan, Burton) (Entered: 12/10/2008)
 01/14/2009     499    ORDER denying 487 Motion for Reconsideration as to Michael J. Vondette
                       (1); denying 489 Motion for Reconsideration as to Michael J. Vondette (1).
                       Ordered by Senior Judge Thomas C. Platt on 1/14/2009. (Glueckert, Lisa)
                       (Entered: 01/14/2009)
 03/09/2009     500    NOTICE OF APPEAL by Michael J. Vondette re 499 Order on Motion for
                       Reconsideration. Copy of notice of appeal sent to Chambers. (Duong, Susan)
                       (Entered: 03/31/2009)
 03/30/2009     501    MEMORANDUM & ORDER denying 496 Motion to Vacate as to Michael J.
                       Vondette. SO ORDERED that Vondette's motion provides no basis for
                       reconsideration and is DENIED for the reasons outlined in the Government's
                       opposition. C/M. Ordered by Senior Judge Thomas C. Platt on 3/30/2009.
                       (Glueckert, Lisa) (Entered: 03/31/2009)
 03/31/2009            Electronic Index to Record on Appeal as to Michael J. Vondette sent to US
                       Court of Appeals 444 Affidavit, 491 CJA 24 - Authorization to Pay, 488
                       Letter, 482 Order, 438 Motion for Forfeiture of Property, 458 Letter, 487
                       Motion for Reconsideration, 476 Letter, 463 Letter, 449 Mail Returned, 432
                       Response in Opposition, 429 Certificate of Service, 483 Order on Motion to
                       Compel, Order on Motion for New Trial, Order on Motion for Recusal, Order
                       on Motion to Set Aside Verdict, Order on Motion to Dismiss, Order on
                       Motion to Disqualify Counsel, 484 Notice (Other), 422 Letter, 493 Appeal
                       Record Sent to USCA, 475 Affidavit, 442 Letter, 464 Certificate of Service,
                       489 Motion for Reconsideration, 499 Order on Motion for Reconsideration,
                       466 Letter, 467 Response in Opposition, 447 Letter, 500 Notice of Appeal -
                       Final Judgment, 474 Motion to Dismiss, 480 Response in Opposition, 461
                       Letter, 445 Letter, 478 Motion to Disqualify Counsel, 440 Status Conference,
                       Set Deadlines/Hearings, 446 Letter, 443 Letter, 456 USCA Order, 459 Letter,
                       497 USCA Scheduling Order, 469 Letter, 436 Letter, 437 Motion for
                       Extension of Time to File, 426 Order, 452 Letter, 448 Letter, 434 Notice
                       (Other), 477 Notice (Other), 455 Letter, 485 Letter, 479 Letter, 462 Motion
                       for Recusal, 473 Letter, 470 Letter, 423 Letter, 481 Notice (Other), 439
                       Letter, 471 Letter, 492 Appeal Record Sent to USCA, 494 USCA
                       Acknowledgment, 450 Letter, 490 Letter, 441 Order, 425 Status Conference,
                       Set Deadlines/Hearings, 451 Letter, 457 CJA 24 - Authorization to Pay, 496
                       Motion to Vacate, 431 Motion to Compel, 435 Motion to Unseal Document,




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                       428 Motion for New Trial, 424 USCA Mandate, 495 USCA
                       Acknowledgment, 486 Notice of Appeal - Interlocutory, 433 Notice (Other),
                       430 Motion to Compel, 460 Letter, 427 Motion to Compel, 454 Notice
                       (Other), 472 Affidavit, 465 Motion to Set Aside Verdict, 453 Letter, 468
                       Response in Opposition, 498 Letter For docket entries without a hyperlink,
                       contact the court and we'll arrange for the document(s) to be made available
                       to you. (Duong, Susan) (Entered: 03/31/2009)
 05/14/2009     502    MANDATE of USCA: Petitioner, pro se has filed a petition for a writ of
                       mandamus and moves for leave to proceed in forma pauperis. Upon due
                       consideration, it is hereby ORDERED that the motion for leave to proceed in
                       forma pauperis is GRANTED for the purpose of filing the mandamus
                       petition. It is further ORDERED that, to the extent the Petitioner seeks an
                       order compelling the district court to rule on his March 2008 motion to
                       vacate, the mandamus petition is DENIED as moot, as the district court
                       disposed of that motion in its January 14, 2009 order. To the extent the
                       Petitioner seeks an order compelling the district court to provide a more
                       thorough explanation of its decision to deny the motion to vacate, the
                       mandamus petition is DENIED because the Petitioner has not demonstrated
                       that exceptional circumstances warrant the requested relief, as to Michael J.
                       Vondette. Copy of mandate sent to Chambers. USCA# 08-5848-op. (Duong,
                       Susan) (Entered: 05/15/2009)
 01/27/2010     503    Letter Motion to Compel the Court to So Order the attached proposed
                       Amended Final Order of Forfeiture. The proposed Order would strike the
                       claims of Kathleen, John, Jean, and Richard Scott Vondette, to two pieces of
                       real property included in the previously entered Final Order of Forfeiture and
                       would order the United States Marshals Service to dispose of those two
                       pieces of real property. (EXHIBITS FILED UNDER SEAL) as to Michael J.
                       Vondette (Attachments: # 1 Proposed Order) (Weitz, Evan) (Additional
                       attachment(s) added on 1/29/2010: # 2 Exhibit) (Glueckert, Lisa). Modified,
                       changed letter request to a motion to compel the Court, on 1/29/2010
                       (Glueckert, Lisa). (Entered: 01/27/2010)
 01/28/2010     504    NOTICE OF ATTORNEY APPEARANCE Evan S. Weitz appearing for
                       USA. (Weitz, Evan) (Entered: 01/28/2010)
 01/28/2010     505    ORDER granting 503 Motion to Compel as to Michael J. Vondette (1).
                       AMENDED FINAL ORDER of FORFEITURE. SO ORDERED that the
                       preliminary Order of Forfeiture previously entered by this Court is hereby
                       made a Final Order of Forfeiture. The Real Property is hereby forfeited to the
                       United States. The United States Marshal's Service for the Eastern District of
                       New York is hereby directed to dispose of the Real Property in accordance
                       with all applicable laws and rules. The Clerk of Court shall forward three
                       certified copies of this order to the attention of Assistant United States
                       Attorney Evan S. Weitz, United States Attorney's Office, 271 Cadman Plaza
                       East, 7th Floor, Brooklyn, New York 11201. cm. Ordered by Senior Judge
                       Thomas C. Platt on 1/28/2010. (Glueckert, Lisa) (Entered: 02/04/2010)
 02/18/2010     506    Certificate of Service by USA as to Michael J. Vondette DECLARATION of
                       SERVICE, copies of the Letter from Assistant U.S. Attorney Evan Weitz,
                       proposed Amended Final Order of Forfeiture and Exhibits were sent to




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                       claimants Kathleen Vondette Richard Vondette and John and Jean Vondette
                       by Federal Express and certified U.S. mail on January 27, 2010. (Weitz,
                       Evan) (Entered: 02/18/2010)
 02/18/2010     507    Certificate of Service by USA as to Michael J. Vondette DECLARATION of
                       SERVICE, copies of the Letter from Assistant U.S. Attorney Evan Weitz,
                       proposed Amended Final Order of Forfeiture and Exhibits were sent to
                       claimants Kathleen Vondette, James Drucker, Esq., and Richard Vondette by
                       Federal Express and certified U.S. mail on February 18, 2010 (Weitz, Evan)
                       (Entered: 02/18/2010)
 03/08/2010     511    RESPONSE in Opposition re 503 MOTION to Compel. Deft's and on
                       respondent's behalf, an opposition to Government's 503 request to amend
                       forfeiture order; and/or motion/request for reconsideration of forfeiture order
                       by Michael Vondette. (Glueckert, Lisa) (Entered: 03/25/2010)
 03/09/2010     510    NOTICE OF APPEAL by Michael J. Vondette re 505 Amended Final Order
                       of Forfeiture. (Romano, Daniel) (Entered: 03/25/2010)
 03/12/2010     508    Certificate of Service by USA as to Michael J. Vondette PROCESS RECEIPT
                       and RETURN, on February 23, 2010 the USMS posted certain documents on
                       the real property and premises located at 2080 11th Lane, Big Bear City,
                       California 92314 (Weitz, Evan) (Entered: 03/12/2010)
 03/12/2010     509    Certificate of Service by USA as to Michael J. Vondette PROCESS RECEIPT
                       and RETURN, on February 23, 2010 the USMS posted certain documents on
                       the real property and premises located at 17465 Mountain View Road,
                       Sisters, Oregon (Weitz, Evan) (Entered: 03/12/2010)
 03/25/2010            Electronic Index to Record on Appeal as to Michael J. Vondette sent to US
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                       (Romano, Daniel) (Entered: 03/25/2010)



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